  Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 1 of 168




Exhibit A to Notice of Removal
                                                                                                                                                     141165284
                       Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 2 of 168

                      (TO PLAINTIFF'S ATTORNEY: Please Circle Type ofAction Involved: • TORT • MOTOR VEIDCLE TORT •
                                             CONTRACT • EQUITABLE RELIEF • OTHER)


                                       COMMONWEALTH OF MASSACHUSETTS
                  ESSEX, ss.                                                                                                     SUPERIOR COURT
                                                                                                                                 CIVIL ACTION
                                                                                                                                 No .


                                       . .Otb:~. . . . P.l. . . . ~.(~·········································                   ,Plaintiff(s)

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~ ·§              To the above named Defendant:
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           u             You are hereby summoned and required to serve upon             no\o,1h P; )Jttv(¥_ Pvo ~s--e.-
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£ ·u              complaint which is herewith served upon you, within 20 days after service of this summons upon you, exclusive of the
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    ~     1l      day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the

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                  complaint. You are also required to file your answer to the complaint in the office of the Clerk of this court at

-~ ~ \;"(; &er Os le J. -~ <? o,lef#\ either before service upon plaintiff's attorney or within a reasonable time thereafter.
~~/                                           Olct?V
    ~ '::               Unless otherwise provided by Rule 13 (a), your answer must state as a counterclaim any claim which you may
    8. ~          have against the plaintiff which arises out of the transaction or occurrence that is the subject matter of the plaintiff's
 i         ~      claim or you will thereafter be barred from making such claim in any other action.
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                                                          WITNESS, Judith Fabrican~ Esquire, at Salem, the
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                  NOTES:
                  l. This summons is issued pursuant to Rule 4 of the Massachusetts Rules of Civil Procedure.
                  2. When more thwi one defendant is involved, the names of all defendants should appear in the caption. If a separate summons is used for each
                     defendant, each should be addressed to the particular defendant.
       Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 3 of 168


                              PROOF OF SERVICE OF PROCESS


    I hereby certify and return that on f:eL·,     I0               , 20 ! ~' I served a copy of
the within summons, together with a copy of the complaint in this action, upon the within-named
defendant, in the following manner (see Mass. R. Civ. P. (d) (1-5):




Dated:    t:eb ~O ,2ol~                                  f1ZL? ~
N.B.     TO PROCESS SERVER:-
         PLEASE PLACE DATE YOU MAKE SERVICE ON DEFENDANT IN
         THIS BOX ON THE ORIGINAL AND ON COPY SERVED ON DEFENDANT.


                                                                               ,20
    Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 4 of 168




                         COMMENWEALTH OF MASSACHUSETTS
                           SUPERIOR COURT DEPARTMENT


ESSEX, SS                                           DOCKET NO: 1677CV00077




Robert P. Marley,
Petitioner

 EXPEDITED VERIFIED PETITION FOR JUDICIAL DISCHARGE OF MORTGAGE

       Now comes the petitioner, Robert P. Marley ("Petitioner"), and respectfully moves this
Honorable Court pursuant M.G.L.c. 240 § 15 (a) and (b), for a decree discharging a certain
mortgage recorded on December 6, 2004 in the Southern Essex County Registry of Deeds, at
Book 23716, Page252, from Robert P. Marley to Omega Mortgage Corp. ("Omega"), for the
property located at 18 Lakeview Drive, Lynnfield, County of Essex.

                                       INTRODUCTION

      The Petitioner entered into a purported Mortgage Contract with Omega on December 4,
2004. As an initial matter, Omega would have been the assignor of the first written assignment
of mortgage, and indorsement, negotiation, sale, and delivery of the Promissory Note that the
Mortgage at issue would secure, to the purported assignee. Since 2009, after the demand for full
performance of the condition of the Note, not one entity the Petitioner has dealt with has been
able to produce a verifiable chain of title in the Note and Mortgage and obfuscation has been the
tactic.

      The Promissory Note has one signature upon it, the Petitioners. Omega was required by law,
to transfer ownership of the mortgage in writing, and required to sign over the Note. Omega
never performed Tht;ir duties and then alas, they died, without ever performing said duties.
Charlatans took over and attempted to create a chain of title in the Note with a forgery, the
Allonge to the Promissory Note. The only document that has a signature from an Omega offieial
is on the Allonge to the Note and that document is void.ab initio as a matter oflaw and of no
effect. Because of the forgery and alteration, the Note is unenforceable as a matter oflaw, and
the Petitioner's responsibility on the obligation has been relieved.

     No money is due or owing on the Note at issue. In addition, no entity recorded and affidavit,
extension, or acknowledgement declaring the purported obligation had not been satisfied after
accelerating the maturity date of the Note in the Registry of Deeds as required by law to prevent
the mortgage from becoming obsolete.

    Accordingly, based on the lack of evidence demonstrating ownership in the purported Note
and Mortgage at issue, and the fact that a demand issued for the full performance of the alleged



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     Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 5 of 168



debt 1 more than five-years ago, and no enforcement action has been taken or initiated by any
party claiming an interest in said Note and Mortgage, and the Promissory Note is unenforceable
for the reasons stated infra, the Petitioner is entitled to a Judicial Discharge of said mortgage.

                                       JURISDICTIONNENUE

1.    This Honorable Court has jurisdiction pursuant to M.G.L. c. 240 § 15 (b) whereas the
      Petitioner has been in uninterrupted possession for more than one-year after the demand for
      full performance of the condition of the purported note. Sub-section (a) and (b) of§ 15
      provides for procedures to judicially discharge a mortgage both in cases where there is
      "direct" evidence of payment or satisfaction and in cases where there is no "direct"
      evidence of payment or satisfaction but the mortgagor or the mortgagor's successors have
      been in certain periods of uninterrupted possession without any enforcement activity by the
      mortgagee

2.    Venue is appropriate in this Court whereas this matter does not concern Registered Land
      and the Petitioner and his property are located in Essex County.

                                                PARTIES

3.    The petitioner, Robert P. Marley, is a resident of Massachusetts and resides at 18 Lakeview
      Drive, Lynnfield, Massachusetts, County of Essex.

4.    There are no named respondents whereas no entity may come forward claiming ari interest
      in the supra property. To name a respondent would be to admit an entity exists and has a
      claim. Furthermore, the Registry of Deeds is absent a complete, verifiable, and authentic
      unbroken chain of assignments in the mortgage and any entity that might come forward
      would have to .demonstrate said chain of assignment to claim mortgagee status by
      assignment to meet the Conditions Precedent. The Petitioner will not name a respondent
      however, ifthe Court so orders, Petitioner will issue a public notice in the newspaper
      inviting any interested parties to come forward and if an entity comes forward, Petitioner·
      will challenge their standing to enter the Court on this matter. Furthermore, said entity
      would be committing fraud upon the court, if it appeared as an interested party or
      Mortgagee by assignment. 2

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  See, Purported Note attached to addendum at Tab "Y" at page 3, Paragraph 7 (b) and (c). In 2009 when
the default notice issued, the Petitioner demanded to know whom money was owed. No one would tell
him therefore, to mitigate harm to himself after discovering the Ponzi scheme, he stop paying on the
purported mortgage loan. The Petitioner would also direct the Courts attention to page 5 of the Note;
there was plenty of room for signatures however, there are none. This signifies that no transfer,
negotiation, or delivery of the Note ever took place. In addition, Omega could not assign any rights or
title after it died in 2010.
2
 M.G.L.c 244 § 14 provides in pertinent part that, "For purposes of this section and section 21 of chapter
183, in the event a mortgagee holds a mortgage pursuant to an assignment, no notice under this section
shall be valid unless (i) at the time such notice is mailed, an assignment, or a chain of assignments,
evidencing the assignment of the mortgage to the foreclosing mortgagee has been duly recorded in the
registry of deeds for the county or district where the land lies and (ii) the recording information for all

                                                     2
       Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 6 of 168



        Allonge to the Promissory Note was an intentional voluntary act and a deliberate
        destruction and mutilation of said Note. The purported Promissory Note has no
        indorsements upon it that would signify a sale, negotiation, and delivery to any party or
        entity. See Forged Allonge attached herewith at Tab "R" with the real signatures included
        thereat. 6 The Allonge to the Note was falsely made with the intent to defraud the Petitioner.
        The Petitioners obligation has been discharged as a matter of law because of the fraudulent
        alteration and forgery; therefore, no money is due to any party.

15.     Alternatively, the concealed, undisclosed third party co-obligators to the debt have satisfied
        the Promissory Note. See settlement notice from BYN Mellon dated April 25, 2014,
        attached herewith at Tab "P" of the addendum. Alternatively, even ifit were not, G.L.c.
        240 § 15 (b) applies;

16.     Any entity or person who might claim an interest in this matter has aided and abetted in the
        commission of inter alia, the following criminal activity: fraud, forgery, uttering, has
        falsifying documents, committed fraud on the public record and would come to the court
        with dirty hands and therefore, entitled to nothing in equity for violating the "Clean Hands
        Doctrine";

17.     The Petitioner was granted Bankruptcy protection in September of 2008 and all debt was
        discharged and extinguished as a matter of law. Again no money is due or owing;

18.     The Southern Essex County Registry of Deeds lacks a complete, unbroken chain of
        assignments from Omega to any party making them mortgagee by assignment that could
        overcome the Conditions Precedent to foreclose or even notice a foreclosure on the
        Petitioner's property;

19.     No entity can legally claim an interest or for that matter appear in a court of law in
        Massachusetts whereas; any entity would lack the requisite standing to enter the court.
        Particularly, the would-be purported entity has suffered no harm or injury in fact, and are
        not real parties in interest. The purported Note Owners have been paid and therefore have
        not suffered injury. See attached notice of settlement at Tab "P" of the addendum;

20.     On January 21, 2014, the Petitioner sent a certified letter to the ones claiming an interest in
        his property pursuant to M.G.L.c. 183 §§ 54C, 55; the party refused to respond. They have
        had six years to respond and have not; This Honorable Court should not allow them to be
        heard here, as they have waived that right. See letter attached herewith at Tab "R" in the.
        addendum. Petitioner has been unable to find a lawyer to file the mortgagors discharge.
        Therefore, this petition now follows;

21.      The Petitioner and his family have existed in limbo since December of 2008, literally
         prisoners of financial terrorists. In a previous action brought in this Honorable Court in
       . May of 2010, subsequently removed to the Federal Forum, the District Court held Eaton

(i) by an intentional voluntary act, such as surrender of the instrument to the party, destruction,
mutilation" ....
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    See, 0 'Connell supra

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      Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 7 of 168




      was not applicable to the instant Petitioner; however, the First Circuit Court of Appeals
      said Eaton was applicable, but not ripe, but that the Petitioner could bring the claim back
      when ripe. What is not ripe about forgery and fraud? See Judgment attached herewith at
      Tab "Y" of the addendum; Because of the judgment, no entity can or will attempt a
      foreclosure.

22.   Attached herewith is a colloquy, an addendum in tabbed order, with those that are
      attempting to deceive and defraud the Petitioner. The Petitioner incorporates the entire
      addendum by reference herein as though fully set forth hereat, whereas it includes Prima
      Facie Evidence. Also included in the addendum is a paper the Petitioner wrote for a few
      attorneys the day after the Bassman case came down. See addendum at Tab "Q".
      "Securitization, The Trust and Trustee". The addendum will assist the Court in better
      understanding this matter. Kindly read and take judicial notice.

                                     PRAYER FOR RELIEF

         Wherefore, the Petitioner prays that this Honorable Court agree that the contingent
liability has ceased to exist based on the foregoing and that the mortgage be discharged and
thereby, issues a decree discharging the supra mortgage and that said decree be recorded in the
Southern Essex County Registry of Deeds.

        Alternatively, if this Honorable Court requires notice be given because a controversy
exists, and an entity appears, then this matter be treated as one for declaratory judgment pursuant
to M.G.L.c. 23 lA et seq. Further, allowing the Petitioner the right to amend accordingly and that
the Court declares the rights of the parties after full.discovery and a full-blown evidentiary
hearing and then, discharge the Mortgage at issue and refer this matter to the United States
District Attorney, the Massachusetts Attorney General, and the Essex County District Attorney's
Office for criminal investigation and prosecution.



                                                              Respectfully Submitted

Dated: January 20, 2016


                                                            ~/J/k~~·
                                                             o~ tliyjPl"O=Se
                                                              18 Lakeview Drive
                                                              Lynnfield, MA 01940
                                                              781-844-3044
                                                              robertmarley1958@verizon.net



This verified petition is signed under the pains and penalties of gerjury and the facts put forth are
true to the best of the Petitioner's knowledge. Signed on this 20 day of January, 2016


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                                        obertP:Cl

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                  Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 8 of 168

                 (TO PLAINTIFF'S A'ITORNEY: Please Circle Type ofAction Involved: - TORT - MOTOR VEIDCLE TORT -
                                         CONTRACT - EQUITABLE RELIEF - OTIIER)


                                  COMMONWEALTH OF MASSACHUSETTS
             ESSEX,ss.                                                                                                     SUPERIOR COURT
                                                                                                                           CIVIL ACTION
                                                                                                                           No .


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                                                                           SUMMONS
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             To the above named Defendant:

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      -      complaint which is herewith setved upon you, within 20 days after service of this summons upon you, exclusive of the
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 ~    13     day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the
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:;;          complaint You are also required to file your answer to the complaint in the office of the Clerk of this court at
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-~ ~ IOt fut Rs 11J              .g; (; a,f:e1,v\ either before service upon plaintiff's attorney or within a reasonable time thereafter.
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 ~ ~               Unless otherwise provided by Rule 13 (a), your answer must state as a counterclaim any claim which you may
 8. :§       have against the plaintiff which arises out of the transaction or occurrence that is the subject matter of the plaintiff's
i      ~     claim or you will thereafter be barred from making such claim in any other action.
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                                                     WITNESS, Judith Fabricant, Esquire, at Salem, the
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             NOTES:
             1. This summons is issued pursuant to Rule 4 of the Massachusetts Rules of Civil Procedure.
             2. When more than one defendant is involved, th~ names of all defendants should appear in the caption. If a separate summons is used for each
                defendant, each should be addressed to the particular defendant.
               Case 1:16-cv-10430-PBS Document
                                      DOCKET NUMBER1-1 Filed 03/01/16 Page 9 of 168
                                                               Trial Court of Massachusetts
             CLERK'S NOTICE                                             The Superior Court
                                                  1677CV00077

CASE NAME:

 Marley, Robert P vs.                                                    Thomas H. Driscoll, Jr., Clerk of Courts



TO:                                                                     COURT NAME & ADDRESS
  Robert P Marley
                                                                         Essex County Superior Court - Salem
  18 Lakeview Drive                                                      J. Michael Ruane Judicial Center
  Lynnfield, MA 01940                                                    56 Federal Street
                                                                         Salem, MA 01970


               You are hereby notified that on 02/02/2016 the following entry was made on the above
referenced docket:
Endorsement on Motion to allow notice by publication or certified mail (#3.0): Other action taken
Service may be made by certified mail only of summons, in the form provided by the Office of the Clerk Magistrate
wlo charge to the plaintiff.




 DATE ISSUED     ASSOCIATE JUSTICE/ ASSISTANT CLERK                                             SESSION PHONE#


  02/04/2016        Hon. Thomas Drechsler                                                         (978)825-4800
                                 Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 10 of 168                                         .'


                                                        vi1n.1uONWEALTH OF MASSACHUSETTS
                                                                 SUPERIOR COURT DEPARTMENT

                                 ESSEX, SS                                                       DOCKETNO: 16 7CV00077
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              :;:-·
                   ...c.._       Robert P. Marley, .
                .rr
                                                 Petitioner
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              ~d ~
                 :\:___                MOTION TO ALLOW NOTICE BY PUBLIC NOTICE OR CERTIFIED MAIL

               ~: ~        Now comes the Petitioner and respectfully requests that this Honorable Court allow
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                  r
        \ I\ "'· ' Petitioner to provide notice on all those instructed to notify, by the Court, by either Public Notice
        '~"'-.i~ or USPS Certified Mail pursuant to M.G.L. c. 223A § 6 (a)(3). As reasons therefore:
              ,t· ~- ·               1) The last sentence of Rule 4(c) makes clear that whenever a statute, such as, G.L.c. 223A,
        i                    "          authorizes service by certified or registered mail, it is not necessary to enlist the aid of a
               ~~                       process serve.r to do the mailing. However, M.G.L.c. 240 § 15 (a) and (b) both provide
        ~. ~ "· (ij'                    that, .... "may file a petition in the land court or, except in the case ofregistered land, in
                                        the superior court for the county in which the land is located; and if, after such notice by
                                        publication or otherwise as the court orders," .... (emphasis added)

                                     2) To follow the Courts instruction to the letter would cost a significant amount of money,
                                        which the Petitioner cannot afford. Moreover, the Courts order would create a significant
                                        hardship and burden if He were to make service on the people he has communicated with
                                        especially in light of the fact they have no interest. In the Petition, the Petitioner did not
                                        request costs and fees in his prayer for relief;
                                                                                                          .              .
                                     3) Respectfully, the Courts, January 25, 2016, order has the effect of denying the Petitioner
                                        access to justice and recourse under our laws where the statue provides for mere public
                                        notice; 1

                                     4) The Petitioner had requested a hearing prior to any order related to service or public
                                        notice, so there would be no ambiguity related to whatis required. For instance, in what

                                 1
                                   Article XI of the Constitution of the Commonwealth of Massachusetts provides that, "Every subject of
                                 the commonwealth ought to find a certain remedy, by having recourse to the laws, for all injuries or
                                 wrongs which he may receive in his person, property, or character. He ought to obtain right and justice
                                 freely, and without being obliged to purchase it; completely, and without any denial; promptly, and
                                 without delay; conformably to the laws". (emphasis added)
                                                                                    1
Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 11 of 168



                                 ~\ Shellpoint
                               · ~, Mortg~ge S;~cing
                                                                                       Hours of Operation
55 Beattie Place, Suite I IO        Toll Free Phone 1-866-316-4706        Monday-Friday 8:00AM-IO:OOPM
Greenville, SC 2960 I                Toll Free Fax 1-866-467-1137               Saturday 8:00AM-3:00PM



December 28, 2015


Robert P. Marley
18 Lakeview Drive
Lynnfield, MA 01940


RE: Reference Number: 0535444565


Dear Mr. Marley:

This letter is in response to your <;everal letters of correspondence dated November 29, 2015,
November 30, 2015, December 2, 2015, December 3, 2015, December 4, 2015, December 6,
2015, December 7, 2015, December 11, 2015, December 15, 2015, and December 18, 2015,
regarding the above referenced loan.

Our records indicate you have previously submitted to this office a notice demanding that
we cease communication with you. Thus, this notice is for the limited purpose of
responding to your dispute and notifying you of the results of our investigation.

The Bank of New York Mellon fKA The Bank of New York as Trustee for the certificate holders
OfCWMBS, Inc., CHL Mortgage Pass-Through Trust 2004-29, Mortgage Pass Through
Certificates, Series 2004-29 ("BONY").

Please be advised that Shellpoint's records indicate the loan was discharged through a Chapter 7
Bankruptcy. Shellpoint is not attempting to collect the debt, as your personal liability was
discharged. However, the mortgage lien survived the discharge and Shellpoint is continuing to
service the loan according to the original agreement and protect the creditor's rights in the
associated property, which may include foreclosure.

Please be advised we have reviewed your additional correspondence and our records indicate that
we have already responded to previous inquiries substantially the same as your most recent letters
referenced above. Shellpoint ha;: previously responded to the same concerns with letters dated
December 23, 2014, November 2:5, 2015, and December 7, 2015. The Consumer Financial
Protection Bureau ("CFPB") wai: also copied on our response dated December 7, 2015, which
included over one hundred pages of supporting documentation.

Shellpoint maintains that we have provided sufficient information and documentation to validate
the debt, address your concerns related to the "servicing" of the loan, and show that we are the
current servicer on behalf of BONY. Shellpoint has also provided a full accounting of the Joan
since origination. Please note that Shellpoint will not provide any information that is considered
proprietary, such as our procedures. However, Shellpoint wouid like to assure you that we are
servicing the Joan in accordance with all applicable laws and regulations.


DEl2292015B
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Shellpoint acquires the rights to service a mortgage loan from an investor/owner of the loan
through a document called an As:;ignment, Assumption and Recognition Agreement, which is a
private corporate contract and not available to the public. We are not at liberty to release that
document, since it contains significant contractual arrangements between us and our client.
However, any information that is a matter of public record, such as the Pooling and Servicing
Agreement or the Assignment, can be easily obtained through either the country recorder's office
or by visiting www .sec.gov. Although the Assignment is not directly related to the servicing of a
loan, Shellpoint has already provided you with this document.

As stated in previous responses, Shellpoint does not have knowledge of the loan closing or any
other aspects of the loan unrelated to the servicing. As the servicer, Shellpoint is not required to
respond to inquiries related to origination, underwriting, subsequent sale or securitiz.ation, or
determination to sell, assign, or transfer the servicing of the mortgage loan. However, in our
response to you dated November 25, 2015, Shellpoint asked that if you believe this loan is
fraudulent, we will gladly assist BONY with an investigation by requiring the following
documentation from you:

    •   Legible copies of your picture identification and social security card.
    •   Completed Identity Theft Affidavit regarding your allegations and any loan documents you
        believe might reflect your unauthorized signature. Please ensure that the Affidavit is
        notarized by a Notary Public, in order for it to be valid.
    •   Copy of the police report filed regarding this alleged fraud/identity theft. If you have not
        filed a police report but intend to, do not hesitate sending the remaining documents. A copy
        of the police report can be sent to us at a later date.
    •   Completed Denial of Financial Responsibility Declaration (enclosed).
    •   Copies of any additional documentation that you may have in connection with your
        allegation.

To date, Shellpoint has not received a response to the above request. Shellpoint has also not
received any new or specific information regarding servicing errors on which we can form the
basis for a new investigation. Therefore, Shellpoint has determined that your disputes are
frivolous or irrelevant and we wiJ.1 not be conducting another investigation of the dispute. Should
you have additional, relevant information, please provide it and we will gladly assist you.

As of the date of this letter, the loan is past due for the February 1, 2010 installment. This debt is
not paid in full or satisfied. Shellpoint is committed to assisting borrowers in exploring their
options for mortgage assistance to retain their homes. Should you wish to work with Shellpoint
and discuss your options, please contact our Loss Mitigation department at 866-825-2174.

You have the right to request documentation supporting our determination that no error has
occurred in the servicing of this loan. If you would like to request a copy of our previous
responses, please call our Customer Service department at 866-316-4706.

If you have any additional questions or concerns regarding the servicing of the loan, you may call
our Customer Service department at the number shown above.

Sincerely,

Customer Service
Shellpoint Mortgage Servicing




DE122920 I SB
             Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 13 of 168
    P.O. BOX 1410
    TROY, Ml 48099-1410
                                                                                      Shellpoint
                                                                                           ...         .
                                                                                                              Mon-Thurs:           s:ooAM-10:00P~
                                                                                                                    Fri: 8:00AM-10:00P~
    RETURN SERVICE REQUESTED
                                                                                      Mortgage Servicing                    Sat: s:ooAM-3:ooPM


                                                                                          Phone Number: 866-316-4706
                                                                                               Fax: 866-467-113 7
                                                                                             www.shellpointmtg.com
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    ROBERT P MARLEY                                                                                                                12/09/2015
    18 LAKEVIEW DR
    LYNNFIELD MA 01940-1450




RE: Loan Number: 0535444565
    Borrower:    Robert P Marley

Dear Robert P Marley:

This letter is in response to your recent inquiry regarding the abcwe-referenced loan serviced by Shellpoint Mortgage Servicing .

We are working to gather the requested information and will forward it to you within the allotted time frame.

If you have any additional questions or concerns, please contact our Customer Service department at 866-316-4706.

Si usted no entiende el contenido de esta carta, por favor contacte a uno de nuestros representantes que hablan espaiiol al nfunero
866-316-4706.

Customer Service
Shellpoint Mortgage Servicing




             SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.
                                                                                                           P 1000001 A-05:=l5444!'ifi!'i   nn14A01n1.m.d.M
              Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 14 of 168
    P.O. BOX 1410
    TROY, Ml 48099-1410
                                                                                      shellpoint                 Mon - Thurs: 8:00AM- \ O:OOPl
                                                                                                                         Fri: 8:00AM-IO:OOP1
    RETURN SERVICE REQUESTED                                                             ..   ···--·------   .
                                                                                      Mortgage Servicing .                sat: s:OOAM-3:ooPM


                                                                                              Phone Number: 866-316-4706
                                                                                                                                        Ii
                                                                                                   Fax: 866-467-ll37
                                                                                                 www.shellpointmlg.com
    l•ullll111'11lldh11'•••1•l•"'l'l'l1''l''ll1 11''l·'111 111hhl
    S-SFRECS20 l-158 R-117
    P506WI002.00044 - 673362734 100088
    ROBERT P MARLEY                                                                                                           1012912015
    18 LAKEVIEW DR
    LYNNFIELD MA 01940-1450




RE: Loan Number: 0535444565
    Borrower:    Robert P Marley

Dear Robert P Marley:

This Jetter is in response lo your recent inquiry rngardirig the above-referenced Joan serviced by Shellpoint Mortgage Servicing.

We are working lo gather the requested information and will forward it to you within the allotted time frai:ne.

If you have any additional questions or concerns, please contact our Customer Service department at 866-316-4706.

Si usted no entiende el contenido de esta carta, por favor contacte a uno de nuestros representantes que bablan espallol al nt'unero
866-316-4706.

Customer Service
Shellpoint Mortgage Servicing




               SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.
  Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 15 of 168




Robert P. Mariey
18 Lakeview Drive
Lynnfield, MA 01940
781-844-3044
robertmarley I 958@verizon.net

Jack Navarro
Jerry Schianov
Bruce Williams
Saul Sanders
Lewis Ranieri
Scott Shay
Yale Stark

Shellpoint Mortgage Servicing
55 Beattie Place, Suite 110
Greenville, SC 2960 I
P: 866-316-4706
F: 866-467-1137

Shellpoint Partners
Two Grand Central Tower
140 E. 45th Street, 37th Floor
New York, NY 10017
p. 212-850-7700
F: 212-850-7770

SENT VIA FAX

DATED: DECEMBER 30, 2015

RE: RESPONSE TO LEITER DATED DECEMBER 28, 2015

Dear Above-Named Individuals:

Be it known, that I have put you on notice through your agents and employees, with evidence, that BOA
had no authority to assign, sell, convey, set over in any legal form, the servicing rights to a loan that once
existed but no longer does. There was no lawful assignment to BOA from a lawful assignor granting any
rights or title nor was there a negotiation of the note and delivery thereof. Further, there was no written
assignment of the mortgage to BOA from any entity as assignor. What I demanded was that you
demonstrate your assertions by way of atithentic, verifiable documentation, which you have failed to do.

Accordingly, your position now is that no money is due and you are not trying to collect on a debt, even
though you have sent me dozens of bills trying to collect, but that there is a valid lien.

You are required by state and federal law to produce proof ofownership in the note and mortgage to me,
by way of a verifiable chain oftitl•: in the note and mortgage. That means all written assignments,
negotiations, and proof of delivery.



                                                       1
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Today you say BONY has a lien, one day some other charlatan will claim they have a valid lien and so
on. That's like a stranger approachin.g you on the street and telling you that you owe him/her $10,000.00.
Are you going to pay that sum to that stranger? I think not. You and BONY are strangers to me. There is
no contract that binds us.

By mere happenstance, you acquired this matter as one of the high risk loans pursuant to the MBIA
settlement, however, this purported mortgage should not have been included whereas, the law mandated it
be removed from the bogus pool of assets many years ago because of its purported delinquent status.
Check the deal data sheets. For years, 360-days delinquent. However, if it is still in there, then that just
proves my assertion that no money is due, the certificate holders can never suffer a loss because the
undisclosed third party co-obligator to the debt must make all payments. See the advance clause.
Therefore, the real note owners have never suffered a loss or more importantly, suffered injury.
Therefore, that being one of the litmus tests for standing to sue, you're done. How could BONY sue as
trustee; they have been paid, correct? The only party that might have suffered a loss would be the hustlers.
So be it. There will be no free hou5€: for you.

One simple point for you to ponder: If CWMBS was the depositor, then why was there an assignment
from MERS to BONY six and one half years after the trust funded, and after the cutoff date, and not one
from CWMBS as required by law. Keeping in mind of course that CWMBS was not and is not a member
of MERS. MERS could not have any attachment to the assets of that trust. MERS does not and did not
represent CWMBS in any legal capacity nor is that a legal possibility. The only assignment that exists is a
forgery however, it carries no force ·of Jaw whereas, it came from one without authority as assignor to
assign the note and mortgage. The assignment is void as a matter of law. Notwithstanding, there was no
lawful assignment to Countrywide and/or BOA nor have you produced a chain of assignments as required
by law, such as I have demanded. In other words, you have not produce a scintilla ofverifiable evidence
to demonstrate your claim. What you sent me is unauthenticated and self-serving. The real word I'm
looking for is, Counterfeit. If you chose to communicate with me again, make sure you include a
verifiable chain of title in the note and mortgage. From the first hustler to the last in the Ponzi scheme that
is asset-backed securities.

Your false statement related to the lien surviving my bankruptcy is a fallacy at best. No lien survived
because no entity perfected a lien prior to said bankruptcy. Moreover, the mortgage at issue is obsolete
and unenforceable, and you are statutorily barred from bringing any action.

I am not going around in circles wid1 you. Return the note to me stamped paid in full, and file the
satisfaction of mortgage as required by law. That is what I demand. Furthermore, you have not addressed
any of the issues I presented and obfuscation is the usual tactic and the word of the day.

If BOA had no rights, then you ha\•e no rights and BONY certainly has no rights in my property.

Therefore, I am finished with this c:harade. In addition, l demanded that a living person sign any
communication from you to me. I will not be coming after your company; I will be coming after the
individuals named above in their official and unofficial capacities and those that attempt to deceive me.
Any communication from customer service shall be disregarded unless signed by an individual who has
prepared the communication, is that understood.


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If you attempt to unlawfully foreclose on my property based on some fictitious lien with the infonnation
and evidence, I provided previously, I will bring criminal charges against the above named individuals
whereas, I have put them/you on notic:e of the fraud and forgeries. The attempt would be an attempt at
larceny, inter a/la.

Since you people collapsed my economy, I have been hell bent on putting the ilk in prison. Maybe it will
be you.

The only thing frivolous here is your claimed charlatan status. You are not, a servicers of BONY where I
am concerned, and you have no legal relationship with me. Any rights assigned to you came from an
assignor without any authority to assign said rights. You have no more rights than BOA had and they had
none. You are a stranger to my and tl1e material false assignment recorded on July 13, 20 l l is a cloud on
my title and the ones responsible for that assignment have trespassed.

I will not deal with the peons at your institution. They ai:e putting you in jeopardy. I seriously suggestthat
you inslruct your agents and employt:es to read Reg. Zand X, RESPA, the CFPB servicers compliance
manual along with Massachusetts Gmeral Laws, inter a/ia.

One ofCountrywide's vice presidents shut down six offices in the Boston area for cutting and coping
signatures on notes and mortgages. She was fired, however, became a whistle-blower and received over
8-million dollars for her troubles. The point is the note and mortgage you copied to me are not the
documents that I signed in 2004. Moreover, the collateral loan file has been tampered with and the loan
application has forged signatures on it which is [f]he foundation to this house of cards.

Lastly, you are in possession of a counterfeit mortgage and promissory note. You are in possession of
forged allonge to that note. You alsu have in your possession, a material false assignment of mortgage
recorded knowing it was fulse and misleading w!)en recorded. I put you on notice in a previous letter and
now again. Your failure to perfonn 1m adequate investigation related to the evidence, which I submitted to
you, is a violation of law.



Good day to you all




                                                      3
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Two Grand Central Tower
140 E. 45th Street, 37th Floor
New York, NY 10017
P. 212-850-7700
F: 212-850-7770

Sent VIA Fax

Dated: January l, 2016

RE: Follow up to Follow-up to my response dated December 30, 2015

Dear Officials:

It is not my intent to educate your agents and employees however; it is my intent to put you on notice of
your violations.

Your agents and employees are unttained; you do not have safe and sound banking procedures in place
and l submit that you are intentionally attempting to hann me. The Comptroller has all the laws laid out
for your people and explanations where the laws are concerned. An idiot-proof road map for Dummies as
it were. See a sample attached herewith. A wealth of knowledge is at their fmgertips, should they choose
to follow the law. Or not. Your choice.

I further submit, that you train and make your agents and employees familiar with the relevant regulations
and state law governing mortgages and foreclosures and what is required to initiate a foreclosure in
Massachusetts. I have set you on your way by including, in previous communication, the laws, and
regulations in Massachusetts for your convenience; a helping hand, as it were.

Also, instruct your agents and employees to produce for me the documentation I have requested.

                                                     l
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Furthermore, I want to make it perfectly clear that you accepted this purported loan after it was in default
and that makes you essentially, mere debt collectors. Moreover, BONY purportedly accepted the transfer
of this purported loan, after it was purportedly declared delinquent.



Thank you for your prompt attention to this time sensitive matter.




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       Regulatory guidance consistently encourages lenders to work constructively with distressed
       RRE borrowers to the greatest extent possible within prudent banking practices to avoid
       unnecessary foreclosures. The bank should not, however, use workout strategies to defer
       identifiable losses. The lender, while working with a borrower, should always follow
       regulatory guidance for classification of, and loss recognition on, problem loans. Lenders
       also should follow appropriate income recognition or use of nonaccrual status, if appropriate,
       and accurate accounting of the loan's condition based on the circumstances consistent with
       call report instructions and GAAP. Working with distressed borrowers does not result in
       regulatory forllearance from long-standing and proven regulatory asset classification and loss
       recognition standards.

       Mortgage Loan Foreclosures

       When a borrower defaults, the: lender follows the specific requirements under state law to
       obtain its interest in the property and gain title through a foreclosure process. Each state has
       laws and regulations on perfeo;ting a security interest in the collateral and for obtaining title
       to the property through the secured interest if a borrower defaults on a loan. Depending on
       the state, security interest perfection occurs through the recording of a security deed of trust
       or a mortgage in the appropriate jurisdiction, usually the county where the property is           ·
       located The foreclosure proc•ess (whether judicial or nonjudicial) takes place between the
       perfection and obtaining title. Once title bas been obtained, the lender then works to sell the
       property to recoup the losses suffered from the borrower's default on the loan. In some states,
       ifthe lender's sale of the property does not sufficiently cover the bank's losses and
       associated expenses of collection, the bank may pursue a deficiency judgment against the
       borrower for the amount remaining. Borrowers have certain rights under state law, including
       a right of redemption in som1; states. (A right of redemption gives property owners who pay
       off the taxes or liens on their property the ability to prevent foreclosure, sometimes even after
       the auction or sale has occun:ed.)

       During periods of financial stress, the banking and mortgage industry may suffer a high level
       of financial and reputational harm because many lenders, or their contracted servicers of
       loans, are unable to manage the large volume of defaulted RRE loans and fail to diligently
       follow state foreclosure requirements. The '1nteragency Review of Foreclosure Policies and
       Practices," published by bank regulatory agencies in April 2011, identifies deficiencies in the
       administration of delinquent mortgage loans, loss mitigation practices, and foreclosure
       processing requirements, including

       o inadequate oversight, controls, policies and procedures, and audits of mortgage collection
         functions.
       o insufficient resources to ensure proper administration of loss mitigation and foreclosure
         processes.
       o failure to properly oversee outside counsel and other third-party providers of foreclosure-
         related services.
       o submission of affidavits that improperly asserted personal knowledge of facts contained
         within foreclosure case files.
       o lack of or improper notarization of documents.




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                                                            Introduction> RRE Activities and Functions


       o   failure to ensure proper endorsement of promissory notes or mortgage documents.

       Because of such banking industry deficiencies, new laws and regulations were enacted at
       both the federal and state level to improve consumer safeguards. In addition, certain
       borrowers may be entitled to aidditional protections in the foreclosure process because they
       (l) are covered by the Servicemembers Civil Relief Act of2003; (2) filed for bankruptcy
       shortly before the foreclosure action; or (3) qualified for or were paying in accordance with a
       trial modification.

       New safeguards were adopted to prevent harm to borrowers that may result from
       inappropriate servicing practices. For instance, as of January 2014, under Regulation X, a
       servicer may not make the first notice or filing for any judicial or nonjudicial foreclosure
       process until the borrower is more than 120 days delinquent. If a borrower submits a
       complete loss mitigation application before the bank has begun the foreclosure process, the
       bank may not begin the foreclosure process until one of the following occurs:

       •   The bank sends the borrower a notice that the borrower is not eligible for any loss
           mitigation option, and the consumer has exhausted the appeal process.
       o   The borrower rejects all loss mitigation options the bank offers.
       o   The borrower fails to perfonn under an agreement on a loss mitigation option. 47

       In addition to any new legal obligations, the OCC specifically expects banks that service
       residential mortgages to act n:sponsibly in their administration of delinquent mortgages and
       cases involving borrowers at imminent risk of foreclosure. Banlcs must comply with safe and
       sound banking practices; applicable federal, state, and local laws; third-party investor
       requirements; and the Home Affordable Modification Program requirements, if applicable, as
       well as other existing contrac!ual and programmatic commitments.

      .f!:!ldent business practices in servicing residential mortgage loans include ensuring, before
       proceeding to a foreclosure sale, that

       o the loan is in default under terms of the note.  ,k                                          ,.,J,.
       o any borrower complaints, appeals, or escalations have been considered and addressed. -Pr
       o the borrower is not subje<;t to specific legal protections such as those afforded under the
         Servicemembers Civil Rdief Act and bankruptcy law.• L, ~L
       o the bank has appropriate legal authority to foreclose. -¥T,.R:17 ~·
       o all appropriate notices have been provided to the borrower.
       o appropriate outreach and other loss mitigation efforts have been made.
       o the loan is not currently in an active loss mitigation program.
       o the borrower is not currently qualified or being considered for a loss mitigation action.
       o the bank is in complianc<: with all applicable federal, state, and local legal requirements,
         contractual requirements, and other legal and regulatory requirements. >    :fJ  <.!'~


       "Refer to 12 CFR !024.41.



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       Appendix E of the "Mortgage Banking'' booklet of the Comptroller's Handbook contains the
       OCC's guidelines that establish minimum standards for the handling and prioritization of
       borrower files that are subject to an imminently scheduled (within 60 days) foreclosure
       sale. 48 These minimum review criteria are intended to ensure a level of consistency across
       seivicers and should be used to determine whether a scheduled foreclosure sale shoµld be
       postponed, suspended, or cancelled because of critical foreclosure defects in the borrower's
       file. The purpose of these guidelines is to ensure that borrowers do not lose their homes
       without their files first receiving pre-foreclosure sale reviews conducted according to the
       standards listed in the guidelin1::s. These standards are applicable to all OCC-supervised
       banks. As part of examinations of RRE lending activities, examiners determine if these
       standards have been effectively implemented. Failure to effectively implement and adhere to
       standards such as those provid1~d in the guidelines may be criticized in supervisory letters and
       ROEs.

       For banks that service and collect loans held in their portfolios, the decision to foreclose on
       the property often comes after extensive negotiations with the borrower. While the bank is
       pursuing a foreclosure action, there are some additional measures to mitigate loss that may be
       pursued to avoid a protracted foreclosure period. These actions include pre-foreclosure or
       short sale, in which the lender agrees to accept the proceeds of the sale in satisfaction of the
       loan even though the proceeds may be less than the amount owed on the mortgage. Another
       potential option would be a deed in lieu of foreclosure, in which the borrower voluntarily
       conveys the property to the lender to avoid a lengthy process with additional accruals of
       interest and legal expenses and in many cases satisfying any remaining debt 49 Some banks
       provide cash payments to encourage borrowers to agree to a deed in lieu of foreclosure, and
       banks have found that this can be more cost-effective than proceeding through foreclosure
       and also can limit the negativ€: impact on neighboring home values. These loss mitigation
       efforts may be used in additio:11 to other attempts to sell the property before foreclosure. 50

       The state laws governing fore;losure vary, and the services of an attorney specializing in
       foreclosure law may be neces1;ary and, in some states, required. State laws govern the time
       period that a lender must wait before initiating foreclosure proceedings, govern whether there
       is a right to redemption, and prescribe a judicial proceeding n~ for a deficiency
       judgment. In some states, for€:closing requires a judicial proceeding, while in other states, no
       judicial proceeding is requireti.

       For banks that service loans for third-party investors, banks must follow the investors'
       standards as well as applicable laws pertaining to collection, loss mitigation, and foreclosure

       48
         Refer also to 12 CFR I 024.41 (loss mitigation procedures under Regulation XIRESPA). Small servicers are
       not subject to most of 12 CFR 1024.41 but are subject to the 120-day ban on foreclosures.

       49
         Examiners should consider consulting with district accountants or Accounting Policy regarding applicability
       ofFASB Accounting Standards Update No. 201~, "Reclassification of Residential Real Estate Collatcralized
       Consumer Mortgage Loans Upon Foreclosure.~

       50
          Refer to the "Managing Fo=loied Properties" section in the "Other Real Estate Owned" booklet oftbe
       Comptroller's Handbook.




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                                                             Introduction> RRE Activities and Functions


       actions. If a mortgage loan is part of a government loan guaranty program, such as the VA's
       or the FHA 's program, the servicer must follow additional regulations and guidelines in the
       collections process. (For more information, refer to the "Mortgage Banking" booklet of the
       Comptroller's Handbook.)

       Home Equity Lending Dt!linquent Loan Collections

       The collection process for home equity loans and lines is operationally similar to that for
       mortgage loans. Depending on the size and nature of the bank's home equity lending
       activities, collections are handled by loan officers, a consumer loan collection staff, or
       specialists within a consumer loan collection staff. The primary distinctions between
       collections on mortgage loans and home equity loans and lines depend on the lien position of
       the bank. If the bank's home equity loan or line has a first-lien position, then collection
       activities closely resemble thm:e for first-mortgage loans. If, however, the bank's home
       equity loan or line is subordinate or has a second-lien position, then collection activities have
       some additional areas of focus .

        .When a HELOC becomes delinquent, management should firat act according to its
         predefined processes or standards to determine if the customer's access to the line should be,
         and legally can be, suspended. While many banks automatically terminate line access· at a
      . certain number of days past due (15, 30, 45, or 60), proactive managers of credit risk seek to
         terminate access sooner rather than later, such as through an evaluation of the customer's
         credit situation through a credit score or credit report. Proactive managers would also likely
         include some type of update of current collateral value. Based on evaluation of this
         information against the standards, management may act to terminate line access in
         compliance with Regulation Z: requirements.

       In the early stages ofdelinque:ncy (less than 90 days), the loan officer or collections staff uses
       phone calls and letters to contact the borrower and attempt to obtain a loan payment and
       current financial information. Staff should also ascertain and document the borrower's
       willingness and ability to return the loan or line to a current status. Finally, the lender should
       obtain an updated estimate of the collateral's current value as well as the amount of the first
       lien and its repayment status. This information is used to determine the potential need to
       classify the loan or line, reeognize any loss, discontinue income recognition, and decide the
       next steps in the collection process.

       Under the interagency "Uniform Retail Credit Classification and Account Management
       Policy," the loans and lines are subject to classification when they become 90 days or more
       past due. The loans and lines are subject to loss recognition when identified or generally no
       later than when the loan becomes 180 days or more past due. Loss recognition involves
       charging the loan or line down to available value of the collateral less the cost to sell the
       property, if repossession of collateral is assured and in process. In cases when there is no
       available equity in the collati.,Tal, the bank's loss is 100 percent of the loan or line amount.
       Management may maintain the lien on the property to negotiate some amount of recovery in
       response to releasing the liert.




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                                Examination Procedures > Real Estate Settlement Procedures Act Worksheet


                      12 CFR 1026.41?
                 -    MY Web site the financial institution maintains in connection with the
                      senricing of the loan? and
                 -    Any notice required pursuant to 12 CFR 1024.39 (eat1y inteivention) or
                      1024.41 (loss mitigation) !hat includes contact information for
                      assistance? (12 CFR 1024, Supp. I., Comment 1024.36(c)-2)
            •    Does the financial institution designate the same address for receiving
                 information requests pursuant to section 1024.35(c)? (12 CFR 1024.36(b))

            •    If the financial institution eutablished an electronic method for submitting
                 infonnalion requests that h; its exclusive online intake process, is the
                 electronic process in addition to, and not in lieu of any process for receiving
                 information requests by mail? (12 CFR 1024, Supp. I., Comment
                 1024.36(c)-4)
        57. If the inslilulion has not established a specific address to which infonnation
            requests should be sent, does the financial institution respond to information
            requests sent to any of its offires? (12 CFR 1024, Supp. I., Comment
            1024.36(b)-1)
        Acknowledgment of Information Requests                                                         Yes       No        NA
        58. Does the financial institution:
            •    Properly acknowledge the information request by providing written
                                                                                          -
                 acknowtedgment to the l)(onower within five days (exduding legal public
                 holiday$, Saturdays, and Sundays) after receiving the information request?
                 (12 CFR 1024.36(c)) or
            •    Acknowledgment was not required because
                 -    the financial institution provided the borrower With the information
                      requested and contad information (including telephone number) for
                      further assistance Within five days (excluding legal public holidays,
                      Saturday!;, and Sundays)? (12 CFR 1024.36(e)) or
                 -    the financial institution determined that It was not required to respond
                      and provided written notice With the basis for Its determination not to
                      respond to the request to the borrower within live days (excluding legal
                      public holidays, Saturdays, and Sundays) after making that
                      detennination? (12 CFR 1024.36(1))
        Response to Information Requests                                                               Yes       No, > NA
        59. Does the financial institution propet1y respond to the information request by                             v
            •    providing the requested information and contact information for further
                 assistance? (12 CFR 1024.36(d)(1)(i))
                                                                                                             /
            •    conducting a reasonable search for the requested information and providing
                 the borrower with a Wlilte"' notice advising the borrower that the financial
                 institution has determined that the requested information is not available to
                                                                                                                      v
                 ff, the basis for the finenc:ial institution's determination, and contact
                 information for further assistance? (12 CFR 1024.36(d)(1)(ii)) (note:
                 infonnation is not available to the financial institution if the information is not
                 in the financial institution's control or possession or if It cannot be retrieved
                 in the ordinSI)' course of business through reasonable etrorts such as, for
                                                                                                             v
                 example, if electronic back-up media is not normaby BQ;eSSible to the
                 financial institution's peroonnel and would take an extraordinary effort to
                 identify and restore. Information stored off-site but which personnel can
                 access on request is available to the financial institution.) and
            •    undertaking one of the l"f'..sponses above within the following time frames?                         I'
                 -    If the borrower requested the identity of or contact information for the
                      owner or assignee of a mortgage loan, responding within 10 days                        t/
                      (excluding legal put~ic holidays, Saturdays, and Sundays); or
                 -    For all other infolmation requests, responding within 30 days (excluding

Comptroller's Handbook                                         61                Real Estate Settlement Procedures Act
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                                Examination Procedures > Real Estate Settlement Procedures Act Wo!ksheet

                      legal public holidays, S;aturdays, and Sundays) unless, before the
                      expiration of that 30-day period, the financial institution extended the
                      time for responding by an additional 15 days (excluding legal pub~c
                      holidays, Saturdays, arid Sundays) by notifying the borrower in writing
                      of the extension and the reasons for it. (12 CFR 1024.36(d))
        The responses in step 59 were not niquired because
            •    the financial institution provided the borrower with the information requested
                 and contact infonnation (inc~uding telephone number) for further assistance
                 within five days (excluding legal pubfic holidays, Saturdays, and Sundays)?
                 (12 CFR 1024.36(e)); or
                                                                                                         [/
            •    the financial institution detennined that tt was not required to respond and
                 provided written notice witlT the basis for tts determination not to respond to
                 the request to the borrower within five days (exduding legal public holidays,
                 Saturdays, and Sundays) 21fter making that detennination?
                 (12 CFR 1024.36(f)(2))
        lnfonnadon Requests Regarding the Identity or Contact lnfOrmadon of the                    Y89       No       NA
        Owner Of" Assignee of a Mortgage, Loan
        60. If the infonnaUon requested is the identity or contact infonnation of the owner or
            assignee of a mortgage loan, does the financial institution comply by identifying
            the peroon on whose behalf the financial institution receives payments?
            (12 CFR 1024, Supp. I., Comment 1024.36(a}-2) For example, if the owner is a
                                                                                                         /
            trust, the financial institution should identify the trust as the owner and provide
            the trustee's contact infonnation.
        Detarmination That No Response1 Was Required                                               Y89       No       NA
        61. If the financial instilulion determined that it was exempt from the requirement to
            respond, did the financial lnstiMion reasonably determine that one of the
            fOllowing five exemptions applied?
                                                                                                         /
            •    The infuimation requested is substantially the same as information the
                 borrower previously requested for which the financial institution has already
                 complied with the requirements for responding to written infonnation                    r/ ,
                 requests (12 CFR 1024.31>(f)(1)(i));
            •    The information requested is confidential, proplietary, or privileged
                 (12 CFR 1024.36(f)(1){ii));                                                             t/, ,,...
            •    The information requested is not directly related to the borrower's mortgage
                 loan account (12 CFR 1024.36(f)(1)(lii));
                                                                                                         ./
            •    The information request ii; overbroad or unduly burdensome. A request is                         /
                 overbrQad if the borrower requests that the financial institution provide an
                 unreasonable volume of documents or infonnation. A request is unduly
                 burdensome if a diHgent financial insliluUon could not respond within the
                 lime periods set fol1h in 12 CFR 1024.46(d)(2) or would incur costs (or have
                                                                                                         t/
                 to dedicate resources) th;!I would be unreasonable in light of the
                 circumstances (12 CFR 1024.36(f)(1)(rv)); or
            •    The infonnation request is sent more than one year after either the
                                                                                                                  )J,,t
                 mortgage loan balance was discharged or the financial institution transferred
                 the mortgage loan to another servicer. (12 CFR 1024.36(f)(1)(v))
                 A mortgage loan is discharged when both the debt and all corresponding
                 liens have been extinguished or released, as applicable.
                                                                                                         ti '(et'
        Determination That lnfonnatlon Request Was Overbroad                                       Y89       No       NA
        62. If the financial institution detennined that a submitted request was overt>road or                    /
            unduly burdensome, could the financial institution reasonably have identified a
            valid infonnation request in the submission and did the institution do so?
                                                                                                         (/
            (12 CFR 1024.36(f)(1)(rv))
        lmpennlsalble F - and Conditions                                                           Yes       No       NA
        63. Does the financial institution !llfrain from charging a fee, or requiring a borrower
            to makeanv             that wns owed on the borrower's aocount. as a oondition Of

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        77. If the financial institution mailed any of the written initial, reminder. or renewal
            notices (12 CFR 1024.37(c)(1)(i), (c)(1)(ii), or (e)(1)), does the servicer use a
            dass of mail not less than first-class mail? (12 CFR 1024.27(1))
        78. If the financial insliMion received evidence that the borrower had required                                 '
            hazard insurance coverage in place, did the financial institu11on do the following
            within 15 days:
             •    Cancel the force-placed ini;urance;
             •    Refund force-placed insura.nce premiums charges and fees for the period of
                  overtapping coverage; and
             •    Remove all force-placed charges and fees from the borrower's account for
                  the period of overtapping coverage? (12 CFR 1024.37(9))
        79. Are an fees or charges asseSSE:d on the borrower related to force-placed
            insurance bona fide and reasonable (except charges subject to State regulation
            and charges authorized by the Flood Disaster Protection Act of 1973)? A 'bona
            fide and reasonable charge" is one that is reasonably related to the institution's
            cost of providing the service and is not otherwise prohibited by law.
            (12 CFR 1024.37(h))
        General Servicing Policies, Procftdures, and Requirements (12 CFR 1024.38)
        Applicability: The general servicin:~ policies, procedures, and requirements apply to
        all mortgage loans, as that term is defined in 12 CFR 1024.31. except that the
        requirements do not apply to (i) small servicers, as that term is defined in
        12 CFR 1026.41(e);1 ~i) reverse mortgage transactions, as .that term iS defined in
        12 CFR 1026.33(a); and (iii) qualifi1ld lenders, as defined under the Farm Credtt Act
        of 1971 and accompanying regulations.
        Policies and Procedures--Acceiw.lng and Providing Timely and Accurate                         Yea      No           NA
        lnfonnatlon
        80. Does the. financial Institution have policies and procedures that are reasonably
            .designed lo ensure that ii has access to and provides timely and accurate
            information? (12 CFR 1024.38(a) & (b)(1)) This includes policies and procedures
            that are reasonably designed to ensure the following:                                               /   ,
             •    Providing accurate and tirnely disclosures to the borrower:                                 I/
             •
                                                                                                             v
                  Investigating, responding to, and making corrections in response to
                  borrowers' complaints, i111~uding promptly obtaining information from service
                  providers to investigate and if applicable correct errors resulting from actions
                  of service providers;
             •    Providing borrowers with accurate and timely information and documents in
                  response to borrower requests for information with respect to the borrower's
                  mortgage loan;                                                                             r/
             •    Providing owners and asaignees of mortgage loans with accurate and                                    7
                  current information and documerns about all the mortgage loans they owrr,
                  induding information abou1 the financial institution's evaluations of
                  borrowers for loss mitigation options and loss mitigation agreements with
                  borrowers;
                                                                                                              r/,       ,/

             •    Submittina accurate and current infonnation and documents that comnlv                       r/

       '·An institution generally qualifies as a small servicer if it services, together with any affiliates, 5,000 or
       fewer mortgage loans, as that tenn is used in 12 CFR 1026.4l(a)(l ), for all of which the institution (or an
       affiliate) is the creditor or assignee. The following mortgage loans are not considered in detennining whether
       a servicer qualifies as a small servicer: (a) mortgage loans vollll1lllrily serviced by the servicer for a creditor or
       assignee that is not an affiliate of~1e servicer and for which the servicer does not receive any compensation or
       fees; (b) reverse mortgage transactions; and (c) mortgage loans secured by consumers' interests in timeshare
       plans (12 CFR 1026.4l(e)(4)(iii)).                                                           .


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                 with applicable law during tt1e foreclosure process; and
            •    Upon learning of a borrower's death, promplly conununicating with the
                 borrower's successor in inturest concerning the secured property.
        Pollc:les and Proc:edures--f>roper Evaluation of Losa Mitigation Applic:ations            Yes   No     NA
        81. Does the financial instiMion haue policies and procedures Iha! are reasonably
            designed to ensure that its pers<:innel propefly evaluate loss mitigation
            applications? (12 CFR 1024.38(a) & (b)(2)) This includes policies and
            procedures that are reasonably designed to ensure the following:
            •    Providing accurate infonnai~on regarding available los& mitigation options
                 from the owner or assignee' of the borrower's loan; .
            •    Identifying with specificity aII loss mitigation options for which a bonOwer
                 may be eligible, induding kfentifying, with respect to each owner or
                 assignee, all of the loss mHigation options the financial institution may
                 consider when evaluating ii borrower, as well as the criteria the financial
                 institution should apply for each option;
            •    Providing the loss mitigation personnel assigned to the borrower's mortgage
                 loan pursuant to 12 CFR 1026.40 with prompt access to au of the
                 documents and information that the borrower submitted in connection with a
                 loss mitigation option;
            •    Identifying the documents ••nd infolmation a borrower must submit to
                 complete a loss mitigation application; and
            •    In response to a complete loss mitigation application, properly evaluating the
                 borrower for aD eligible loss mitigation options pursuant to any requirements
                 8$lablished by the owner ,,,. assignee of the mortgage loan, 8lrell if those
                 requirements are OlherwiS<a beyond the requirements of 12 CFR 1024.41.
        Polic:les and Proc:edures--Oversight of Servicer Providers                                Yes   No     NA
        82. Does the financial institution h11ve policies and procedures that are reasonably
            designed to facilitate oversight of and complianc:e by, service providers?
            (12 CFR 1024.38(a) & (b)(3)) lhis includes policies and procedures that are
            reasonably designed to ensure the following:
                                                                                                        r/ -
            •    Providing appropriate pe~oonel with access to accurate and current
                 documents and infonnation concerning the service providers' actions;
                                                                                                        /
            •    Facilitating periodic reviews of service providers; and
            •    Facilitating the sharing of ac:c:urate and current information regarding the
                 status of a borrower's 1osi;, mfligation application and any foreclosure
                                                                                                             v
                 proceeding among appropriate financial institution personnel, including the
                 loss mitigation personnel assigned to the borrower's mortgage loan, and
                 appropriate se!Vice provider personnel, induding seivice provider personnel
                                                                                                        cl
                 responsible for handling hiredosure proceedings.
        Policies and Procedures-Transfer of Information                                           Yes   No     NA
        83. Does the financial institution have policies and procedures lhat are reasonably
            designed to fadlitate Iha transfer of infonnation during servicing transfers?
            (12 CFR 1024.38(a) & (b)(4)) Tllis includes policies and procedures that are
            reasonably designed to ensun9 the following:
            •    For a transferor servicer, lhe timely and accurate transfer of au information
                 and documents in its possession and control related to a transferred
                 mortgage loan to the transferee servicer in a manner that ensures its
                 accurac:y and that allows the transferee to comply with the terms of the
                 mortgage loan and applicable law, including any information about the
                 status of any loss mitigation agreements or discussions with the borrower
                 and any analysis performed with respect to potential recovery from non-
                                                                                                        vv          /


                 perfonning mortgage loans; and
            •    For a transferee servicer, identifying necessary documents or information
                 that mav not have been transfemad, obtaininn such rnissinn documentation
                                                                                                               v
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                 or information from the transferor servicer (for documents and information
                 related to loss mitigation, the transferee's policies and procedures must
                 address obtaining missing documents from the transferor servicer before
                 attempting to obtain such documents from the borrower).
        Policies and Procedures-Notifying Borrowers of ErTOr Notice and lnfonnation                    Yes   No    NA
        Request Procedures
        84. Does the financial institution ha·'e policies and procedures that are reasonably
            designed to infonn borrowers ol' procedures for submitting written error notices
            and written infonnation requestf>? (12 CFR 1024.38(a) and (b)(5)) This includes
            policies and procedures reasonably designed to ensure that the financial
            institution informs borrowers wtio are dissatisfied with the financial institution's
            response to complaints or infonnation requests submitted orally of the
            procedures for submitting writte·n error notices under 12 CFR 1024.35 and
                                                                                                             /    v
            written information requests under 12 CFR 1024.36.
        Records Maintenance-Accurate Records                                                           Yes   No    NA
        85. Does the financial institution retain accurate records that document actions with                               I/
            respect to the mortgage loen a<=unt (whiclh includes any mortgage loan that
            has been transferred or paid in full)? The financial institution must retain these
            records until one year after the loan is disclharged or the financial institution
                                                                                                             cl /
            transfers servicing for the mortgage loan to a transferee servicer.
            (12 CFR 1024.38(c)(1))
        Records Maintenance-Facllltaling Aggregation of lnfonnation                                    Yes   No    NA
        86. For documents or infonnalion c:reated on or after January 10, 2014, does the
            financial institution maintain lhf' following five ttems for eaclh mortgage loan file in
            a manner that allows the financial institution to aggregate these items into a
            servicing file within five days?
            •    A sclhedule of all credits and debits to the account Qncluding escrow
                 accounts and suspense &:counts);
            •    A copy Of the security inst1cument that establishes the lien securing the
                                                                                                             /    ../
                 mortgage loan;
             •   Any notes created by financial institution personnel reflecting
                 communicalions with tt>e borrower concerning the account;
            •    A report of the data fields relating to the borrower's account created by the
                 institution's electronic systems (if applicable); and
             •   Copies of any infonnation or documents Provided by the borrower to the
                 financial institution in connection with written error notices or losS mitigation.
                 (12 CFR 1024.38(c)(2))
                                                                                                             r/
        Early Intervention Requirements for Certain BorTO-re (12 CFR 1024.39)                          Yes   No     NA
        Applicablilty: The ea~y intervention requirements apply to only tihose mortgage
        loans, as that te<m is defined in 12 CFR 1024.31, Iha! are secured by the borrower's
        principal residence (12 CFR 1024.30(c)(2)). The requirements do not apply to Q)
        small servicers, as that tenn is defined in 12 CFR 1026.41 (e). 2 (ii) reverse mortgage
        transactions, as that term is defined in 12 CFR 1026.33(a}. and (iii) qualified lenders,
        as defined under the Fa<m Credit Act of 1971 and accompanying regulations (12
        CFR 1024.30(b)). Additionally, fine1ncial institutions are not required to comply with
        the Jive contact and written notice 1...nuirements if doina so would violate a.;.,iicabJe

       2
         An institution generally qualifies as a small servicer if it either (a) services, together with any affiliates,
       5,000 or fewer mortgage loans, for all of which the institution (or an affiliate) is the creditor or assignee.
       (12 CFR 1026.41 ( eX4)(ii)). The following mortgage loans are not considered in detennining whether a servicer
       qualifies as a small servicer: (a) mortgage loans voluntarily serviced by the servicer for a creditor or assignee
       that is not an affiliate of the servicer and for which the servicer does not receive any compensation or fees; (b)
       reverse mortgage transactions; and (c) mortgage loans secured by conswners' interests in timeshare plans (12
       CFR l026.4l(e)(4)(iii)).


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           law. (12 CFR 1024.39(c)) Finally, financial institutions are exempted from the early
           intervention requirements (i) as to bcirrowers who are in bankruptcy,3 and (ii) if the
           financial institution is subject to the FDCPA and the borrower has sent an FDCPA
           •cease communication" notification with respect to the mortgage loan. (12 CFR
           1024.39(d))

           Complete the following for any delinc1uent borrowers (Which, for purposes of
           section 1024.39, do not include bom:iwers perfonning as agreed under a loss
           mitigation agreement).
           Uve Contact                                                                                    Yes   No   NA
           87. Does the financial institution ma1ke good faith efforts to establish live contact with
               the borrower within 36 days afit!f each time the borrower became delinquent?
               (12 CFR 1024.39(a)) A delinqu1mcy begins each time a borrower fails to make a
               payment sufficient to cover principal, interest, and (if applicable) escrow for a
               given billing cyde.
           88. After the financial institution estoblishes live contact, does the financial institution
               promptly inform the borrower of loss mitigation options, if appropriate (as
               determined based on the financial institution's reasonable discretion)? (12 CFR
               1024.39(8))
           Written Notice                                                                                 Yes   No   NA
           89. Does the financial institution send a written notice to the borrower within 45 days
               after the borrower becomes delinquent? (12 CFR 1024.39(b)(1)) The financial
               institution does not need to send the notice to a borrower more than once in a
               18()..day period.
           90. Does the notice include the folbwing items? (12 CFR 1024.39(b)(2)) (Sample
               language for the notice is conta:ined in appendix MS-4(A). MS-4(8). and MS-4(C)
               to 12 CFR 1024.)
               •    A statement encouraging !he borrower to contact the financial institution;
               •    The telephone number to access assigned loss mitigation personnel;
               •    A brief description of examples of loss mitigation options that may be
                    available to the borrower (if applicable);
               •    Loss mitigation application instructions or instructions as to how to obtain
                    more information about lo!;s mitigation options (such as by contacting the
                    financial institution). if applicable; and
               •    Either lhe CFPB's or HUD's Web site to access homeownership counselors
                    or counseling organizations lists and HUD's toll-free number to access
                    homeownership counselon; or counseling organizations.
           Continuity of Contact {12 CFR 1024.40)                                                         Yes   No   NA
           .&.nnllcablllty: The continuilv of contact r""uirements. annlv to onlv those mortn""e

       3
         With respect to any portion of the mortgage debt that is not discharged through bankruptcy, a servicer must
       resume compliance with the early intervention requirement after the fir.it delinquency that follows the earliest of
       the following: (i) the borrower's bWJikruptcy case is dismissed; (ii) the borrower's bankruptcy case is closed; or
       (iii) the borrower receives a general discharge of debts under the Bankruptcy Code (11 USC IOI et seq.). A
       servicer is not required, however, to communicate with a borrower in any way that would violate applicable
       bankruptcy law or a court order in a bankruptcy case, and a servicer may adapt the early intervention
       requirement in any manner believed necessary. A servicer also is not required to comply with the early
       intervention requirement for any po1tion of the mortgage debt that was discharged under the Bankruptcy Code
       or ifa bankruptcy case is revived (12 CFR 1024.39(d)). The bankruptcy exception applies if two or more
       borrowers are joint obligors with primary liability on a mortgage loan and any one of the borrowers is in
       bankruptcy. For example, if a husband and wire jointly own a home and the husband files for bankruptcy, the
       servicer is exempt from the early intervention requirements as to both the husband and wife ( 12 CFR I024,
       Supp. I., Comment I024.39(dXl)-3)).


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           loans, as that term is defined in 12 CFR 1024.31, that are secured by the borrower's
           principal residence. (12 CFR 1024.3CJ(c)(2)) The requirements do not apply to (i)
                                                                         4
           small servicers, as that term is defined in 12 CFR 1026.41(e), (iQ reverse mortgage
           transactions, as that term is defined i~ 12 CFR 1026.33{a), and (iii) qualified lenders.
           as defined undef the Farm Credit Ad of 1971 and accompanying regulations. (12
           CFR 1024.30(b))
           91. Does the financial institution have policies and procedllleS reasonably designed
               to assign personnel to a delinqU•3nl borrower by the time the written earty
               intefvention notice was provided, and in any event. within 45 days after the
               borrower became delinquent? (12 CFR 1024.40{a))
           92. Does the financial institution have policies and procedures reasonably designed
               to ensure that the assigned perEoonel are available, via telephone, lo answer the
               borrower's questions and (as applicable) assist the borrower with available loss
               mitigation options unUI the bomiwer has made, without incurring a late charge,
               two consecutive mortgage payments in accordance with the terms of a
               permanent loss mitigation agreE1ment? (12 CFR 1024.40{a)(2))
           93. Does !he financial instiMion ha•te policies and procedures reasonably designed
               to ensure that, if a borrower contacts the assigned personnel and does not
               immedilitely receive a live response, the institution can provide a live response in
               a timely manner? {12 CFR 102•1.40(a)(3))
           94. Does the financial inslituliori maintain policies and procedures reasonably
               designed lo ensure Iha! lhe assigned personnel can pelform, among O!helll, the
               following tasks:
               •    Provide the borrower with accurate irrformation about ava~able loss
                    mitigation options, induding the steps the borrower must take to be
                    evaluated for sueh options, including how to complete a loss mitigation
                    application or appeal a denial Of a loan modification option (if applicable);
               •    Provide the borrower with .accurate irrformation about the status of any loss
                    mitigation application submitted;
               •    Provide the borrower with accurate irrformation about the circumstances
                    under v.tiich the financial i1~stiMion may refer the account lo foreclosure;
               •    Provide the borrowet with accurate information about applicable loss
                    mitigation deadlines;
               •    Timely retrieve a complete record of the borrower's payment history and all
                    written infomation the bo!rower has provided to the financial institution (or
                    the financial institution's predecessors) in conneclJon with a loss mitigation
                    application, and provide these documents to other pefSOllS required to
                    evaluate !he borrower for available toss mitigation options; and
               •    Provide the borrower with information about submitting a written error notice
                    or written requesl for infotmation? (12 CFR 1024.40(b))
           Loss Mitlga11on Procedures (121:FR 1024.41)
           Appli~blllty: The loss mitigation !procedure requirements apply to only those
           mortgage loans, as that term is de:lined in 12 CFR 1024.31, lhat are secured by the
           borrower's otincinAI residence. 112 CFR 1024.301cl12ll Excaol for Ille renuirements




       4
         An institution generally qualifies as a small servicer if it services, together with any affiliates, 5,000 or
       fewer mortgage loans, for all of which the institution (or an affiliate) is the creditor or assignee. (12 CFR
       1026.4l(e){4){ii}}. The following mortgage loans are oot considered in determining whether a servicer qualifies
       as a small servicer: (a) mortgage loans voluntarily serviced by the servicer for a creditor or assignee that is not
       an affiliate of the servicer and for which the servicer does not receive any compensation or fees; (b) reverse
       mortgage transactions; and (c) mortgage loans secured by consumers' interests in timeshare plans {12 CFR
       1026.4 l{e){4){iii)).


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        of 1024.410), the loss mitigation procedure requirements do not apply to Ol small
                                                                5
        servicers, as that term is defined in 12 CFR 1026.41(e), (iQ reverse mortgage
        transactions, as that term is defined in 12 CFR 1026.33(a), and (iiQ qualified lenders,
        as defined under the Farm Credit Act and accompanying regulations. (12 CFR
        1024.30(b))

        Calculating time periods: 12 CFR t024.41 provides borrowers certain protections
        depending on whether the financial Institution receives a complete loss mitigation
        application at least a specified numter of days before a foreclosure sale. See, e.g.,
        12 CFR 1024.41(c)(1) (37 days); 12 CFR 1024.41(e) & (h) (90 days). These time
        periods are calculated as of the date1 the servicer receives a complete loss mitigation
        application. Thus, scheduling or rescheduling a foreciosure sale after the servicer
        receives the complete loss mitigation application does not affect the borrower's
        protections {12 CFR 1024, Supp. I., Comment 1024.41(b){3)-2). If no foreclosure sale
        Is scheduled as of the date the servicer receives a complete loss mitigation
        application, the application is considered received more than 90 days before a
        foreclosure sale. (12 CFR 1024, Supp. I., Comment 1024.41(b)(3)-1)

        Definition of first notice or filing: 12 CFR 1024.41 includes certain prohibitions on
        making the first notice or filing for a judicial or non-judicial foreclosure, and provides
        borrowers certain protections depending on whether such a notice or filing has be.en
        made. Whether a particular docume,nt qualifies as the first notice or filing depends on
        the foreclosure process under the applicable state law at issue:

             •   Judicial foreclosure. Wh•3n foreclosure procedure requires a court action
                 or proceeding, the first notice or filing is the ear1iest document required to be
                 filed with a court or other judicial body to commence the action or
                 proceeding. Depending 011 the particular foreclosure process, examples of
                 these documents could be a complaint, petition, order to docket or notice of
                 hearing;              ·
             •   Non1udiclal foreciosun>-ncording or publication requirement When
                 foreclosure procedure does not require an action or court proceeding (such
                 as under a power of sale), the first notice or filing is the earliest document
                 required to be recorded or published to initiate the foreclosure process; or
             •   Non-judicial foreclosure-no recording or publication requirement
                 When foreclosure procedure does not require an action or court proceeding
                 and also does not require any document to be recorded or published, the
                 first notice or filing is the eaniest document that establishes, sets, o~
                 schedules a date for the foreclosure sale.

        Note: A document provided to the borrower but not initially required to be filed,
        recorded, or published is not considered the first notice or filing on the sole basis that
        the documents must later be Included as an attachment accompanying another
        document that is required to be filed, recorded, or published to carry out a
        foreclosure. (12 CFR 1024, Supp. I., Comment 1024.41(1)--1)
        Applications Received at Least •15 Days Before a Foreclosure Sale {Review for                Vea       No      NA
        Completeness)
        Complete the following for any l0Sl1 mitigation application that the financial institution
        received at least 45 days before a foreclosure sale:


       'An institution qualifies as a sma'll servicer if it either (a) services, together with any affiliates, 5,000 or
       fewer mortgage loans, for all of which the institution (or an affiliate) is the creditor or assignee, or (b) is a
       Housing Finance Agency, as defined in 24 CFR 266.5 ( 12 CFR I 026.41 { eX4)(ii)). The following mortgage
       losns are not considered in determiJling whether a servicer qualities as a small servicer: (a) mortgage loans
       voluntarily serviced by the servicer for a creditor or assignee that is not an affiliate of the servicer and for which
       the servicer does not receive any compensation or fees; (b) rev=e mortgage uanssctions; and (c) mortgage
       loans secured by consumers' interests in timeshare plans (12 CFR I026.41(eX4Xiii)).


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        95. Does the financial institution prompHy detennine whether the application was
            complete? (12 CFR 1024.41(b)(1)) A loss mitigation application is viewed
            expansively and indudes oral inquiries by the borrower when the borrower also
            provides infonnation the financial institution would use to evaluate loss mitigation
            applications, or when a borrower requests that the financial institution determines
            whether the borrower is "prequa:lified" for a loss mitigation application by
            evaluating the borrower against preliminary criteria. (12 CFR 1024, Supp. I.,
            Comment 1024.41(b)(1)·2) A financial institution is required to comply with the
            loss mitigation procedures for only a single complete loss mitigation application
            for a borrowe(s mortgage loan .account. (12 CFR 1024.41(i))
        Complete Applications-Written A•:knowledgment                                                     Yes   No   NA
        Complete the following if the applicaUon was complete.
        96. Does the financial institution provide wlitten acknowledgment to the borrower
             within five days (excluding legal public holidays, Saturdays, and Sundays) after
             receiving the loss mitigation application? The acknowledgment must state that
             the application was complete and indude a statement that the borrower should
             consider contacting sesvicers o·f any other mortgage loans secured by the same
             property to discuss available lo:;s mitigation options. (12 CFR
             1024.41 (b)(2)(1)(B))
        Facially Complete Appllcallone-~lddltlonal Information or Corrected                               Yes   No   NA
        Documents Required
        Complete the following if the application was facially complete and the financial
        instituHon later discovered that additional information or corrections to a previously
        submitted document wena required to complete the application. A loss mitigation
        application is facially complete if eitlher 0) the financial institution's initial notica under
        section 1024.41(b) advised the bonower that the application was complete, or (ii) the
        financial institution's Initial notica under section 1024.41(b) requested additional
        information from the borrower to complete. the application and the borrower submitted
        such additional information.
        97. Does the financial institution, on discovering that additional information or
            corrected documents were required to complete the application, (i) promptly
            request the missing information or corrected documents, and (ii) give the
            borrower a reasonable opportunity to complete the application? (12 CFR
            1024.41 (c)(2)(iv)) A reasonabl11 opportunity depends on the particular facts and
            circumstances, but must provide the borrower sufficient time to gather the
            necessary infonnation and doc:uments. (12 CFR 1024, Supp. I., Comment
            1024.41 (c)(2)Qv)-1)
        98. Does the financial institution treat the borrowe(s application as complete for
            purposes of 12 CFR 1024.41(1)(2) iApplication received before foredosure
            referralj and 12 CFR 1024(9) iProhibition on foredosure sale") until the
            borrower is given a reasonabhi opportunity to submit additional information or
            corrected documents? (12 CFR 1024.41(c)(2)(iv))
        Incomplete Appllcallone--Writ!E·n· Acknowledgment, Reasonable Dillgenc:e, and                     Yes   No   NA
        Short-Tenn Forbearance
        Complete the following if the application was incomplete:
        99. Does the financial institution i:rovide written acknowledgment to the borrower
            within five days (excluding legal public holidays, Saturdays, and Sundays) after
            receiving the loss mitigation application? The acknowledgment must (1) state
            that the application was incomplete, (2) identify the additional infoonation needed
            to complete the application, (a) identify a reasonable date by whidl the borrower
            must submit the additional inti:>rmation, and (4) indude a statement that the
            borrower should consider contacting servicers of any other mortgage loans
            secured by the same property to discuss available loss mitigation options. (12
            CFR 1024.41(b)(2)) Except when doing so would be impracticable (sudl as
            requesting a borrower to submit documentation in. less than savan days), a
            reasonable deadline is generally one of the following that maximizes the
            borrower's loss mitigation protections: (a) the date by whidl any document or
            information submitted by the borrower becomes stale or invalid, lbl the 120th


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             day of the borrower's delinquency, (c) 90 days before a foredosure sale; or (d)
             38 days before a foreclosure salo. (12 CFR 1024, Supp. I., Comment
             1024.41(b)(2)(h")-1)
        100.Does the financial institution exe1~se reasonable diligence in obtaining
            documents and information to complete the application? (12 CFR 1024.41(b)(1))
            Examples of reasonable diligence inciude: (a) when lhe financial institution
            requites additional information from the borrower (such as an address or
            telephone number to verify employment), promptly contacting lhe borrower to
            obtain the information; and (b) when the borrower's loan is transferred to the
            financial institution from another servicer, reviewing documents the financial
            institution received from the prior servicer to detemline if the required information
            is contained in those documents. Ad<fllionally, if the financial inslilution offered
           the borrower a short-term forbearance plan based on infiJrmalion contained in an
            incomplete loss mitigation application, reasonable diligence would involve
            notifying the borrower that the borrower is being offered a payment forbearance
            program based on an evaluatior of an incomplete loss mitigation application, and
            that the borrower has the option of completing the application to receive a full
            evaluation for an loss mitigation options available to the borrower. (12 CFR 1024,
            Supp. I., Comment 1024.41(b)(1)-4.iii)
        101.lfthe financial institution offered the borrower a short-term forbearance plan
           based on information contained in an incomplete loss mitigation application, did
           the financial institution either (a) make the first notice or filing for any judicial or
           non-judicial foreclosure process, (b) move for foredosure judgment or an order
           of sale, or (c) conduct a foreclowre sale whHe the borrower was performing
           under such plan? ( 12 CFR 1024.41 (c)(2)("rii)) A short-term forbearance program
           allows a borrower to forgo making certain payments or portions of payments due
           over a period of no more than six months. (12 CFR 1024, Supp. I., Comment
           41 (c)(2)(iii)-1)
        Complete Applications Received lllore Than 37 Days Before a Foreclosure Sale                     Yes   No   NA
        (Evaluation of Application)
        Complete the following for any complete loss mitigation application that the institution
        received more than 37 days before a foreclosure sale.
        102.0oes the financial institution, within 30 days, (i) evaluate the borrower for all
            available loss mitigation optkw:, and ("u) provide the borrower with a notice
            stating (a) which loss mitigation options (if any) the financial institution would
            offer the borrower, (b) the amount of time the borrower has to accept or reject an
            offered loss mitigation option pursuant to 12 CFR 1024.41(e), and (c) if
            applicable, that the borrower N;1s the right to appeal a denial of a loan
            modification option and the 1im11 period ror making any appeal pursuant to 12
            CFR 1024.41(11)? (12 CFR 102-4.41(c))
        103. If the financial institution deniecl the application, does the notice also state the
            specilic reason or reasons for denying each such option, and, if applicable, that
             the bolrower was not evaluatecl on olher aiteria? (12 CFR 1024.41 (d))
        Denial of Loan lllodiflcaUon OpUc111 Baaed on Investor Criteria; Use of a                        Yes   No   NA
        Walelfall
        Complete the following if the financial institution denied an application for a loan
        modification option due to a failure lo meet investor guidelines.
        104.Does the financial instilulian khntify in its notice to the bonower (i) the <Mner or
             assignee of the mortgage loan, and (Ii) the specific aiterla the borrower failed to
             meet? (12 CFR 1024.41(d), 12 CFR 1024, Supp. I., Comment 41(d)-1)
        Note: If the borrowe(s application was evaluated under an investor's waterfall and
        the borrower qualified for a pal1icular option, It is sufficient for the financial institution
        to inform the bonower that the investor's requirements include a ranking of options
        and that an offer of a loan modificalion option necessarily results in a denial of any
        olher options ranked below the option for which the borrower is eligible. (12 CFR
        1024, Supp. I., Cornment41(d)-1)
        Denial Based on Net Present Val1118 Calc:ulaUon                                                  Yes   No   NA
        CornnlAte the followinn if the financial institution denied the ~1ication due to a net


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        present value calculation.
        105.Does the financial institution dlsdose the inputs used in that calculation?
            (1.2 CFR 1024, Supp. I., Comment41(d)-2)
        Denial Using Hierarchy of Ellglbilfty Criteria                                                Yes   No       NA
        Complete the following if the financial instib.rtion established a hierarchy of eligibility
        aiteria and, after reaching the first aiterion that causes a denial, did not evaluate
        whether the borrower would have sadsfied the remaining aiteria.
        106. Does the financial institution ide1~1ify in the notice: (i) the specific reason or
             reasons why the borrower was actually rejected, and (ii) that the borrower was
             not evaluated on other aiteria? A financial institution is not required to detennine
             or disclose whether a borrower would have been denied based on other aiteria if
            the servicer did not actually evaluate these additional aiteria. (12 CFR 1024,
             Supp. I., Comment 41(d)-4)
        rune for Acceptance of an Offerad Loss Mitigation Option
        Complete the following if the financial instib.rtion offered the borrower a loss mitigation
        option.
        Complete Applications Received at Least 90 Days Before a Foreclosure Sale                     Yes   No       NA
        Complete the following if the financial institution offered a loss mitigation option and
        had raceived the oornplete application at least 90 days before a foreclosure sale.
        107.Does the financial institution pn:ovide the borrower with at least 14 days to accept
            or reject any offered loan modification option after the servicer provides notice of
            the offer to the borrower? (12 CFR 1024.41(e)) This acceptance period can be
            extended it, within 14 days, the borrower makes an appeal of e denial of any
            loan modification option. (12 CFR 1024.41(e)(2)(iii)) In the event of an appeal,
            the bo~s time for acceptance is extended to 14 days after the institution
            provides a notice of its determination of the appeal under 12 CFR 1024.41(e)(iii).
        Complete Applications Received !Between 37 and 90 days Before a Foreclosure                   Yes   No       NA
        Sale
        Complete the following it the financ:i<il institution offered a loss mitigation option and
        had raceived the complete application fewer than 90 days before a foreclosure sale
        but more than 37 days before the SE1le.
        108.Does the financial instilution pmvide the borrower with at least seven days to
            accept or reject any offered los:1 mitigation options after the servicer provides
            notice of the offer to the borrower? (12 CFR 1024.41(e)(1))
        No Borrower Response to Offered Trial Loan ModlRcation Plan                                   Yes   No       NA
        Complete the following if the financial Institution offered a borrower a trial loan
        modification plan and the borrower <lid not respond within seven or 14 days (as
        applicable under 12 CFR 1024.41(e)(1)).
        109.lfthe borrower submits payments in accordance with the offered plan, does the
           financial instihltion give the borrower a reasonable period of lime to fulfill any
           remaining requirements to aca!pl the plan? (12 CFR 1024.41(e)(2)(u))
        Prohibitions on Commencing Foteclosure Proceedings and Dual Tracking                          Yes   No       NA
        Complete the following for any borrower.
        11 O.Does the financial institution refrain from making any filSI judicial or non-judicial
            foreclosure notices or filings wilhout meeting one of the foUowlng conditions: (i)
            the borrower was more than 120 days delinquent; (Ii) the foredosure is based on
             a borrower's violation of a due-on-sale dause; or (iii) the financial institution is
             joining the foreclosure action of a subordinate lienholder? (12 CFR 1024.41(1)(1))
             (Note that this requirement as applicable to small servicers is addressed below
             steps 116-17)
        Complete Applications Received During the Pre-Foreclosure Period                              Yes   No       NA
        Complete the following if the financial insUMion received a complete loss mitigation
        application either within the first 120 days of delinquency or before the insliMion
        made the first judicial ot non-judicia.1 foreclosure notice or filing. Note that the
        followinn does not """"' if the foreclosure is based on a borrower's violation of a due-                 I



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        on-sale dause, or if the financial Institution is joining the foredosure action of a
        subordinate lienholder.
        111.Does the financial institution make the first foredosure notice or filing only after
            one of the foUowing occurs: (i) the institution notified the borrower that the
            borrower is ineligible for any Josi; mitigation option and if an appeal is available,
            either the appeal period expired or the appeal had been denied; (ii) the borrower
            rejected an the offered loss mitigation options; or (Iii) the borrower fatted to
            perform under a loss mitigation agreement? (12 CFR 1024.41(1)(2))
        Complete Applications Received ftlore Than 37 Days Before a Foreclosure Sale                  Yes   No   NA
        Complete the following if the financial institution received a complete loss mitigation
        application after the financial instib.Jli<ln initiated foredosure but more than 37 days
        before a foredosure sale.
        112.Does the financial institution reflain from conducting a foredosure sale or moving
            for foredosure judgment or sale until one of the foUowing occurs: (i) the financial
            institution notified the borrower that it had denied the loss mitigation application
            for any loss mitigation option ar>~ if an appeal is available, either the appeal
            period had expired or the appeal had been denied; (ii) the borrower rejected all
            of the offered loss mitigation oplions; or (iii) the borrower fails to perform under a
            loss mitigation agreement? (12 CFR 1024.41(9))
        Appeal Proc:ess                                                                               Yes   No   NA
        Complete the following if (a) the fina11cial institution denied a complete loss mitigation
        application for any trial or permanenl loan modification option, and (b) Iha financial
        institution received that complete application (i) before the borrower was more than
         120 days delinquent, (u) before the ~nancial institution made the first judicial or non-
        judicial foreclosure notic9 or filing, or (iiQ at least 90 days before a foredosure sale.
        113.For any bono- who timely appeals a denial of an available loan modification
            option, does the financial institution provide a notice to the borrower within 30
            days stating (i) whether it will ofier the borrower a loss mitigation option based on
            the appeal, and (ii) if appllcable•. how long the borrower has to accept or reject
            this loss mitigation option or a previously offered loss mitigation option? (12 CFR
            1024.41(h)(4))
        114.For any appeal that the financial institution grants, does the Institution afford the
            borrower 14 days to accept or ~eject any offered loan roodification option? (12
            CFR 1024.41(h)(4))
        115. Does the financial institution uS<a different person net to evaluate the appeal other
             than the personnel who evaluated the borrowe(s loss mitigation application? (12
             CFR 1024.41(h)(3))
        Small Servicers                                                                               Yes   No   NA
        Complete the foltowing if the instiMion is a small servicer as that tenn is defined in 12
        CFR 1026.41(e).
        116.lf the financial institution is a small servicer, does it refrain from making the first
           foreclosure notice or filing (i) until the borrower is more than 120 days delinquent,
           (ii) unless the foreclosure is bal;ed on a borrower's violation of a due-oil-sale
           clause, or (iii) unless the institution is joining a subordinate lienholde(s
           foredosure action? (12 CFR 1Ct24.410l)
        117.lfthe institution Is a small ser.ril;er and the borrower is performing aoc:ording to
           the tenns of a loss mitigation 91jreemenl, does the financial institution refrain
           from (i) making the first fored<>l>ure notice or filing, (iQ moving for a foreclosure
           judgment or order of sale, or (Iii) conducting a foredosure sale? (12 CFR
            1024.410))




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Sent VIA Fax

Dated: Janwuy I, 2016

RE: Follow-up to my response dat1>d December 30, 2015

Dear Officials:

I forgot to state a fact: I am a third party beneficiary to the Trust Instruments. See attached.
                                            '
The US Comptroller ofCum:ncy rec:ogni:r.es that the BomJwer is the number beneficial party to asset-
backed securitization. See page 8 attached herewith. The Borrower resides at the top of the list of
beneficial parties.

Therefore, all that I request does not come under proprietary protection and all the undisclosed side
contracts pertaining to me end my pimperty are mine to see. Nothing is privileged. Without me, you
would not exist.

Yours
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                                                                    L-Sec



  Comptroller of lhll Currency
  Administrator of National Banks




                                    Comptroller's Handbook
                                                   November 1997




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         measuring and managing portfolio risk are less effective. Nonetheless,
         investment bankers ancl asset originators have proven extremely innovative at
         structuring cash flows and credit enhancements. Evidence of this can be seen
         in the market for securitized commercial real estate mortgages. Commercial
         real estate is one of the fastest-growing types of nonconsumer assets in the
         securitization markets, which fund approximately 10 percent of commercial
         mortgage debt.

Benefits of Asset Securitization

         The evolution of securitization is not surprising given the benefits that it offers
         to each of the major pe1rties in the transaction.

         For Originators

        Securitization improves returns on capital by converting an on-balance-sheet
        lending business into an off-balance-sheet fee income stream that is less
        capital intensive. Depending on the type of structure used, securitization
        may also lower borrowing costs, release additional capital for expansion or
        reinvestment purposes, and improve asset/liability and credit risk
        management.

         For Investors

        Securitized assets offor a combination of attractive yields (compared with
        other instruments of similar quality), increasing secondary market liquidity,
        and generally more protection by way of collateral overages and/or
        guarantees by entities with high and stable credit ratings. They also offer a
        measure of flexibility because their payment streams can be structured to
        meet investors' particular requirements. Most important, structural credit
        enhancements and diversified asset pools free investors of the need to obtain
        a detailed understanding of the undertying loans. This has been the single
        largest factor in the growth of the structured finance market.

        For Borrowers

        Borrowers benefit from the increasing availability of credit on terms that
        lenders may not haw1 provided had they kept the loans on their balance



Asset Securitization                             4                    Comptroller's Handbook
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       sheets. For example, biecause a mari<et exists for mortgage-backed securities,
       lenders can now extend fixed rate debt, which many consumers prefer over
       variable rate debt, without overexposing themselves to interest rate risk.
       Credit card lenders can originate very large loan pools for a diverse customer
       base at lower rates than if they had to fund the loans on their balance sheet.
       Nationwide competition among credit originators, coupled with strong
       investor appetite for tho securities, has significantly expanded both the
       availability of credit and the pool of cardholders over the past decade.




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Asset Securitization                                  Securitization Process

        Before evaluating how ::i bank manages the risks of securitization, an
        examiner should have a fundamental understanding of asset-backed securities
        and how they are structured. This section characterizes asset-backed
        securities, briefly discusses the roles of the major parties, and describes the
        mechanics of their cash flow, or how funds are distributed.

Basic Structures of Asse1t·Backed Securities

        A security's structure is often dictated by the kind of collateral supporting it.
        Installment loans dictate a quite different structure from revolving lines of
        credit. Installment loans, such as those made for the purchase of
        automobiles, trucks, recreational vehicles, and boats, have defined
        amortization schedules and fixed final maturity dates. Revolving loans, such
        as those extended to credit card holders and some home equity borrowers,
        have no specific amor1ization schedule or final maturity date. Revolving
        loans can be extended and repaid repeatedly over time, more or less at the
        discretion of the borrower.

        Installment Contract Asset.Sacked Securities

        Typical installment contract asset-backed securities, which bear a close
        structural resemblance to mortgage pass-through securities, provide investors
        with an undivided interest in a specific pool of assets owned by a trust. The
        trust is established by pooling installment loan contracts on automobiles,
        boats, or other assets purchased from a loan originator, often a bank.

        The repayment tenns for most installment contract asset-backed securities call
        for investors to receivi~ a pro rata portion of all of the interest and principal
        received by the trust each month. Investors receive monthly interest on the
        outstanding balance of their certificates, including a full month's interest on
        any prepayments. The amount of principal included in each payment
        depends on the amor1.ization and prepayment rate of the underlying
        collateral. Faster prepayments shorten the average life of the issue.




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       Revolving Asset Transactions

       The typically short lives. of receivables associated with revolving loan
       products (credit cards, l'lome equity lines, etc.) require issuers to modify the
       structures used to secu:ritize the assets. For example, a static portfolio of
       credit card receivables typically has a life of between five months and ten
       months. Because such a life is far too short for efficient security issuance,
       securities backed by revolving loans are structured in a manner to facilitate
       management of the cash flows. Rather than distributing principal and interest
       to investors as received, the securities distribute cash flow in stages - a
       revolving phase followed by an amortization phase. During the revolving
       period, only interest is paid and principal payments are reinvested in
       additional receivables as, for example, customers use their credit cards or
       take additional draws on their home equity lines. At the end of the revolving
       period an amortization phase begins, and principal payments are made to
       investors along with interest payments. Because the principal balances are
       repaid over a short time, the life of the security is largely determined by the
       length of the revolving period.

Parties to the Transaction

       The securitization process redistributes risk by breaking up the traditional role
       of a bank into a num~ir of specialized roles: originator, servicer, credit
       enhancer, underwriter, trustee, and investor. Banks may be involved in
       several of the roles and often specialize in a particular role or roles to take
       advantage of expertise or economies of scale. The types and levels of risk to
       which a particular bank is exposed will depend on the organization's role in
       the securitization proetiss.

       With sufficient controls and the necessary infrastructure in place,
       securitization offers several advantages over the traditional bank lending
       model. These benefits, which may increase the soundness and efficiency of
       the credit extension process, can include a more efficient origination process,
       better risk diversification, and improved liquidity. A look at the roles played
       by the primary participants in the securitization process will help to illustrate
       the benefits.




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        Exhibit 1: Parties Involved In Sbucturing Asset-&lcked Securilies




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                                                    Originator I Senlcn


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                                                           Spclol
                       Ratln1 Aaency     >---            llurgoM                  -   Cl'l!llllllt Enban~er
                                                       Eallty/Tnu&ee

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                                                        U aderwrfter




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                                                               I



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        Bo"ower. The borrowi3r is responsible for payment on the underlying loans
        and therefore the ultims1te performance of the asset-backed security. Because
        borrowers often do not realize that their loans have been sold, the originating
        bank is often able to maintain the customer relationship.

        From a credit risk perspective, securitization has made popular the practice of
        grouping borrowers by letter or categories. At the top of the rating scale, 'A'-
        quality borrowers have relatively pristine credit histories. At the bottom, 'D'-
        quality borrowers usually have severely blemished credit histories. The
        categories are by no means rigid; in fact, credit evaluation problems exist
        because one originato1~s 'A' borrower may be another's 'A-' or 'B' borrower.
        Nevertheless, the terms 'A' paper and 'B/C' paper are becoming more and
        more popular.

        Exhibit 2 is an examplo of generic borrower descriptions used by Duff and
        Phelps Credit Rating Corporation in rating mortgage borrowers. The
        borrowers' characteristics in the exhibit are generalizations of each category's
        standards and tluctuat1~ over time; however, the table does provide an
        illustration of general standards in use today. For example, an 'A' quality



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 Sent VIA Fax

 Dated: January I, 2016

 RE: Follow-up to my response dated December 30, 2015

 Dear Officials:

 One last thing: Attached herewith is the notice of the 8.S billion that satisfied the losses in the purported
 trust; purportedly, [N]o money is due. Also attached is Exhibit "A" from the settlement and the Shellpoint
 transfers. That settlement is so outrageous it makes you want to puke. However, it is what it is. The
 purported note owners have been satisfied for CHL 2004-29. Therefore, they have suffered no injury. It
 would seem that you purportedly Sl:rvice that trust and the 126 loans still in there, which have all been
 satisfied by the undisclosed third party C<H>bligators to the debt that were intentionally concealed in the
 original mortgage contracts for all r.hose loans. Fraud in the factum and execution of every mortgage
 written since the enactment of the Gramm Act of 1999, becoming effective in 2000, which effectively
 unleashed a monster on our citizens.

The whole settlement was a sham. I tried to file as an intervenor but the court would not allow it. No one
truly represented the investors, not Real People, but corporations, (only sophisticated investors could buy
the toxic paper), and all the violati·ons related to the transfer of the assets were swept under the rug.



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Certainly, no one represent the homeowners across this nation: nothing hut a house of cards, built by
slight of hand or pen.

You cannot have it both ways, if no money is due, then there is nothing to enforce.

Now, when you read the notice, principal forgiveness is included, clearly demonstrating that is and was
an option for the master and sub-servicer. What happened to mine? However, you cannot forgive the debt
because it has been discharged and extinguished as a matter oflaw. Legally there is nothing to forgive.

The most outrageous statement in that Notice is that "LPS" was engaged to perform the True Up proposal
analysis. Probably [The] most corrupted organization in the financial industry along with Core Logic.
You people do what you want with impunity. There are no real checks and balances for you are there?

The mere fact that I exist and my matter has not been resolved makes the attached notice a blatant lie and
you are deceiving the investor.

Therefore, unless this matter is resolved forthwith in will notify the investors each and every one of them,
individually, of(in detail), the falsehood of the attached notice, inter alia.

BOA tried to resolve this by offering me the $119,000.00 I put down when I purchased our family home
and the $128,000.00 I paid in interest on the bogus loan, and said the $160,000.00 I spent renovating the
house after purchase was off the tabk I told them to go fly a kite. Your ilk's skullduggery cost me
millions. l want you to foiward to mi: the adjustment amount of money for the affected trust CHL 2004-
29 pursuant to the attached notice.

Accordingly, because I still exist, thi: affected trust, 2004-29, is not is not in the position it should be in,
as sated in the attached notice.

Resolve this matter.



Yours




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     ":C>
     p
      BNY MELLON

 nus NOTICE CONTAINS IMPORTANT INFORMATION FOR THE HOLDERS OF
 CERTlFICATES OR NOTES ("HOLDERS") ISSUED BY THE FOUR HUNDRED AND
 FORTY (440) COUNTRYWID•E MORTGAGE-BACKED SECURITIZATION TRUSTS
 LISTED IN EXHIBIT A miRETO (THE "AFFECTED TRUSTS") AND OTHER
 PERSONS POTENTIALLY INTERESTED IN THE AFFECTED TRUSTS.

 NOTICE CONCERNING THE PAYMENT BY BANK OF AMERICA, N.A., AS
 MASTER SERVICER, OF ADJUSTMENT AMOUNTS TO THE AFFECTED TRUSTS
 IN CONNECTION WITH THE IMPLEMENTATION OF SUBPARAGRAPH S(e) OF
 THE PROPOSED SETTLEMENT AGREEMENT, DATED JUNE 28, 2011, BETWEEN
 THE BANK OF NEW YORK MELLON, AS TRUSTEE OR INDENTURE TRUSTEE,
 ON THE ONE HAND, AND EIANK OF AMERICA CORPORATION, COUNTRYWIDE
 HOME LOANS, INC., COUNTRYWIDE FINANCIAL CORPORATION, AND BANK
 OF AMERICA, N.A. (AS SUCCESSOR BY MERGER TO BAC HOME LOANS
 SERVICING, LP) ON THE OTHER (fHE "SETTLEMENT AGREEMENT").

                Dated: April 25, 2014

 This notice (the "Notice") is given by The Bank of New York Mellon ("Trustee"), as trustee or
 indenture trustee under the Pooling and Servicing Agreements and Indentures and related Sales
 and Servicing Agreements (collectively, the "Governing Agreements") governing the Affected
 Trusts. The purpose of this Notice is to provide further information regarding the additional
 principal collections that were paid to Holders of the Affected Trusts on the April 25, 2014
 payment date in connection with adjustment amounts that Bank of America, N.A., in its capacity
 as Master Servicer for the Affected Trusts (the "Master Servicer''), has paid to the Affected
 Trusts.

 The Master Servicer reported to the Trustee that during the period from July I , 2011 through
 February 7, 2013, the Master Smvicer completed ID, 786 principal reduction modifications using
 valuation tools different from those prescribed by Subparagraph 5( e) of the Settlement
 Agreement. As a result, cerlain of the aforementioned modifications resulted in principal
 forgiveness that was greater than contemplated by Subparagraph S(e) of the Settlement
 Agreement. The Master Servicer proposed to correct the foregoing by putting each Affected
 Trust in the same position that such Affected Trust would have been in had the Master Servicer
 completed the aforementioned principal reduction modifications using the valuation tool
 prescribed by Subparagraph S(e) of the Settlement Agreement, i.e., where pennissible 1, a third
 party broker price opinion thal excludes REO and/or short sale comparative sales. The Master
 Servicer proposed to do so by obtaining broker price opinions excluding REO and/or short sale
 comparative sales as of the date of the original valuation in order to detennine the appropriate
 adjustment amount (the '7ru1!-up Proposal"). The Trustee engaged a servicing expert that
 evaluated the True-up Proposa: and found it reasonable. To implement the True-up Proposal, the
 Master Servicer engaged Lender Processing Servicer ("LPS") to perfonn the necessary analysis.

 1
     Broker price opinions are not allo1.i'led as a valuation tool for loan modifications In twenty-four jurisdictions..


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  ":'<>
  £;>
   BNY MELLON

 In connection with the foregoing, the Master Servicer paid adjustment amounts to the Affected
 Trusts which equal, in the aggregate, $111,393,300. For the a<ljustment amount that was paid by
 the Master Servicer to any particular Affected Trust, Holders should review the April 2014
 monthly report for such Affected Trust.

 The Trustee neither makes any recommendation generally nor otherwise gives any investment
 advice herein.




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                                Exhibit A

                          List of Affected Trusts

                         236.   CWHL 2004-16
                         237.   CWHL 2004-19
                         238.   CWHL 2004-21
                         239.   CWHL 2004-22
                         240.   CWHL 2004-23
                         241.   CwHL 2004-24
                         242.   CWHL 2004-25

                         2 .    C  L2004-7
                         245.   CWHL 2004-HYB5
                         246.   CWHL 2004-HYB7
                         247.   CWHL 2004-HYB9
                         248.   CWHL 2005-1
                         249.   CWHL2005-10
                         250.   CWHL 2005-11
                         251.   CWHL 2005-12
                         252.   CWHL.2005-14
                         253.   CWHL2005-15
                         254.   CWHL 2005-17
                         255.   CWHL 2005-18
                         256.   CWHL 2005-2
                         257.   CWHL 2005-20
                         258.   CWHL 2005-21
                         259.   CWHL 2005-22
                         260.   CWHL 2005-23
                         261.   CWHL 2005-24
                         262.   CWHL 2005-26
                         263.   CWHL 2005-27
                         264.   CWHL 2005-28
                         265.   CWHL 2005-29
                         266.   CWHL 2005-3
                         267.   CWHL 2005-30
                         268.   CWHL2005-31
                         269.   CWHL 2005-5
                         270.   CWHL 2005-7
                         271.   CWHL 2005-9
                         272.   CWHL 2005-HYlO
                         273.   CWHL2005-HYBl
                         274.   CWHL 2005-HYB2
                         275.   CWHL 2005-HYB3
                         276.   CWHL 2005-HYB5
                         277.   CWHL2005-HYB6
                         278.   CWHL 2005-HYB7
                         279.   CWHL 2005-HYBS
                         280.   CWHL 2005-HYB9
                         281.   CWHL 2005-12
                         282.   CWHL 2005-13


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MONTHLY REPORT                                                                                                 Sept 2015



                                             Shellpoint Servldng Transfers

      CWALT 2004-16CB    CWALT2005-70CB      CWALT 2006-HY13      CWHL2004-3          CWHL 2005-H\'84   CWL 2004-503
      CWALT2004-28CB     CWALT2005-73CB      CWALT2006-J4         CWHL2004-4          CWHL 2005-HVBS    CW( 2004-504

      CWALT2004-29CB     CWALT 2005-75CB     CWALT2006-J8         CWHL2004-7          CWHL 2005-HYBS    CWL 2005-ABl
      CWALT 2004-SCS     CWALT 2005-79CB     C\~ALT   2006-0A14   CWHL2004-8          CWHL2006-19       CWL 2005-A82
      CWALT 2004-J13     CWALT2005-83CB      CWALT2006-0A16       CWHL2004·9          CWHL 2006-20      CWL 2005-A83
      CWALT 2004-J9      CWALT 2005-84       CWALT2006-0C1        CWHL 2004-HYBl      CWHL 2006-21      CWL 2005-A85
      CWALT2005-13CB     CWALT 2005-9CB      CWALT2007-11T1       CWHL 2004-HY82      CWHL2006-3        CWL 2005-BC2

      CWALT2005-16       CWALT 2005-IMl      CWALT2007-1TI        CWHL 2004-HY83      CWHL 2006-HYB2    CWL 2005-BCS
      CWALT2005-23CB     CWALT2005-J11       C\YALT 2007-20       CWHL 2004-H\'84     CWHL 2006-HYB4    CWL 2005-!Ml
      CWALT2005-24       CWALT2005-J14       CIYALT 2007-2CB      CWHL 2004-HY85      CWHL 2006-HY85    CWL2005-IM2
      CWALT2005-26CB     CWALT 2005-J4       CIVALT200H           CWHL 2004-HY86      CWHL 2006-0AS     CWL 2005-501
      CWALT2005-30CB     CWALT2006-11CB      CIVALT2007-AU        CWHL 2004-HY87      CWHL2007-11       CWL 2005-502
      CWALT2005-31       CWALT 2006-16CB     CWALT 2007-0A2       CWHL 2004-HYBS      CWHL 2007-15      CWL 2005-503
      CWALT2005-33CB     CWALT 2006-lSCB     C\iVALT 2007-0AB     CWHL 2004-HY89      CWHL 2007-21      CWL 2006-16
      CWALT2005-40CB     CWALT2006-21CB      C\iV~T2007-0A9       CWHL2005-1          CWHL 2007-HY7     CWL2006-9
      CWALT2005-41       CWALT 2006-23CB     C\iVALT 2007-0Hl     CWHL 2005-11        CWL 2004-11       CWL 2006-BC1

      CWALT2005-42CB     CW ALT 2006-25C8    CWALT 2007-0H3       CWHL2005-2          CWL2004-4         CWL 2006-BC2
      CWALT2005-44       CW/IJ..T2006-26CB   C\iVHL 2004--11      CWHL 2005-24        CWL2004-8         CWL 2006-QHl

      CWALT2005-47C8     CWALT2006-39CB      C\iVHL 2004--14      CWHL 2005-26        CWL2004-9         CWL 2006-SOl
      CWALT 2005-49CB    CWALT 2006-40n      C\iVHL 2004-15       CWHL2005-7          CWL 2004-ABl      CWL 2006-504

      CWALT 2005-50CB    CWALT 2006-46       CWHL2004-2           CWHL 2005-tf't'Bl   CWL 2004-AB2      CWL 2006-SPSl
      CWALT 2005-52CB    CWALT 2006-HnO      CV   L2004-22        CWHL 2005-HY82      CWL 2004-8C4      CWL2007-S01
      CW AL T2005-S3T2   CWALT 2006-Hn2 GvHL 2004-29              CWHL 2005-HY83      CWL2004-&S




·Baimlk of America ~
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ROBERT MARLEY
18 LAKEVIEW DR.
LYNNFIELD, MA 01940
781-844-3044
robertmarley19s8@verizon.net

KARAWATI.
JERRY SCHIANOV
BRUCE WILLIAMS
SAUL SANDERS
LEWIS RANIERI ·
SCOTISHAY
YALE STARK
SHEU.POINT MORTGAGE SERVICING
55 BEATI1 PLACE, SUITE no
GRENNVILLE, SC 296o1
1'800-3657107
FAX: 1-866-467-1137

DATED: December 18, 2015

SENTVIA: FAX

RE: Case # 151122-000065


      Dear Officials:

      For a better understanding of one of the issue kindly read the following.

       In a securitized mortgage, subrogation can never be raised because the true
parties to the note are strangers and the PSA prohibits the investor (fractional owners
of the promissory note) from making claims against the borrower.

      It does not matter who pays the debt, or how it extinguishes, if it was satisfied,
the mortgage is gone, and the property vest in the borrower.

       The borrower is the maker of the note. As an iiµtial matter, the undisclosed
investors and third party co-obligators paid the note off when they purportedly
purchased them from the original lender.

       A mortgage of real estate is, as between the parties, a conveyance in fee,
defeasible upon the performance of the conditions therein stated.) Brown v. General
Trading Co., 310 Mass. 263, 266, 37 N.E.2d 987; Krikorian v. Grafton Co-
  Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 50 of 168




operative Bank, 312 Mass. 272, 44 N.E.2d 665; Cooperstein v. Bogas, 317 Mass.
341, 58 N.E.2d 131.

        The payment of the mortgage notes at or before maturity, or the due
performance of any other condition that is expressed in the mortgage, terminates the
interests of the mortgagee without any formal release or discharge and revests the
legal title in the mortgagor.) Fllye v. Berry, 181 Mass. 442, 63 N.E. 1071; Crowley v.
Adams, 226 Mass. 582, 116 N.E. 241; Fuller v. Fuller, 234 Mass. 187, 125 N.E.
499; Depon v. Shawye, 263 :t.fass. 206, 161 N.E. 243; Bailey v. Way, 266 Mass. 437,
165 N.E. 388.

       Upon the fulfillment of the conditions of the mortgage, the mortgagor is
entitled to the note and a discharge of the mortgage in order to remove a cloud upon
the record title to his premises). Saunders v. Dunn, 175 Mass. 164, 55 N.E. 893;
Hart v. Louis S. Levi Co., 303 Mass. 477, 22 N .E.2d 30; Perry v. Oliver, 317 Mass.
538, 59 N.E.2d 192.

      The question in this case is whether the plaintiff has a title on which he can
maintain this suit His title rests on a mortgage given by Lawrence McGinnis to the
Roxbury Brewing Company on September 15, 1898, to secure a note of $1,700
payable one year after that date. On June 15, 1899, the amount due on this note and
mortgage was paid by the son of the mortgagor with the mortgagor's money, and the
mortgage was assigned to one Bresnahan, who paid nothing for it, but held it for the
benefit of the mortgagor. Thfa performance of the condition of the mortgage
before the note became due left the mortgagee with no estate in or title to the
premises, and he could convey nothing by an assignment; but the mortgagor,
without any assignment or dischru:ge. was in of his former estate). FLYE v.
BERRY, 181 Mass. 442 63 N.E. 1071, (May 22, 1902).

      "Whether he knew how the lMJrment was made, and the course of
proceedings by which Bresnahan came to hold it for Lawrence McGinnis, f§.
immaterial It is enough that he knew the mortgagor to be the owner of the note and
mortgage which were held for his benefit". (Emphasis addt4J Ibid'.

       "The mortgage having been satisfied before maturity, it is unnecessary to
consider the doctrine of merger, as distinguished from the doctrine already stated,
which leaves the mortgage a nullity upon performance of the condition according to
the terms of the instrument". Lim!.
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      In some jurisdictions it is held that the mere transfer of the debt without any
assignment or even mention of the mortgage, carries the mortgage with it, so as to
enable the assignee to assert his title in an action at law. 2 Washb. Real Prop. (3d Ed.)
114, 118, and cases there cited. [Tlhis doctrine has not prevailed in Massachusetts,
and the tendency of the decisions here has been that in such case the mortgagee
would hold the legal title in tn1st for the purchaser of the debt, and that the latter
might obtain a conveyance by a bill in equity. Wolcott v. Winchester, 15 Gray, 464;
Young v. Miller, 6 Gray, 152. But a payment of the debt at or before its maturity
divests the mortgagee of his legal estate, and the mortgagor is then in of his old estiite,
without any release. and without any process for redemption. Holman v.
Bailey, 3 Mete. 55. And undei: our system of foreclosing mortgages a payment of the
debt after its maturity has neaiiy or quite the same effect. Nothing being thereafter
due to the mortgagee, [149 Mass. 115] he could obtain no conditional judgment in an
action to foreclose, and therefore cannot maintain a writ of entry to foreclose or enter
for breach of condition. Accordingly, upon such payment the mortgagor can assert
his title at law against a tenant of the mortgagee, and need not resort to equity. Baker
v. G:J.vitt, 128 Mass. 93.) BARNES v. BOARDMAN, 149 Mass. 106, 21 N.E. 308
(May 9, 1889).

       If you can demonstrate the note was satisfied, and I can, there is no mortgage
or a power of sale and nothing to enforce. Title vests in me. Return the purported
note to me stamped paid in full.



Yours truly

Bob Marley
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Attention Kara Watt:

Attached herewith, kindly find a paper I wrote for a few lawyers. Also attached herewith is a
Commitment schedule demonstrating BONY was lendin!!; money for loans it would become the
trustee. I also have the signed revolving credit agreement for said Commitment The paper, I
sent in a previous e-mail, however, I am forwarding to you personally. Among my other
defenses, the paper outlines many of the wrong doings. "the wrong doer

Those who come to the table seeking equitable resolution must come to the table with "Clean
Hands".
I wrote that paper the day after Bassman came down from the corrupt court of appeals.

Not one entity in the Ponzi scheme that is asset-backed securitization comes to the table with
clean hands.
BONY is a self-dealing trustee and the evidence I have makes that perfectly clear. Prima Facie
Evidence.
M.G.L. c. 106 § 3-407 (b) provides that the any responsibility I might have had was discharge for
the fraudulent alteration of the pwJ>Orted Note by way of the forged allonge to the note. In
effect, the alteration was an intentional voluntary act of destruction and mutilation of the Note.
See § 3-604 (a).
Release the lien and return the note.
My favorite tenet of law.
        "The most elementitry conoeptions of justice and public policy require that the
        wrongdoer shall bear the risk of the uncertainty which his own wrong has
        created". Package Closu"~ Corp. v. Sealri,qht Co., 141 F.2d 972, 979. That principle is
        an ancient one, Armoru v. Delamirie, 1 Strange 505, See Bigelow v. RKO Radio Pictures.
        ln!;_., 327 u. s. 251, 265 (1946)

The mess that created the financial crisis is a manmade event and all that has transpired lays at
the feet of the financial industry and the corrupt people that run said industry. A single Ponzi
scheme equitably divested my coun.try and the globe for that matter. You and your ilk will do me
no more harm: I had a duty to mitigate harm to myself when I discovered the scheme, and in
2010, that is exactly what I did          ·

Yours
Bob Marley
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ANNEX l

Commitment Schedu!t

                                                                                                    Commim-t

Contlnulns lenders

JPMorgan Chase Bank. N.A. ·                                                                         $260,000,000.00

B.ai:1~ . ~f ~ll]~!i~,   N.A.                                                                       $240,000,1))().00

ABN Amro Bank N.V.                                                                                  $200,000,000.00

Deutsdle Bank AG New Yori< Branch                                                                   $140,000,000.00

Ctltorp USA, Inc.                                                                                   $132,000,000.00

Barclays Bank PLC                                                                                   $120,000,000.00

fh!~~~-"-~(Ni~E~                                                                                    ~i~~;@~~~go
!Nachovla Bank, National Assodatlon                                                                 $100,000,000.00

BNP Paribas                                                                                         $80,000,000.00

\'!organ Stanley                                                                                    $80,000.000.00

3oldman Sachs                                                                                       $80,000,000.00

iociete Generale, New York Branch                                                                   $80,000,000.00

loyal Bank of Canada                                                                                $70,000,000.00

:Slyon New Yortc. Branch                                                                            $66,000,000.00

iSBC Bank USA                                                                                       $60,000,000.00

Jresdner Bank AG, New Yori< Branch                                                                  $40,000,000.00

CeyBank National Association                                                                        $40,000,000.00

.ehman BrotheB Bank, FSS                                                                            $40,000,000.00

.lie Royal Bank of Scotland PLC                                                                     $40,000,000.00
                       Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 54 of 168




Norddeuuche Landesbank Glnuentrale New York and/or cayman Islands Branch                        $22,000,000.00

Union Bank of Olifomla, NA                                                                      $40,000.000.00

WesllJI Al;, NeW York Branch                                                                    $20,000,000.00



Uo\ldS Bank                                                                                     $100.000.000.00

UBS                                                                                             SB0,000,000.00

ING Bank N.V.                                                                                   $80,000,000.00

TOTAl                                                                                           $2.340.000,000..111



~NEX2


>wlnRffne Commitment 5d1edute
                                                                                           Swtngllne Commltmen1

!!'Morgan 013Se Bank, NA                                                                   s   200.000.000.1111

                                                                                           s t49:J&ii,l!~t\IQ
lllN Arnn> Bank N.V.                                                                       s   200,0CIO,OCIO.OO

leutsche Bank AG New Yort Branch                                                           s   140,0CIO,tol.OO

Jticorp USA, Inc.                                                                          s   132,000,000.00

lartlays Bank PLC                                                                          s   120,000,000.00

                                                                                           s   ~1Q.~fm,9Q

iVachovia Bank, Natlonal Assodatfon                                                        $ 100,000,000.00

IHPl'arlbas                                                                                $ 80,000,000.00
Aorgan Stanley                                                                             $   80,0CIO,OCIO.OO

Odete Generale, New Yort Branch                                                            s   so.000.000.00

:oval Bank of Qnlada                                                                       s   70.000,000.00
                       Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 55 of 168




KeyBank National Association                                                                   s   40,000.000.00

The Royal Bank of Scotland PLC                                                                 s   40.000.000.00

lOTAI.                                                                                         $   1,712,000.000.00




                                              --------------- -           --- ---- -   -   .
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                                       SECURITIZATIOJ\

                                    THE TRUST AND TRUSTEE
                        NEW YORK LAW AND MASSACHUSETTS LAW
                                          By Robert P. Marley
                     I do not write what I Know. I write to find out what I know


                                           INTRODUCTION

        Can a Trustee who fails to perfonn its duties to acquire the trust assets (note and
mortgage) in the time proscribed under the trust instruments somehow ratify that failure when .
there exists a written, purported executed trust instrument. created under the Laws of New York?
The answer is NO. Where a trust is expressed in the instrument creating the estate, all acts of
trustees in contravention of the trust and not authorized by statute is void, and the only remedy at
law is for the Beneficiaries' to file suit for their loss.

        The Illinois Appeals Court in Bassman committed an error oflaw when it held that the
actions of the Trustee were voidable and not void. BANK OF AMERICA NAT. v. SASSMAN
FBT, UC, 981 N.E.2d I, 366 Ill. Dec. 936 (App. Ct. 2012) Each case cited in the opinion are
distinguishable from that matter and the matter of the failure to assign the note and mortgage and
the delivery thereof and this court made an egregious error.

        Notwithstanding, where all the intermediary parties to the trust instrument failed to
transfer, assign, set over, convey and deliver the assets to each other and to the depositor, and
then to the trust, this failure destroys the chain of title. Basic law dictates that no purchaser after
the break in the chain.oftitle has any rights whatsoever.

        Indeed, the Trusts funded, certificates were created and sold on the securities market yet,
were backed by nothing, because no bona fide sale, purchase, assignment or lawful conveyance
executed relative to the note and mortgage and no notice was given the Mortgagor; the note was
not indorsed and negotiated, and the mortgage was not assigned in writing. Physical delivery of
the assets is required; a prehistoric rule set forth in, Wadd v. Hazelton (1893) cited in 107 cases
and never over-ruled.


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                  "Where an intention to give absolutely is evidenced by a writing which fails
                  because of its non-delivery, the court may not give effect to It by construing it
                  to be a declaration of trust and, therefore. valid without delivery.··
                  137 N.Y. 215, 33 N.E. 143. (18931

          There is no cognitive argument based on any tenet of law that could overcome these
 monumental failures related to the Trust assets.

          In researching NY EPTL 7-2.4 back to its conception, RPL §§ 100-105 part of the
 repealed Widows and Orphan's Law, the following carried through without change.

          Sections 100 and 101, L.1909, c. 52, provided for trustee of express trust to have
          whole estate, and set forth qualification for same, respectively. See EPTL 7-2.1.

          Section 105, L.1909, c. 52; amended L.1918, c. 403; L.1930, c. 808; L.1937, c. 141, § l;
          L.1964, c. 681, § 7, provided that acts of trustee In contravention of trust are void,
          not voidable. See EPTL 7-2.4.

                 "Dirty Rotten Filthy Hands" entitles the schemen to no consideration.




 I.      THE TRUSTEE


· A)     The Self-Dealing Trustee
          NY Article 4-A - TRUST INDENTURES AND lNTERESTS THEREIN§ 127.
         Restrictions on Trustees
          1. No trustee shall accept a trust or act as trustee under a trust mortgage affecting any
         property in which he or any of the officers or directors of the trustee shall have, directly
          or indirectly. anv financial interest.

         In Many case you will find that the Trustee was lending money for loans it would
 ultimately become the Trustee. In effect, the concealed lender created a conflict because there is
 a monetary interest vested in the Trustee. Notwithstanding, the trustee has concealed its
 attachment to the assets of the Trust. See Marley Exhibit, 364 Revolving Credit Agreement,


                                                    2
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where trustee Banlc of New York ("BONY") inter alia, was lending billions for loans it would
ultimately become the Trustee.
       The term "self-dealing" applies broadly to any act or transaction in which a trustee has a
personal interest, which conflicts with the. interests of the trust By acting or engaging in
transactions with self-interest as a potential motive, a trustee. commits a breach of fiduciary duty,
and, specifically, a breach of a trustee's duty to act with undivided loyalty toward the trust and its
beneficiaries. See generally, Restatement Second, Trusts § 170.
       The general rule is that one acting in a fiduciary capacity for another has the burden of
proving that a transaction with himself was advantageous for the person for whom he was acting.
Adelson v. Adelson, 60 Mass. App. Ct. 753, 806 N.E.2d 108 (2004), review denied, 442 Mass.
1101, 809 N.E.2d 1060 (2004)
       One of the most fundamental duties of the trustee is to display throughout the
administration of the trust complete loyalty to the interests of the1 trust; trustee must exclude all
selfish interest and also, all consideration of the welfare of third persons. Trustee's duty of
                                                                     a
loyalty to interests of trust grows out of the fact that the trustee is representative and out of the
well-known inability of human beings to serve two masters at once or to act satisfactorily with
conflicting interests Cummings v. Pitman, 239 S.W.3d 77 (Ky. 2007).
       Trustees are generally prohibited from engaging in self-dealing transactions with the trust
and from obtaining personal advantage from their dealings with trust property. Orud v. Groth,
708 N.W.2d 72 (Iowa 2006)
       The "self-dealing" trustee is one who either purchases trust property for himself
individually, In re Estate ofDePlanche, 65 Misc. 2d 501, 503, 318 N.Y.S.2dl94, 196 (Sur. Ct
1971 ), or sells to the trust property he held as an individual, Smith v. Howlett, 29 A.D. 182, 188-
89, 51N.Y.S.910, 914-15 (1893). A trustee must act with the highest good faith toward the
beneficiary and may not obtain any advantage over the beneficiary, Allard v. Johnson, 2006 ND
243, 724 N.W.2d 331(N.D.2006).
        Under trust law, self-dealing occurs when the fiduciary bas a personal Interest In the
subject transaction of such a substandal nature that it might have affected bis judgment In
material connection. Stegemeier v. Magness, 728 A.2d 557 (Del. 1999).

1
 For the nonprofessional: cestui que (set-ee kee) one who possesses equitable rights in property;
beneficiary/certificate holders.
                                                   3
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          If a trustee personally profits from his role as a trustee. that conduct is a breach of
the trustee's duty of loyalty, and the law concludes it is intentional. Zastrow v. Journal
Communications, Inc., 2006 WI 72, 291Wis.2d 426, 718 N.W.2d 51, 38 Employee Benefits
Cas. (BNA) 2843 (2006);
          The mere fact that BONY knew it was lending money for lolins it would ultimately
become the Trustee is Self-Dealing. Further, there was a conflict in the Trustee to grant ·
modifications under HAMP and also in accord with the loss mitigation clause in the trust
instruments.
          Every entity that participated in the securitization Ponzi scheme comes to the table with
"Unclean Hand".


B)        Duty Of Trustee To Take Possession Of Note and Mortgage

          After a trustee has accepted the trust and qualified as required by the law of the state in
question, by filing an oath, giving bond, or taking such other steps as the statute, rule of court, or
the trust instrument requires, it becomes his duty to carefully examine the terms of the trust and
the trust assets in order to determin.e exactly what property forms the subject-matter of the trust,
who are the beneficiaries and what are the trustee's duties with respect to the trust property and
the beneficiaries. By the very definition of a trust, the trustee must have some property interest in
the things designated as the trust res, and in nearly all cases this interest is an absolute interest in
personalty or a fee interest in realty, and is a present estate or interest entitling the trustee to
immediate possession of realty or personalty. The duties of the trustee almost universally require
him to take into his possession tangible realty or personalty, and to reduce choses in action to
possession. This duty of obtaining physical dominion over ·the trust estate and the documents
representing it is a primary obligation of the trustee toward the beneficiary. Since it comes first
in the chronology of trust administration, it may well be treated first in setting forth various
specific duties of the trustee.
          The plaintiff may establish a breach of duty by showing that the defendant failed to
adhere to the applicable standard of care in taking possession of the trust assets. E.g., In re
Succession of Dunham, 399 So2d 221 (La App l98l);Parker v Pine, 617 SW2d 536 (Mo App
1981 ).


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       The defendant as trustee is under the general duty to take reasonable steps to take and
keep control of the trust assets, whether or not that duty is expressly stated in the trust
instrument. See, e.g., In re Estate of Crowder, 75 Ill2d 197, 25 Ill Dec 789. 387 NE2d 665
( 1979) [under tenns of instrument, trustee was directed to take possession of all trust property,
real and personal]; In re Will ofHartzell, 43 Ill App2d 118, 192 NE2d 697 (1963) [trustee's first
duty is to secure possession of trust property]; Since it is generally acknowledged that the
exclusive right and duty of the trustee to collect or reduce to possession the property and assets
of the trust must be exercised within a reasonable time [see, e.g., Central States, Southeast &
Southwest Areas Pension Fund v Central Transport Inc, 472 US 559, 105 SCI 2833, 86 LE2d
447 (1985) reh den 473 US 926 (1985)], it may be sufficient to establish a breach of duty to
show that there was an unnecessary or unreasonable delay in taking possession of the property,
resulting in a loss or damage to the trust. See, e.g., In re Will ofHartzell, 43 Ill App 2d 118, 192
NE2d 697 (1963) [trustee is liable for losses resulting from unnecessary or unreasonable delay in
obtaining possession of trust property].
        The trustee is under a duty to use reasonable care and skill to preserve and protect the
trust property. See, e.g., Central States, Southeast & Southwest Areas Pension Fund v Central
Transport Inc, 472 US 559, 105 SCt 2833, 86 LEd2d 447 (1985) reh den 473 US 926 (1985)
Shriners Hospitals for Crippled Children v Gardiner, 152 Ariz 519, 733 P2d 1102 (App 1986)
vac, en bane 152 Ariz 527, 733 P2d 1110 (1987); Ahuna v Department of Hawai.ian Home
Lands, 64 Hawaii 327, 640 P2d 1161 (1982); McCormick v McCormick, 118 Ill App3d 455, 74
Ill Dec 73, 455 NE2d 103 (1983) later app 180 Ill App3d 184, 129 Ill Dec 579, 536 NE2d 419
(1988); In re Succession ofDunham, 399 So2d 221 (La App 1981); Ray County v Heath, 636
SW2d 413 (Mo App 1982); In re Estate of Mead, 90 Misc2d 144, 394 NYS2d l23 (1977); North
Dakota Public Service Commission v Valley Farmers Bean Association, 365 NW2d 528 (ND
1985); First National Bankv Gregory, 13 Ohio App3d 161, 13 Ohio BR 195, 468 NE2d 739
(1983); In re Estate ofLychos, 323 Pa Super 74, 470 A2d 136 (1983).
       The proper investment of trust assets requires the exercise of sound judgment and
discretion and acts requiring the exercise of judgment and discretion cannot be delegated by
trustees to other persons. Matter of Dickson, 38 Misc. 2d 678, 237 N.Y.S.2d 572 (NY:
Surrogate's Court, New York 1963) citing (Cooperv. Illinois Central R.R. Co., 38 App. Div.
22; Allison & Ver Valen Co. v. McNee, 170 Misc. 144; Matter of Palmer, 132 N. Y. S. 2d 311).


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         A trustee breached fiduciary duty by buying a mortgage as a trust in"Vestment wben
taxes on the mortgaged property were delinquent. In considering whether to buy a mortgage
as a trust investment, the trustee should ascertain the status of the mortgagor. Buying a mortgage
when the mortgagor is dead and his interest has passed to many heirs, or when the mortgagor is
in bad financial condition, is imprudent. Finley v. Exchange Trust Co.; 1938 OK 178, 183 Okla.
167, 80 P.2d 296, 117 A.L.R. 162 (1938).
         A fiduciary did not act with reasonable prudence when he bought a mortgage
participation in a mortgage under which defaults bad already occurred, ln re Laing's
Guardianship, 167 Misc. 10, 3 N.Y.S.2d 409 (Sur. Ct. 1938).


II.      Trustee's duty, generally; nature of relationship-Duty to both obligor and oblige

         The nature and extent of duties owed by a trustee under a mortgage or similar trust
instrument to the holders of bonds or other obligations secured thereby may be affected by .the
fact that he also owes a duty to the mortgagor, or a subsequent purchaser or lienor.

         In applying the rule that a trustee under a trust instrument owes the duty of faithfully
caring for the interests of the holders of obligations secured by such instrument, the courts
frequently recognized that such duty extends also in favor of the obligor. Chamberlain v James,
(1936) 294 Mass I, 200 NE 361 (a loan sustains a fiduciary relation to the debtor, as well as
to the creditor, and he ls bound to act impartially toward each). Speers Sand & Clay Works,
Inc. v American Trust Co. (1927, CA4 Md) 20 F2d 333, later app 37 F2d 572. Harvey v
Guaranty Trust Co. (1929) 134 Misc 417, 236 NYS 37, affd 229 App Div 774, 242 NYS 905,
affd 256 NY 526, 177 NE 125 (stating that a trustee under a corporate indenture may for
some purposes be regarded as the agent of the mortgagor, but for other purposes lt ls the
representative of the bondholden for whose benefit it bolds the mortgaged security).
         As the trustees held a mortgage, not to secure a debt due to themselves, but as trustees for
the holders of the bonds of the mortgagor, their duties were regulated by the general rules oflaw
affecting all trustees, and whenever they failed to perform them, either through willfulness,
indifference, or error of judgment, the bondholders who were aggrieved by their conduct might
obtain relief in equity. First Nat. F. Ins. Co. v Salisbury, 130 Mass 303 (1881)
         The trustee in a trust deed given as security in connection with a home mortgage loan
owes a fiduciary duty to the signatories of the trust deed, i.e., the settlor or debtor and the

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beneficiary or creditor. Lucas v: Fairbanb Capital Corp .• 217 W. Va. 479. 618 S.E.2d488
(2005)
         Trustees are considered as the agents of both partie~ebtor and creditor-and actions in
performing the duties of their trust should be conducted with the strictest impartiality and
integrity. They are entrusted with the Important function of transferring one man's
property to another, and therefore both reason and Justice will exact of them the most
scrupulous fidelity. Goode v Comfort, 39 Mo 313 (1866); West v Axtell 322 Mo 401, 17 SW2d
328 (1929); Ewing v Mdntosh, 359 Mo 625, 222 SW2d 738 (1949); Edwards v SmiJh, Mo 322
SW2d 770 (1959)
         A trustee under a trust deed Is a representative of the mortgagor as well as of the
mortgagee or bondholders, and he must act fairiy and impartially toward both parties to the
instrument and not exclusively in the interest of either. Trustees are required to exercise the care
and prudence which, ordinarily, men would exercise under like circumstances concerning their
own affairs. Chicago Title & Trust Co. v Chief Wash. Co., 368 ID 146, 13 NE2d 153 (1938)
         A trustee under a deed of trust owes fiduciary duties both to the noteholder and to
the borrower. Murray v. Wells Fargo Home Mortg., 953 A.2d 308 (D.C. 2008).


A)       Banks Will Alleged The Language of the PSA Alone Is Sufficient to Effect a Valld
         Transfer of the Mortgages to the Trusts without Timely Delivery of Indoned Notes;
         It Is Not
         Banks usually argue that a general provision in section 2.0l(a) of the PSAs purporting to
transfer all interest in the mortgages to the Trus~ is sufficient, by itself, to transfer the loans to
the Trusts. This argument not only disregards other material provisions of the PSAs, but also
fails as a matter oflaw.
         The notes and mortgages cannot legally be transferred into the trusts merely by the
language in the PSAs. The Court in DeuJsche Bank Nat'/ Trust Co. v. Haque just recently
rejected an RMBS trustee's argument that ''the note was transferred to the trust, pursuant to a
pooling and servicing agreement'' finding that "such agreement does not establish that [the
depositor] assigned the note to [the trustee]." 36 Misc. 3d l203(A), at *2 (N.Y. Sup. Ct. Queens
Co. 2012) (quotations omitted). Even the PSAs themselves do not rest on the general provision




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purporting to transfer "all interest" in the loans to the Trustees, as many banks argue2 • Rather, the
PSAs require endorsement and delivery of the notes to the Trustee:

               In connection with the transfer and assignment of each Mortgage
               Loan, the Depositor has delivered or caused to be delivered to the
               Trustee for the benefit of the Certificateholders the following
               documents or instruments with respect to each Mortgage Loan so
               assigned: (i) the original Mortgage Note bearing all intervening
               endorsements showing a complete chain of endorsement from the
               originator to the last endorsee endorsed "Pay to the order of
               -----~without recourse" and signed (which may be by
               facsimile signature) in the name of the last endorsee by an
               authorized officer.
PSA §2.01

       Indeed, the Prospectus Supplements for each of the Securitizations filed with the SEC
similarly represented that the notes would be endorsed and delivered to the Trustees by the
depositor.
       The PSAs require delivery of endorsed notes because promissory notes evidencing
mortgage loans are generally considered negotiable instruments subject to Article 3 of the
Unifonn Commercial Code ("UCC") 3• Article 3 requires, at a minimum, delivery of the note to
the transferee in order for the transfer to be valid. ("As noted by the Unifonn Commercial Code
provisions that have been adopted in all SO states, a negotiable instrument may be transferred by


2
 Even if an external writing could validly transfer without indorsement or delivery, which
the vast weight of authority holds it cannot, such a writing would at a minimum have to
sufficiently describe the particular mortgages and notes being transferred. The PSAs
contain absolutely no description of the mortgages and notes that they purport to transfer. U.S.
Bank, N.A. v. Ibanez, 458 Mass. 631, 651-52 (Mass. 2011) (holding that a PSA does not transfer
ownership of notes and mortgages to a RMBS trust if the PSA is not signed and/or does not
specifically refer to the underlying notes and mortgages that are purportedly transferred).
3
 Banks do not dispute that the notes are negotiable instruments, and in fuct, they are.
Slutsky v. Blooming Grove Inn, Inc., 542 N .Y .S.2d 721, 723 (2d Dep't 1989) ("The note secured
by the mortgage is a negotiable instrument ...."); U.S. Bank, N.A. v. Bennett, No. 11 MA 40,
2012WL 2254189 (Ohio Ct. App. 7th Dist. June 12, 2012) ("[A] note secured by a mortgage is
widely considered to be a negotiable instrument.") (citation omitted); Leyva v. Nat'l Default
Servicing Corp., 255 P .3d 1275, 1279 (Nev. 2011) (footnote omitted) ("The proper method of
transferring the right to payment under a mortgage note is governed by Article 3 of the Unifonn
Commercial Code-Negotiable Instruments, because a mortgage note is a negotiable
instrument.").
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delivery of the instrument [the note) and a manifestation of an intent to transfer the right to
enforce the instrument."); 5-Star Mgmt., Inc. v. Rogers, 940 F. Supp. 512, 522 (E.D.N.Y. 1996)
(holding that unless the note is lost or non-negotiable, delivery of the note must generally
accompany a mortgage and note assignment.) ln most instances, endorsement is also required.
See, e.g., Nat'/ Bank ofN. Am. v. F1ushing Nat. Bank, 421 N.Y.S.2d 65, 66 (1st Dep't 1979)
("[w)ithout an indorsement, a transferee cannot be a holder."); Provident Bank v. Cmty. Home
Mortg. Corp., 498 F. Supp. 2d 558, 575 (E.D.N.Y. 2007) ("It is the indorsement on the
instrument itself, not the right to indorsement, that vests the transferee with the status of holder.")
(citing NYUCC 3-202)); Wells Fargo Bank, N.A. v. Ford, 418 NJ. Super. 592, 593 (App. Div.
2011) (finding that plaintiff did not demonstrate it could enforce the note because the note was
not indorsed properly). These requirements are essential to a valid transfer of the mortgage and
note. Without them the transfer is void, not only under the UCC, but also under New York trust
law, which governs the Trusts under the express terms of the PSAs. As one court explained:
               Defendants' failure to strictly comply with the terms of the PSA
               means that the loan at issue was never properly transferred to the
               trust. Any transfer of mortgage loans, such as Plaintiff's, was
               mandated to comply with New York Trust law and the tenns and
               conditions ofthe PSA governing conveyance of mortgage loans
               into the trust. This the Defendants did not do ....Therefore, the
               purported, transfers, endorsements or assignments are void ab
               initio or never were properly transferred into the Trust. The only
               Defendant with standing to proceed [with the foreclosure] is ... the
               originator and original lender of the Note and Mortgage.

       Hendricks v. U.S. BankN.A., No. 10-849-CH, slip op. at 6-7 (Mich. Trial Ct. Washtenaw
Co. June 6, 2011) (emphasis added, internal citation omitted) Horace v. LaSalle Bank, N.A.,
No.57-CV-2008-000362.00, slip op. (Cir. Ct. Russel County Ala. Mar. 25, 2011) (holding that
neither a mortgage nor a note is transferred to an RMBS trust if the method of transfer differs
from the PSA's terms, and permanently enjoining the truSt from foreclosing) A Congressional
Oversight Panel, after receiving testimony and evidence from many participants in the RMBS
industry, further summarized the implications for investors:
               New York trust law requires strict compliance with the trust
               documents; any transaction by the trust that is in contravention of
               the trust docwnents is void, meaning that the transfer cannot
               actually take place as a matter oflaw. Therefore, if the transfer
               for [sic) the notes and mortgages did not comply with the PSA,


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                the transfer would be void, and the assets would not have been
                transferred to the trust.

                                               ••*
                Failure to transfer mortgages and notes properly to the trust can
                affect the holdings of the trust. If transfers were not done correctly
                in the first place and cannot be corrected, there is a profound
                implication for mortgage securitizations: it would mean that the
               Improperly transferred loans are not trust assets and MBS are
               In fact not backed by some or all of the mortgages that are
               supposed to be backing them.

        Congressional Oversight Panel, November Oversight Report: Examining the
Consequences of Mortgage Irregularities for Financial Stability and Foreclosure at 19, 26
(November 16, 2010)(emphasis added).
        Obviously, the delivery or non-delivery of thousands of notes to the Trust are acts which
are entirely external to the PSA, and cannot be established by reference to the PSA itself. Nor
can the issue of note endorsement be established solely by reference to the PSA.
        There are other problems for the Trustee as well; most loans were in default when the
purported assignments took place.
        A fiduciary did not act with reasonable prudence when be bought a mortgage
participation in a mortgage under which defaults had already occurred, and the mortgagor had
died leaving no property aside from his equity of redemption. In re Laing's Guardianship, 167
Misc. 10, 3 N.Y.S.2d 409 (Sur. Ct. 1938).


B)      Banks Continuously Mischaracterlze and Largely Ignore Homeowners'
        Documentacy Evidence that Demonstrates Defendants' Failui:e to Timely Transfer
        the Notes and Mortgages

        Banks continue to make unsupported assertion that endorsed notes were in fact timely
delivered to the Trustee is directly contradicted by the signed and notarized documents attached
as exhibits to the Amended Complaint showing that in fact the mortgage and note was
transferred to the Trust for the first time years after the PSAs was executed, if at all.
For example, most Assignment demonstrates clearly that the mortgage was not assigned to the
trust until years after the Securitization closed. The document states that ''the undersigned, being


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the present owner of such secured interest ... hereby transfers, without recourse, to ....
Mortgage Pass-Through Certificates, Series ..... " the mortgage and note. "The undersigned" is
"Mortgage Electronic Registration System, Inc. as nominee for .... Blank so and so was the
originator of the loan, and the document was executed on                   many years after the
closing date of the Securitization, when the Issuer represented that it had been assigned to the
Trust. Assignments that Plaintiffs have found demonstrate that mortgages and notes were not
timely transferred.

       Who issues the satisfaction of mortgage? It is axiomatic that only the holder of a
promissory note may declare the debt satisfied. See Lambert v. Barker, 232 Va. 21, 25 (Va.I 986)
("[P]ayrnent in satisfaction of the instrument must be made to a party in possession in order to
discharge the payor's liability.") Yet numerous examples of loans demonstrate they were
discharged by or on behalf of the original lender years after the loans were supposed to have
been transferred to the Trusts.
       This is strong evidence that these loans were never transferred to the Trusts and that
contrary to the scums representations; the Certificates were not mortgage-backed. Faced with the
overwhelming evidence submitted by Homeowners, Banks ask the Courts simply to disregard
these documents as "proforma." Banks dismissal of the assignments and satisfactions as pro
forma reflects the cavalier attitude towards real property transfer requirements that courts have
frequently rejected. See, e.g., Adams v. Madison Realty & Dev., Inc., 853 F.2d 163, 169 (3d Cir.
I 988) ("Financial institutions, noted for insisting on their customers' compliance with numerous
ritualistic formalities, are not sympathetic petitioners in urging relaxation of an elementary
business practice. It is a tenet of commercial law that holdership and the potential for becoming
holders in due course should only be accorded to transferees that observe the historic protocol.")
(quotations omitted).
       In fact, courts regularly interpret such documents according to their plain meaning to
arrive at precisely the same conclusions that we allege here - namely, that the mortgage is
presumed to be assigned as of the execution date of the Assignment where the present tense
language of the Assignment evidences a contemporaneous transfer. For example, in Jn re
Foreclosure Cases, the Court dismissed 14 consolidated foreclosure actions for lack of standing
because


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                none of the Assignments show the named Plaintiff to be the owner of the rights,
                title and interest under the Mortgage at issue as of the date of the Foreclosure
                Complaint. The Assignments, in every instance, express a present intent to
                convey all rights, title and interest in the Mortgage and the accompanying
                Note to the Plaintiff named in the caption of the Foreclosure Complaint upon
                receipt of sufficient consideration on the date the Assignment was signed and
                notarized.

No. 07-Civ-2282, 2007 WL 3232430, at *2 (N.D. Ohio Oct. 31, 2007); see also LaSalle Bank,
N.A. v. Diaz, No. 08 CH 21809, 2009 WL 1935920 (Ill. Cir. Cook Co. June l, 2009) ("The
assignment ls dated June 20, 2008, and it unambiguonsly represents a contemporaneous
assignment to the bank on that date. The unavoidable conclusion based on this record is that
the bank did not become the assignee of the note until three days after it filed this lawsuit.")
(emphasis added).

        Although access to valid promissory notes is very limited, investigations have found un-
endorsed notes supposedly transferred to the Trusts that were attached as exhibits in many
foreclosure related actions; in many case there are more than one note. Most notes found were
not endorsed.

        As courts have lamented, "[t]ypically, the homeowner who finds himself/herself in
financial straits, fails to make the required mortgage payments and faces a foreclosure suit, is not
interested in testing state or federlil jurisdictional requirements, either pro se or through counsel".
In re Foreclosure Cases, 2007 WL 3232430 at *3, n.3 ("[U]nchallenged by underfinanced
opponents, the [financial] institutions worry less about jurisdictional requirements and more
about maximizing returns.").

C)      Banks' Arguments Concerning Recordatlon and the Use ofMERS Have Nothing to
        Do with Our Claims

        In addition to claiming that the documents attached to Our Complaints are pro forma,
Banks make two other attempts to obscure the plain statements in the mortgage documents.
First, Banks always assert that no misrepresentation exists because the PSA (though not the
Offering Documents) disclosed the use ofMERS, and that in fact "MERS held nearly all of these

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mortgages on behalf of the actual beneficial owner of the mortgages -the RMBS Trusts." This
factual assertion, however, is flatly contradicted by the documents themselves.
        In reality, the documents plainly state that MERS was the nominee not of the Trusts, but
of the original lenders. 4As Banlcs always state in their pleadings, "assignments are tracked
electronically by MERS" however, MERS does not actually itself effect assignments. See
Haque, 36Misc. 3d 1203(A), at *2 ("[T]he mortgage does not specifically give ME.RS the right
to assign the underlying note."); In re Vargas, 396 B.R. 511, 517 (Bankr. C.D. Cal. 2008)
("MERS presents no evidence as to who owns the note, or of any authorization to act on behalf
of the present owner."). MERS merely acts as the nominee for whomever the owner or holder of
the note and mortgage is at any given time. Documentary evidence shows that MERS continued
to be the agent of the originators years after the mortgages were supposed to have been assigned
to the Trusts. The role of MERS is therefore entirely irrelevant to whether the mortgages and
notes were in fact transferred to the Trusts.
        Similarly, in Western & Southern Life Ins. v. DLJ Mortgage Capital Inc. ("DU"), the
Court denied defendants' motion to dismiss an RMBS investor's fraud claims based on similar
representations that the certificates were backed by residential mortgages and notes timely
transferred to the trostee. No. Al 105352 (Ohio Ct. of Common Pleas Hamilton Co. Feb. 24,
2012), In DU, defendants made exactly the same argument that Defendants make all the time -
that the "alleged failure to assign the mortgage loans to the trusts or to MERS are meaningless
because the Offering Documents specifically disclosed to Western and Southern that the
depositors, at any point in the future and in their sole discretion, might register the mortgage
loans with MERS as a substitute for the assign-to-trust requirement". In DLJ, the Court rejected
this argument and denied defendants' motion to dismiss. Id., Unpublished Order of May 23,
2012; see also Western & Southern Life Ins. Co'. v. Residential Funding Co. LLC, No. Al 105042,
slip op. at 15 (Ohio Ct. of Common Pleas Hamilton Co. June6, 2012), (denying defendants'
motion to dismiss RMBS investor's fraud claims based on failure to transfer notes and
mortgages); Western & Southern Life Ins. Co. v. Bank ofAmerica, Nos. Al 106524 and



"'See e.g., (Marley Assignment dated July 13, 2011 (6.Syears after the closing date) stating that MERS
"AS NOMINEE FOR ... does hereby grant, sell, assign, transfer and convey" the mortgage and note to
the Trustee);


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Al 105563 (Ohio Ct. of Common Pleas Hamilton Co. Aug. 3,2012), Mot. to Dismiss Hearing Tr.
at82.
         Often you will find many assignments are back dated. Courts routinely find such self- .
serving backdating of the "effective date" to be irrelevant, and instead look at the execution date
of the assignment absent proof of earlier physical delivery. See LaSalle Bank, N.A v. Aheam,87 5
N.Y.S.2d 595, 598 (3d Dep't 2009) ("the execution date is generally controlling and a written
assignment claiming an earlier effective date is deficient unless it is accompanied by proof that
the physical delivery of the note and mortgage was, in fact, previously effectuated"); Credit-
Based Asset Servicing and Securitization. LLC v. Akitoye, 880 N.Y.S.2d 223 (Table)
(N.Y. Sup. Ct. Kings Co. 2009) ("The [mortgage] assignment's language purporting to give it
retroactive effect, absent a prior or contemporary delivery of the note and mortgage is
insufficient to grant it standing.") (quoting Deutsche Bank Trust Co. Americas v. Peabody, 20
Misc.Jd l 108[A] (Sup. Ct. Saratoga Co. 2008)).
         It is axiomatic that failure to transfer right and title to the mortgages and notes prevents
the Trusts from foreclosing on defaulted loans. Clearly, such issues are highly fact-intensive
questions not resolvable on a motion to dismiss. See Pludeman v. Northern Leasing Sys., Inc., IO
N.Y.3d 486, 492 (2008) (holding that plaintiffs need only plead facts sufficient to permit a
"reasonable inference" of the alleged misconduct). The losses to the Trust are not theoretical;
they have occurred and continue to occur. For example, in Wells Fargo Bank, N.A. as Trustee for
Securitized Asset Backed Receivables 2005- FR4 v. Gisonda, No. 11675/2006, slip op. (Sup. Ct.
Nassau Co. March 30, 2007), the Court rejected (for the second time) the Trustee's application
for foreclosure because the mortgage had not been timely assigned to the Trustee, finding that
                Plaintiff [Trustee] failed to establish that it is a party in interest or
                that it had standing to commence this action.... Plaintiff has
                failed to cite any authority entitling Plaintiff to commence this
                action prior to the execution of the assignment


         Indeed, courts all around the country have prevented RMBS trustees from foreclosing
because of the failure to properly transfer the note and mortgage to the trust 5

5
    See, e.g., U.S. Bank, N.A. v. lbane:, 458 Mass. 637 (2011); HSBC Bank USA, N.A. v. Taher,
No. 9320/09,2011 WL 261052532 Misc. 3d 1208(A) (appealed and reversed on other grounds)
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    ID.      Trustee's Duty to Record Mortgage and Trust Instrument

          A trustee's duty to record the mortgage is implied, even though not specifically stated in
the trust instrument. Miles v Vivian CA2 NY 79 F 848 ( 1897). In that case it was held that a
mortgage trustee who certified on the bonds that they were secured by a mortgage executed and
delivered to him was liable to a holder of the bonds for loss resulting from the trustee's failure to
record the mortgage, and from the recording of a subsequent mortgage, which thereby obtained
priority. The court said that among the implied duties of a mortgage trustee one of the most
imperative is to use requisite diligence to protect the security he has taken for the bondholders;
that, being the grantee in the trust deed, this duty of vigilance requires him to exercise the care
which a prudent grantee would deem to be necessary for his own protection; and that in this
behalf he should see to it that the trust deed is duly recorded so that no liens of a subsequent date
will attach and obtain priority over the mortgage lien; also that he is chargeable with any loss
resulting from his neglect to record the trust deed.

          One of the implied duties of a mortgage trustee is to diligently protect the security he has
taken for the noteholders, and his most important obligation is to see to it that the trust deed is
duly recorded so that no liens of a subsequent date will attach and obtain priority over the
mortgage lien. Any provision in the trust deed which exempts the trustee from performing this
important duty is against public policy and therefore void. Benton v Safe Deposit Bank, 134 .Misc
727, 236 NYS 36 (1926), affd 218 App Div 767, 218 NYS 701, in which the court said that the
various articles of the trust agreement in the present case which referred to the procedure to be
followed in the event that noteholders desired the· trustee to institute suit for breach of any of the


(N.Y. Sup. Ct. Kings Co. 2011); Wells Fargo Bank, N.A. v. Ford, 418 NJ. Super. 592, 593
(App. Div. 2011); Beaumont v. Bank ofNew York Mellon, 81 So.3d 553, 554 (Fla. Dist. Ct.
App. 2012); Naranjo v. SBMC Mortgage, No.3: l l-cv-02229-L-WVG, Dkt.#20, p. 6 (S.D. Cal.
July 24, 2012) LaSalle Bank, N.A. v. Dia:, No. 08 CH 21809,2009 WL 1935920 (ill. Cir. Cook
Co. June 1, 2009); PHH Mortg. Corp. v. Kolodziej, 798 N.W.2d 319(Wis. Ct. App. Mar. 10,
2011); Deutsche Bank Nat'l Trust v. Brumbaugh, 270P.3d 151(Okla.2012); lnre Wilhelm,
407 B.R. 392 (Bankr. D. Idaho 2009); U.S. Bank, N.A. v. Wlhler, No. l 1CV7697, 2012
WU396723 (Kan. Dist. Ct. Johnson Co. June 25, 2012); Belliitri v. Ocwen Loan Servicing,
LLC, 284S.W.3d 619, 623-4 (Mo. Ct. App. 2009); In re Boss, 720 S.E.2d 18 (N.C. Ct. App.
2011); Wells FargoB1111k, N.A. v. Lupori, 8 A.3d 919 (Pa. Super. Ct. 2010); U.S. Bank, N.A. v.
Kimball, 27 A.3d 1087 (Vt.2011). The list goes on and on.
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provisions of the trust agreement had no application to a suit brought against the trustee for
negligence in performing duties due by it to the noteholders.

The fact thai a trust mortgage provides that the trustee shall not be liable for any failure to record
the mortgage does not relieve him from liability for failure to record the mortgage, where the
trustee makes a special contract independent of, or in substitution for, the provision of the
mortgage, upon a valuable consideration, whereby it agrees with the purchaser of a bond secured
by such mortgage to record the mortgage. McCauley v Ridgewood Trust Co., 81 NJL 86, 79 A
327 (1911).

        In Green v Title Guarantee & T. Co., 223 App Div 12, 227 NYS 252 (1928), affd 248
NY 627, 162 NE 552, reh den 249 NY 600, 164 NE 599, and 267 NY 589, 196 NE 594, it was
recognized that if a trustee was the only person who could refile a chattel mortgage constituting
part of the trust security it could not excuse itself from doing something which was absolutely
essential to the mortgage lien, by relying on an express provision exempting it from liability, but
held that a bondholder could not hold the trustee liable for its failure to refile, where the
mortgage was void ab initio and no one was injured by the failure to refile.

       And, in Benton v Safe Deposit Bank 255 NY 260, 174 NE 648 (1931), where a trust
indenture provided that it should be no part of the duty of the trustee to record the instrument as a
mortgage or conveyance of real or personal property, and the trustee did not record the
instrument, the court, reversing a judgment in favor of bondholders and against the trustee.

       All the Trust instruments state that the Trustee shall within 30-days, record the Mortgage
in the land records where the land is located.

       Pursuant to M.G.L. c. 203A § l. "Any individual, corporation or association qualified to
act as fiduciary in this state may establish common trust funds for the purpose of furnishing
investments to itself as fiduciary or to itself and others, as co-fiduciaries; and may, as such
fiduciary or co-fiduciary, invest funds which it lawfully holds for investment in interests in such
common trust funds, if such invesbnent is not prohibited by the instrument, judgment, decree or
order creating such fiduciary relationship. Each such common trust fund shall be administered in
accordance with a written declaration of trust which shall have been rued In the registry of
probate in the county in which such individual, corporation or association resides or has his or

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its principal place of business, and such written declaration may provide that premiwns paid on
the purchase of interest bearing securities need not be amortized".

Pursuant to M.G.L. c. 203§ 2: "If a trust concerning land is created or declared by such
instrument, the recording of the instnnnent, or of a certificate conforming to the requirements of
section 35 of chapter 184, in the registrv of deeds or the registration office of the land court,
in either case for the county or district where the land lies, shall be equivalent to actual notice to
every person claiming under a conveyance, attachment or execution thereafter made or levied".

G.L. c. 184 § 35: "Notwithstanding section 25 to the contrary, a certificate sworn to or stated
to be executed under the penalties of perjury, and in either case signed by a person who
from the records of the registry of deeds or of the registrv district of the land court, for the
county or district in which real estate owned by a nontestamentary tmst Hes. appears to be a
trustee thereunder and which certifies as to: (a) the identity of the trustees or the beneficiaries
thereunder; (b) the authority of the trustees to act with respect to real estate owned by the trust;
or (c) the existence or nonexistence of a fact which constitutes a condition precedent to acts by
the trustees or which are in any other manner germane to affairs of the lruSt, shall be binding on
all trustees and the trust estate in favor of a purchaser or other person relying in good faith on the
certificate. The certificate most recently recorded in the registry of deeds for the county or
district in which the real estate lies shall control".

M.G.L. c. 259 § l. provides, No action shall be brought:
       First, To charge an executor or administrator, or an assignee under an insolvent law of the
       commonwealth, upon a special promise to answer damages out of his own estate;
       Second, To charge a person upon a special promise to answer for the debt, default or
       misdoings of another;
       Third, Upon an agreement made upon consideration of marriage;
       Fourth, Upon a contract for the sale oflands, tenements or hereditaments or of any
       interest in or concerning them; or,
       Fifth, Upon an agreement that is not to be performed within one year from the making
       thereof;
Unless the promise. conh'act or agreement upon which such action is brought, or some
memorandum or note thereof, is in writing and signed by the party to be charged therewith
or by some person thereunto by him lawfully authorized.


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 N.        The Express Trust: Investment trusts and real estate investment trusts


           There are varying degrees of Trusts. However, the trusts at issue for our cause are
 Common Law Express Trust created under the laws of New York. However, it is not that simple;
 the common law trust has REMIC implications whereas the schemers have elected to incorporate
 the tax shelter they created to dodge a tax bullet under 26 USC 860D by filing Form 1066 with
 the IRS. See Blacks Law; REMIC's can be organized as corporation, partnerships or Trusts. See
 also, 860A (a).
           See Bogert's Trusts & Trustees § 248: Trusts used primarily for business purposes-
 Investment truSts and real estate investment trusts. Trusts are sometimes used as a medium for
 the marketing of investments. The legal entities, sometimes called "investment trusts," may be
 divided as to legal structure into at least three classes: (l) the corporation which issues its stock
 or debentures invests the proceeds in securities of widely diversified kinds, sets them apart as a
. fund, and sells interests in the fund, where no strict trust is involved at all; (2) the corooration
 which deposits stocks with a trustee and issues certificates of Interest in such stocks, where
 there is a true trust used as part of the Investment arrangement; and (3) the Massachusetts or
 business trust which holds securities in trust and issues certificates of participation representing
 shares that give the owners thereof equitable interests in the deposited securities .
       . The second type is an investment business in which a corporation ("CWMBS, Inc.") and
 a trust company (Bank of New York ("BONY")) as trustee participate, the corporation taking the
 major role and the trustee acting in an auxiliary capacity. The organizing body is an investment
 corporation and the public buys interests in an investment trust created by the investment
 corporation. Id. See Database updated December 2012: Chapter 14. Various Trust Functions
           Beeause of the REMIC election, only qualified Mortgages can become part of the trust
 corpus.
           I)      8600(4Xa) provides; "as of the close of the 3rd month beginning after the startup
           day and at all times thereafter, substantially all of the assets of which consist of qualified
           mortgages and permitted investments". The start-up date is the closing-date set forth in
           the PSA. The Cut-off date is always the I 81 day of each month, the closing-date is usually
           27-29 days after the cut-off date in the month.



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           2)     A qualified mortgage is one that pursuant to 8600 (3)(a)(i) "is transferred to the
           REMlC on the startup day in exchange for regular or residual interests in the REMIC".

           ln many cases, I have seen courts hold the depositor did not have to assign the assets to
 the Trust. Ludicrous as that is, it is true. The Depositor in my case, CWMBS, Inc., absolutely had
 to assign the assets whereas they created the Trust and must sell the assets to the trust and all of
 the required tilings recorded in the SEC are by CWMBS, Inc.

                                               FORM8-K
                                          CURRENT REPORT
                  Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
                  Date of Report (Date of earliest event reported): December 29, 2004
                  CWMBS, INC., (as depositor under the Pooling and Servicing Agreement, dated
                  as of December 1, 2004, providing for the issuance of the CHL Mortgage Pass-
                  Through Trust 2004-29, Mortgage Pass-Through Certificates, Series 2004-29).
                  CWMBS,INC.


           That plain statement "CWMBS as depositor'' is unambiguous. However, the 8-K further
 states:
                  On December 29, 2004, CWMBS, Inc. (the "Company") entered into a Pooling
                  and Servicing Agreement dated as of December I, 2004 (the "Pooling and
                  Servicing Agreement"), by and among the Company, as deoosltor,
                  Countrywide Home Loans, Inc., as a seller ("CHL"), Park Granada LLC, as a
                  seller ("Park Granada" and, together with CHL, the "Sellers"), Countrywide
                  Home Loans Servicing LP, as master servicer (the "Master Servicer"), and The
                  Bank of New York, as trustee (the "Trustee"), providing for the issuance of the
                  Company's Mortgage Pass-Through Certificates, Series 2004-29. A Form of
                  Pooling and Servicing Agreement is annexed hereto as Exhibit 99.1.


           Who deposited the Assets into the trust? Who certified they deposited the assets into the
. Trust? Who was required to deposit the assets into the Trust? Oh, oh, oh, I know, CWMBS, Inc.,
 the depositor as stated under oath. Stop the nonsense.

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But wait:
        Before there was a REMIC election, this was a common law trust created under the laws
of New York. Therefore, all that led to the REMIC election, first had to comply with New York
laws related to an express trust and the laws inherent in the trust created under New York law
will forever be present. These are still express busts created by writing.
        Indeed, the Trust had to have executed assignments of the note and mortgage and there
had to be a delivery'ofthe assets, inter vivos gift, res, corpus, whatever name they would like to
use, all the same, to the Trust. No assignments, no delivery, then, no trust over the assets see
Waddsupra.


V.      Governing Laws


        SECTION 10.03. Governing Law
        THIS AGREEMENT SHALL BE CONSTRUED IN ACCORDANCE WITH AND
        GOVERNED BY THE SUBSTANTIVE LAWS OF THE STATE OF NEW YORK
        APPLICABLE TO AGREEMENTS MADE AND TO BE PERFORMED IN THE
        STATE OF NEW YORK AND THE OBLIGATIONS, RIGHTS AND REMEDIES OF
        THE PARTIES HERETO AND THE CERTIFICATEHOLDERS SHALL BE
        DETERMINED IN ACCORDANCE WITH SUCH LAWS


VI.     Ioteotloo of Parties


        SECTION 10.04
        It is the express intent of the parties hereto that the conveyance of the (i) of the Mortgage
        Loans by the Sellers to the Depositor and (ii) Trust Fund by the Depositor to the Trustee
        each be. and be construed as. an absolute sale thereof to the Trustee. It is. further. not the
        intention of the parties that such convevances be deemed a pledge thereof. However, in
        the event that, notwithstanding the intent of the parties, such assets are held to be the
        property of any Seller or the Depositor, as the case may be, or if for any other reason this
        Agreement is held or deemed to create a security interest in either such assets, then (i)
        this Agreement shall be deemed to be a security agreement (within the meaning of the


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       Unifonn Commercial Code of the State of New York) with respect to all such assets and
       security interests and (ii) the conveyances provided for in this Agreement shall be
       deemed to be an assignment and a grant pursuant to the terms of this Agreement (i) by
       each Seller to the Depositor or (ii) by the Depositor to the Trustee, for the benefit of the
       Certificateholders, of a security interest in all of the assets that constitute the Trust Fund,
       whether now owned or hereafter acquired. Each Seller and the Depositor for the benefit
       of the Certificateholders shall, to the extent consistent with this Agreement, take such
       actions as may be necessary to ensure that, if this Agreement were deemed to create a
       security interest in the Trust Fund, such security interest would be deemed to be a
       perfected security interest of first priority under !JPlllicable law and will be maintained as
       such throughout the tenn of the Agreement. The Depositor shall arrange for filing any
       Uniform Commercial Code continuation statements in connection with any security
       interest granted or assigned to the Trustee for the benefit of the Certificateholders.


Now we must look to the, Mortgage Loan Purchase Agreement


      (c) The Purchaser and the Seller intend that on the Closing Date the conveyance by the
Seller to the Purchaser of all its right, title and interest in and to the Mortgage Loans pursuant to
this Agreement shall be, and be construed as, a sale of the Mortgage Loans, without recourse. It
is, further, not intended that such conveyance be deemed to be a pledge of the Mortgage Loans
by the Seller to the Purchaser to secure a debt or other obligation of the Seller. However, in the
event that the Mortgage Loans are held to be property of the Seller, or if this Agreement is held
or deemed to create a security interest in the Mortgage Loans, then it is intended that (i) l!!.!!
Agreement shall also be deemed to be a security agreement within the meaning of Articles
8 and 9 of the New York Uniform Commercial Code and the Uniform Commercial Code of
any other applicable jurisdiction; (ii) the conveyances provided for in this Section I shall be
deemed to be a grant by the Seller to the Purchaser, to secure payment in full of the Secured
Obligations (as defined below), ofa security interest in all of the Seller's right (including the
power to convey title thereto), title and interest, whether now owned or hereafter acquired, in and
to the Mortgage Loans, including without limitation the Mortgage Notes, the Mortgages, any
related insurance policies, the Seller's security interest in any collateral pledged to secure the

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Mortgage Loans with respect to the Mortgage Loans and all other documents in the related
Mortgage Files, and all accounts, general intangibles, chattel paper, instruments, documents,
money, deposit accounts, certificates of deposit, goods, letters of credit. advices of credit and
investment property constituting part of the assets of the Trust, arising from or relating to (A) the
Mortgage Loans (other than any servicing rights relating to the Mortgage Loans), including with
respect to each Mortgage Loan, the Mortgage Note and related Mortgage, and all other
documents in the related Mortgage Files, and including any Qualifying Substitute Mortgage
Loans; (B) pool insurance policies, hazard insurance policies and any bankruptcy bond relating
to the foregoing, if applicable; (C) all amounts payable on or after the Cut-off Date (otber than
any such payments that were due on or prior to such date) to the holders of the Mortgage Loans
in accordance with tbe terms thereof; (D) all income, payments, proceeds and products of the
conversion, voluntary or involuntary, of the foregoing into cash, instruments, securities or other
property; and (E) all cash and non-cash proceeds of any of the foregoing;(iii) the possession or
control by the Indenture Trustee or any agent of the Indenture Trustee of Mortgage Notes or such
other items of property as constitute instruments, money, documents, advices of credit, letters of
credit, goods, certificated securities or chattel paper shall be deemed to be possession or control
by the secured party, or possession or control by the Purchaser, for pumoses of perfecting the
security Interest pursuant to the Uniform Commercial Code (including, without limitation,
Sections 9-312 or 9-313 thereoO: and (iv) notifications to persons holding such property, and
acknowledgments, receipts or confirmations from persons holding such property, shall be
deemed notifications to, or acknowledgements, receipts or confirmations from, securities
intermediai:ies, bailees or agents of, or persons holding for, the Indenture Trustee, as applicable,
for the purpose of perfecting such security interest under applicable law. "Secured Obligations"
means the rights of the Purchaser under this Agreement. The Seller shall, to the extent consistent
with this Agreement, take such reasonable actions as may be necessary to ensure that, if this
Agreement were deemed to create a security interest in the Mortgage Loans and the other
property described above, such security interest would be deemed to be a perfected security
interest of first priority under applicable law and would be maintained as such throughout the
term of this Agreement Without limiting the generality of the foregoing. the Seller shall
prepare and deliver to the Purchaser at least two months prior to any filing date. and the
Purchaser shall file, or shall cause to be filed. at the expense of the Seller, all Olings


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necessary to maintain the effectiveness of any original filings necessary under the Unifonil
Commercial Code as in effect in any jurisdiction to perfect the Purchaser's security
interest in or lien on the Mortgage Loans.


VTI.   Issues That Completely Invalidate the Note and That Which Renders the Mortgage
       Contract Unenforceable


§ 3-407. ALTERATION.

       (a) "Alteration" means (i) an unauthorized change in an instrument that purports to
       modify in any respect the obligation of a lll!I!Y, or (ii) an unauthorized addition of
       words or numbers or other change to an incomplete instrument relating to the
       obligation of a party.
       (b) Except as provided in subsection (c ), an alteration fraudulently made discharges
       a P!!!:!Y whose obligation is affected by the alteration unless that party assents or is
       precluded from asserting the alteration. No other alteration discharges a party, and
       the instrument may be enforced according to its original terms.
       (c) A payor bank or drawee paying a fraudulently altered instrument or a person
       taking it for value, in good faith and without notice of the alteration, may enforce
       rights with respect to the instrument (i) according to its original terms, or (ii) in the
       case of an incomplete instrument altered by unauthorized completion, according to
       its terms as completed.


§ 3-604. DISCHARGE BY CANCELLATION OR RENUNCIATION.

       (a) A person entitled to enforce an instrument, with or without consideration, may
       discharge the obligation of a lll!I!Y to pay the instrument (i) by an intentional
       voluntary act, such as surrender of the instrument to the party, destruction,
       mutilation, or cancellation of the instrument, cancellation or striking out of the
       party's signature, or the addition of words to the instrument indicating discharge, or
       (ii) by agreeing not to sue or otherwise renouncing rights against the party by a
       signed record.


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       (b) Cancellation or striking out of an indorsement pursuant to subsection (a) does
       not affect the status and rights of a I!filil' derived from the indorsement.
       (c) As used in this section, "signed," with respect to a record that is not a writing.
       includes the attachment to or logical association with the record of an electronic
       symbol, sound, or process to or with the record with the present intent to adopt or
       accept the record:


§ 3-302. HOLDER IN DUE COURSE.

       (a) Subject to subsection (c) and Section 3-106(d), "holder in due course" means
the holder of an instrument if:


       (I) the instrument when issued or negotiated to the holder does not bear such
       apparent evidence of forgery or alteration or is not otherwise so irregular or
       incomplete as to call into question its authenticity; and
       (2) the holder took the instrument (i) for value, (ii) in good faith, (iii) without
       notice that the instrument is overdue or has been dishonored or that there is an
       uncured default with respect to payment of another instrument issued as part of the
       same series, (iv) without notice that the instrument contains an unauthorized
       signature or haS been altered, (v) without notice of any claim to the instrument
       described in Section 3-306, and (vi) without notice that any Rl!!!Y has a defense or
       claim in recoupment described in Section 3-305(a).
       (b) Notice of discharge of a Rl!!!Y, other than discharge in an insolvency
       proceeding, is not notice of a defense under subsection (a), but discharge is
       effective against a person who became a holder in due course with notice of the
       discharge. Public filing or recording of a document does not of itself constitute
       notice of a defense, claim in recoupment, or claim to the instrument.
       (c) Except to the extent a transferor or predecessor in interest has rights as a holder
       in due course, a person does not acquire rights of a holder in due C-Ourse of an
       instrument taken (i) by legal process or by purchase in an execution, bankruptcy, or
       creditor's sale or similar proceeding, (ii) by purchase as part of a bulk transaction



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        not in ordinary course of business of the transferor, or (iii) as the successor in
        interest to an estate or other organization.
        (d) If, under Section 3-303(al(l), the promise of performance that is the
        consideration for an instrument has been partially performed, the holder may assert
        rights as a holder in due course of the instrument only to the fraction of the amount
        payable under the instrument equal to the value of the partial performance divided
        by the value of the promised performance.
        (e) lf(i) the person entitled to enforce an instrument has only a security interest in
        the instrument and (ii) the person obliged to pay the instrument has a defense,
        claim in recoupment, or claim to the instrument that may be asserted against the
        person who granted the security interest, the person entitled to enforce the
        instrument may assert rights as a holder in due course only to an amount payable
        under the instrument which, at the time of enforcement of the instrument, does not
        exceed the amount of the unpaid obligation secured.
        (!)To be effective, notice must be received at a time and in a manner that gives a
        reasonable opportunity to act on it.
        (g) This section is subject to any law limiting status as a holder in due course in
        particular classes of transactions.


§ 3-305. DEFENSES AND CLAIMS IN RECOUPMENT.

       (a) Except as otherwise provided in this section, the right to enforce the obligatio~
of a pfil!Y to pay an instrument is subject to the following:

       ( 1) a defense of the obligor based on (i) infancy of the obligor to the extent it is a
        defense to a simple contract, (ii) duress, lack of legal capacity, or illegality of the
        transaction which, under other Jaw, nullifies the obligation of the obligor, (iii)
        fraud that induced the obligor to sign the instrument with neither knowledge nor
        reasonable opportunity to learn of its character or its essentiai terms, or (iv)
       discharge of the obligor in insolvency proceedings;




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   (2) a defense of the obligor stated in another section of this Article or a defense oi
   the obligor that would be available if the person entitled to enforce the instrument
   were enforcing a right to payment under a simple contract; and
   (3) a claim in recoupment of the obligor against the original payee of the
   instrument if the claim arose from the transaction that gave rise to the instrument;
   but the claim of the obligor may be asserted against a transferee of the instrument
   only to reduce the amount owing on the instrument at the time the action is
   brought.
   (b) The right of a holder in due course to enforce the obligation of a party to pay
  ·the instrument is subject to defenses of the obligor stated in subsection (a)( I), but
   is not subject to defenses of the obligor stated in subsection {a)(2) or claims in
   recoupment stated in subsection (a)(3) against a person other than the holder.
   (c) Except as stated in subsection (d), in an action to enforce the obligation of a
   Pl!!!Y to pay the instrument, the obligor may not assert against the person entitled to
   enforce the instrument a defense, claim in recoupment, or claim to the instrument
   (Section 3-306) of another person, but the other person's claim to the instrument
   may be asserted by the obligor ifthe other' person is joined in the action and
   personally asserts the claim against the person entitled to enforce the instrument.
   An obligor is not obliged to pay the instrument if the person seeking enforcement
   of the instrument does not have rights of a holder in due course and the obligor
   proves that the instrument is a lost or stolen instrument.
   (d) In an action to enforce the obligation of an accommodation Pl!!!Y to pay an
   instrument, the accommodation party may assert against the person entitled to
   enforce the instrument any defense or claim in recoupment under subsection (a)
   that the accommodated party could assert against the person entitled to enforce the
   instrument, except the defenses of discharge in insolvency proceedings, infancy,
   and lack oflegal capacity.
   (e) In a consumer transaction, if law other than this article requires that an
   instrument include a statement to the effect that the rights of a holder or transferee
   are subject to a claim or defense that the issuer could assert against the original
   payee, and the instrument does not include such a statement: (I) the instrument has

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         the same effect as if the instrument included such a statement; (2) the issuer may
         assert against the holder or transferee all claims and defenses that would have been
         available if the instrument included such a statement; and (3) the extent to which
         claims may be asserted against the holder or transferee is determined as if the
         instrument included such a statement.
         (f) This section is subject to law other than this article that establishes a different
         rule for consumer transactions.

New York UCC

§3-202

         (I) Negotiation is the transfer of an illstrument in such form that the
          transferee becomes a holder. If the instrument is payable to order it is
          negotiated by delivery with any necessary indorsement; if payable to
          bearer it is negotiated by delivery.
         (2) An indorsement must be written by or on behalf of the holder and
          on the instrument or on a paper so firm! y affixed thereto as to become a
          part thereof.
         (3) An indorsement is effective for negotiation only when it conveys
          the entire instrument or any unpaid residue. If it purports to be of
          less it operates only as a partial assignment.
         (4) Words of assignment, condition, waiver, guaranty, limitation or
          disclaimer of liability and the like accompanying an indorsement do not
          affect its character as an indorsement.


         New York's version ofUCC 3-202(2) (numbered as 3-204 elsewhere) governs the use of
an "allonge". lt has been interpreted to render an allonge invalid unless it is "firmly affixed" See,
e.g., Slutsky v. Blooming Grove Inn, 14 7 AD2d 208 (2d Dept. 1989), to the instrument, meaning
glued or stapled, Adams v. Madison Realty & Development, 853 F.2d \ 63 (3d Cir. 1988) and is
necessary due to lack of space on the original document. See Lawrence Safran & Joshua




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Stein, "Getting Attached: When Do Allonges Meet the Requirements of the New Yoric UCC?,"
236 NYIJ, No. 101at3, Nov. 27, 2006.13

        The reason the statute of frauds exists is to prevent the very thing that has transpired in
the securitization scheme. I will not cite the encyclopedic volume of case law that supports this
proposition.

                                           CONCLUSION

       In light of the foregoing there is one inescapable fact, these trusts will never own,
possess, or have control over any mortgage or note the Trustee failed to acquire by the date
certain. The Trustee will never be able to enforce the terms of any mortgage contracts, and there
exists no remedial action that can overcome their shortcomings related to the trustee's failure to
acquire the notes and mortgages, and the lack of the depositor to assign, set over, convey, or
otherwise sell the note and mortgager to the trust. The chain of title is destroyed, whereas MERS
could never hold in .trust the note or mortgage, because on the cut-off date of the trusts, the trust
had to have the whole estate and no c;ntity but the Trustee could hold the assets. See EPTL 7-2.1.
The res/corpus had to be securely within the Trust vault or there is no trust over the res/corpus.

       If these Trusts have been reduced to security agreements because of their failure to
acquire the trust res/corpus, then they are completely doomed because they lost their REMIC
status and all these trust are taxable at I 00%. In addition, the players never perfected their
interest and further, most every assignment took place well after a default had occurred and
therefore, they took possession after dishonor.

                                  This conundrum cannot be cured

                                       Just Thinking Out loud

                                                                                                  RPM




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                                        FAX COVER
ROBERT MARLEY .
18 LAKEVIEW DR
LYNNFIELD, MA 01940
781-844-3044
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                                                             ATIENTION KARA WATI
JERRY SCHIANOV
BRUCE WILLIAMS
SAUL SANDERS
LEWIS RANIERI
SCOTISHAY
YALE STARK
SHELLPOINT MORTGAGE SERVICING
55 BEATTI PLACE, SUITE 110
GRENNVILLE, SC 29601
1-800-3657107
FAX: 1-866-467-1137

DATED: December 15, 2015

SENTVIA: FAX

RE: Case # 151122-000065

Dear Kara Watt:

Kindly find attached herewith my last communication with BONY. Also, find signatures of
purported assignees, Brooks, Meder, and Spector. Clearly, it is not rocket science and a two-year
old can discern the real, from the fakes. It would seem that' Core logic has many different forgers
in their employ. Nevertheless, the important matter for you is the forged allonge to the note. I
am sure I do not have to explain the ramifications of that FORGED alloi:J.ge.

Again, kindly resolve this long overdue matter. Any further attempts to defraud me based on
what I have included here for you would be a blatant violation of many laws.

As the purported debt collector, I have demanded a full accounting in the purported note and
have for over five years. I would like one now. It is the only way to prove money is owed and to
whom it might be owed.                           ·

In Massachusetts, the only one that can enforce the note is the owner of said not, however, if no
money is due, then there is nothing to enforce and like I have demanded many time, that the
note be returned to me stamped paid in full and the a satisfaction of mortgage record. In MAit
does not matter who satisfied the debt, once satisfied, all bets are off and the lien is released.

For example, if I did a good deed and saved a man from a burning building, which I did, and he
wanted to somehow repay me, and he took it upon himself to pay my debt, it matters not who .
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paid it, it is paid The owner of the debt was happy it was paid early. Understand. Just like in
this Ponzi scheme. Which road would you like to traverse in order to rectify this matter?


Since~ely


Bob Marley
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                                                               Robert P. Marley
                                                               18 Lakeview Dr.
                                                               Lynnfield, MA 01940
                                                               781-844-3044
                                                               Marley0685@comcast.net


Dared: January 21, 2014

Bank of New York, Mellon f/k/a
Bank of New York, as Purported Trustee for
CWMBS, Inc., CHL Mortgage Pass-Through Trust 2004-29,
Mortgage Pass-Through Certificates, Series 2004-29
101 Barclay Street 4W
New York, NY 10286

Sent Via: Certified USPS Mail on January 21, 2014

Re: Robert P. Marley v. Bank of America, et al, (D.Mass. Qv. No. 10-10885-GAO)(l••
    Cir. Court of Appeals Case No. 12-2391)

    Mortgage from Robert P. Marley ("Mortgagor'') to Omega Mortgage Corp
    (''Mortgagee") recorded with Southern Essex County Registry of Deeds (said Deeds) in
    Book 23 716, Page 252 as Instrument # 524 ("the Mortgage''), purportedly assigned to
    Bank of New York, as the purported Trustee of CWMBS, Inc., CHL Mortgage Pass-
    Through Trust 2004-29, Mortgage Pass-Through Certificates, Series 2004-29 by
    instrument recorded with said Deeds in Book 30524, Page 335 purported("Note
    Owner'').



             DEMAND LETTER PURSUANT TO M.G.L C. 183 $ 54C



Dear Purported Trustee for Purported Note Owners:

   1. Pursuant to M.G.L. c. 183 § 36, I, Robert Marley, owner in freehold, in actual
      possession of, 18 Lakeview Drive, Lynnfield, MA, refuse to acknowledge proof of
      execution by testimony of subscribing witness on the material false assignment of
      mortgage created on June 30, 2011 and recorded on July 13, 2011 in the Essex
      County Registry of Deeds (Southern District) recorded at Book 30524 Page 335.



                                             1
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 2. I have been demanding for over four-years someone or entity demonstrates their
    claimed ownership interest in my property and that a debt was owed or owing; all
    interested parties refused to comply. In 2010, I sent certified mail pursuant to 12 USC
    260S(e), a QWR/Debt Validation demanding an accounting on the promissory note
    purportedly secured by the infra mortgage. Further, in 2010 and 2011, I sent a
    separate Debt Validation letters to you and Bank of America. In addition, in 2013, I
    sent another Debt Validation letter to your counsel of record. In this demand letter, I
    now demand an accounting pursuant M.G.L. c. 244 § 36 and a payoff statement on
    the note pursuant G.L. c. 183§§ 54C and SS. 'This includes the loss that was claimed
    for my 2008 Ch. 7 bankruptcy where the debt discharged and extinguished as a
    matter of law. 'This also includes, insurance payouts, IRS 1099A losses, NIM's
    Insurance payouts, Credit Default Swaps, Enhancement, the advances made by the
    undisclosed third party co-obligors to the note under the P&S Agreement, inter alia,
    and all monetary transactions in any form that satisfied the note. I also demand the
    Note back. It is my Note. There are no endorsements but mine. Return the original
    note stamped "paid in full" or a certified copy thereo£ You are named in the
    Registry- of Deeds as mortgagee by assignment and there is no one else in the chain of
    title. Omega Mortgage Corp. went defunct in December of 2010.

 3. Massachusetts law now requires a complete, authentic, unbroken, verifiable chain of
    title in the Mortgage and Note supported by affidavits, inter alia, for one claiming
    mortgagee status by assignment prior to a notice of intent to foreclose (Conditions).
    See in their entirety, M.G.L. c. 244 §§ 14, 35A, 35B and 3SC.

 4. Beginning in April of 2009, I made five attempts to modify this purported mortgage
    loan, two of which were through the Massachusetts Attorney General's Office, all to
    no avail and in violation of the mandates set forth in HAMP guidelines and relevant
    laws. You must file an affidavit related to § 35B as a condition. The purported
    mortgage meets the requirements of G.L. c. 244 § 35B in that, it is a "Certain
    mortgage loan" with the following features:

    1.     interest-only payments for any period of time;
    11.    a payment option feature, where any 1 of the payment options is less than
           principal and interest fully amortized over the life of the loan;
    iii.   the loan did not require full documentation of income or assets; the loan was
           underwritten with a loan-to-value ratio at or above 90 per cent and the ratio of
           the borrower's debt, including all housing-related and recurring monthly debt,
           to the borrower's income exceeded 38 per cent;

                                           2
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        iv.     and, the loan was underwritten as a component of a loan transaction, in which
                the combined loan-to-value ratio exceeded 95 per cent

               See also, 209CMR 56:00 and 209 CMR 18:00 et seq. Further, on January 10,
               2014, the most important protections of the Dodd Frank Act of 2010 became
               effective.

     5. As, the purported Trustee/Mortgagee by assignment of the material false assignment
        knowingly recorded on July 13, 2011, you must now demonstrate your legal rights in
        my property through the demonstration of credible evidence and I demand within
        3o-day from the postmark date of this Demand Letter, you do.

     6. If you fail to demonstrate your legal rights in my property, your ability to attempt a
        foreclosure or even notice one, and give a complete accounting, including but not
        limited t:O all the legal settlements through the many lawsuits related to CHL 2004-29
        and pay downs and overages paid, based on the manipulated LIBOR Index on CHL
        2004-29, in the time prescribe supra, I will file a discharge of Mortgage in the Essex
        County Registry of Deeds in the Commonwealth of MA provided under G.L. c. 183
        54C.

     7. I have not calculated the year 2012 or 2013, however, as of January 2012, my
        prorated share of the pool was Approx. $753.000.00. This does not include the many
        insurance payouts, settlements on the note or credit default swaps. I am entitled to
        that prorated share because you never owned my note and mortgage when you
        created and sold mongage-backed securities backed by a note and mortgage you did
        not own, or had dominion and control over. Any money gleaned from the unlawful
        use of my purported note and mortgage, my property, FICO scores, and my identity,
        belongs to  me.I See setoff enclosed herewith.



     8. Funhermore, you accepted the Note and Mongage (the mortgage loan) after you
        noticed a default, after this purponed trust funded, and after the cutoff date. You as



1
  See, NY EPTL 7-2.1, provides for trustee of express trust to have whole estate, and set forth
qualification for same, respectively. The trust at issues is an Express Trust Created under the laws of
New York. See P&SAgreemenr Dated December 1, 2004, Section 10.03 and 10.04. You never had
legal possession of the note and mortgage. ME.RS could not hold in trust the mortgage, only you as
purported trustee could hold the asset in Trust.

                                                   3
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        the Trustee could never accept a defaulted loan. 2 You had the duty of a prudent man
        to protect3 the beneficiaries of the Trust (Investors) who own a fractional share of
        the note, and I might add without a fractional share or written assignment of the
        purported mortgage. You knowingly took the purported Note after dishonor. See any
        Deal Data Sheet for CHL 2()()4..29 declaring the loan 360 delinquent prior to the July
        13, 2011 assignment You cannot enforce the purported Note under Article 3 or 9 of
        the UCC. You also had a duty to protect me and my property and you did not.4
        Furthermore, the note lacks the requisite endorsements or the required named ,.
        assignees. 5 See My Amicus Brief in, HSBC BANK USA. NA v. Matt, 464 Mass. 193

2
  A fiduciary did not act with reasonable prudence when he bought a mortgage participation in a
mortgage. under which defaults had already occurred, and the mortgagor had died leaving no
property aside from his equity of redemption. In rt Loi11g1s Guardiansh;p. 167 Misc. 10, 3 N.Y.S.2d 409
(Sur. Ct. 1938). Trustees are considered as the agents of both parties-debtor and creditor--and
actions in performing the duties of their trust should be conducted with the strictest impartiality and
integrity. They are entrusted with the imponant £unction of transferring one man's pro.petty
to another. and therefore both reason and justice will exact of them the most scnwulous
fidelity. Goode v Comfort, 39 Mo 313 (1866); West v Axtell 322 Mo 401, 17 SW2d 328 (1929);
Ewing v Mcintosh, 359 Mo 625, 222 SW2d 738 (1949); Edwards v Smith, Mo 322 SW2d 770 (1959).
The underlying promissory notes .serve as financial instruments generating a potential income stream
for investors, but the mortgages securing these notes are still legal title to someone's home or
farm and must be treated as such. US Bank Nafiona/Assocjaljon •· Ibaner,, 458 Mass. 637, 941
N.E.2d 40, 941 N.E. 40 (2011).

' The trustee is under a duty to use reasonable care and skill to preserve and protect the trust
property. See, e.g., Cwtrq/ Staks. So11theast & Southwest Artas Pension Fn1td • Cmtra/TmnIJ>ort l!tc., 472
US 559, 105 SCt 2833, 86 LEd2d 447 (1985) reh den 473 US 926 (1985); l1t n Estall ofMead. 90
Misc2d 144, 394 NYS2d 123 (1977); The proper investment of trust assets requires the exercise of
sound judgment and discretion and acts requiring the exercise of judgment and discretion cannot be
delegated by trustees to other persons. Matter of Dirkson, 38 Misc. 2d 678, 237 N.Y.S.2d 572 (NY:
Surrogate's Court, New York 1963) citing (Cooper v. Illinois Central R.R. Co., 38 App. Div. 22;
Allison & Ver Valen Co. v. McNee, 170 Misc. 144; Matter~( Pq/mer, 132 N. Y. S. 2d 311 ).

'In applying the rule that a trustee under a trust instrument owes the duty of faithfully caring for the
interests of the holders of obligations secured by such instrument, the courts frequently
recqgnized that such dulf extends also in favor of the obligor. Chqmber/ain p lames , 294 Mass 1,
200 NE 361(1936). Harpty p Gnoran(Y Tn1d Co. 134 .Misc 417, 236 NYS 37, affd 229 App Div 774,
242 NYS 905, affd 256 NY 526, 177 NE 125 (1929), (stating that a trustee under a corporate
indenture may for some purposes be regarded as the agent of the mortgagor, bur for other purposes
iris the representative of the bondholders for whose benefit it holds the mortgaged security).
'"Further, the second December 8, 2008 assignment, from AMERIQUEST to "Wells Fargo Bank,
N .A., as Trustee," fails to name a beneficiary for the Trustee. The failure to name a beneficiru;y
for the Trustee renders the assigmnent without merit. It is axiomatic that "[t]here are four
essential elements of a trust (1) a designated beneficiary; (2) a designated trustee; (3) a fund or other
property sufficiently designated or identified to enable title thereto to pass to the trustee; and (4)

                                                     4
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        (2013), for an understanding of what is required for a Trust to have dominion and
        control over the assets (note and mortgage). The Brief may be viewed here:
        http: //www.ma-appellatecourts.org/display docket.php?dno=SJC-11101 Amicus
        Marley Brief.

    9. Therefore, pursuant to M G.L c. 183 § 54C et seq., I demand a full accounting on
       the purported Note, secured by a purported mortgage dated, December 3, 2004,
       recorded at Book 23716 Page 252 in the Southern Essex County Registry of Deeds in
       the Commonwealth of Massachusetts. That you demonstrate you legal rights through
       a complete, authentic, verifiable, unbroken chain of title to you, the purported
       mortgagee (Note Owner) by assignment, that indudes the original wet ink note with
       all endorsements and all the written assignments of the mortgage down through the
       securitization chain.

    10. I demand that you proceed in accordance with M.G.L. c. 183 §§ 54, 54B, 54C, 54D,
        and 55 and file the required satisfaction of mortgage and return the promissory note
        to me marked "paid in full" within 30-days from the postmark of this demand letter.

       In the absence of the supporting documents referred to in para,gr!!Jlhs (1) and
(2) of G.L. c 183 § 54C and 55. and the accounting demanded. and absent objection
received in writing by certified mail within 30 days after the postmark date of this
written demand. the affidavits authorized by this subsection will be recorded. and
will conclusively discharge the mortgage at issue.

       I reserve all my rights pursuant to applicable law, induding but not limited to G.L. c.
93A for a claim of treble damages related to this matter including but not limited to G.L. c.
244 § 35C and G.L. c. 266 § 35A.

       If you wish to discuss this matter, I will, however, it will only be with your inside
counsel or a person with decision making powers at BONY. I will not speak to outside
counsel as it relates to this matter as he has violated the professional code of conduct by
representing you, BONY, and Bank of America, whereas you are adverse parties in this
matter as well as other including but not limited to the MBIA lawsuit in New York.




actual delivery or legal assignment of the property to the trustee, with the intention of passing legal
title to such property to the trustee (Brown v. Spohr, 180 NY 201, 209)." (In re Manna.ta, 5 Misc 3d
556, 558 [Sur Ct, New York County 2004]). (See In re Marcus Trusts, 2 AD3d 640, 641 [2d Dept
2003]; Orentteich v. Prudential Ins. Co. of America, 275 AD2d 675 [ld Dept 2000]). We/U Far.gg
Bt11tk, NA u. Famm: 19 Misc 3d 1141 (Sup. Ct 2008).
                                                   5
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       Enclosed herewith, is a judgment &om the United States First Circuit Court of
Appeals related to this matter. The moment any Notice issues related to a foreclosure, I will
bring the 54 page supplemental complaint however, revised of course, with a motion for an
injunction, naming your outside counsel, Neil Raphae~ and Brian T. Moynihan, CEO and
President of Bank of America, as defendant's, and this matter will remain in state court
where it rightfully belongs.




Sincerely yours




CC: Amber A. Villa, Assistant Attorney General for the Commonwealth of Massachusetts

Enclosure: Judgment date, January 8, 2014. Pro-Rated share of the Pool CHL 2004-29 as of
year-end 2012.




                                               6
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                                                                                                               EXHIBiT
                                                                                                                 "36"
         AFFIDAVIT OF JOHN L O'BRIEN, REGISTER OF SOUTHERN ESSEX
                        DISTRICT REGISTRY OF DEEDS



   ~   John L. O'Brien, Register of the Southern Essex District Registry of Deeds, do hereby

   swear or aver as follows:

        I. Marie McDonnell of McDonnell Property Analytics, our forensic analyst has
           identified and provided me a with a list of known robo and surrogate signers (the
           "Robo-Surrogate Signer's List'')and defines a ''robo-signer" as follows:

                   The person on a legal documeni processing assembly line whose only task is to sign
                  previously prepared documenlS affecting tide to real property in a robotic-like fashion
                 . wilhoUl reading the documents or verifying the far:ts conuzined therein by reviewing primary
                  .srmrr:e evide1ree. The roho-.rigner 's mission is to e:rpediJe the documenJs' recoTrlation I/I the
                  public laRd records or iR row1 proceedings. AdJitio11al/y, robo-.rigners regularly fail to
                   esJah/ish or simply do not have the authority to P.xecute these docwnents on behalfofthe legal
                   tille holdu or principal on whose behalf/hey purport to act.

           (See Exhibit A, attached hereto for a copy of the current Robo-Surrogate Signer's

           Lisl)

        2. As of Jwie 2011 it has been my policy to require that all documents sent to the

            Southern Essex District Registry of Deeds for recording that are executed by an

           alleged robo-signer, who has variations of his/her signature on record, be

            independently verified by an affidavit that the signature is in fact the signature of

           the    n~ed      individual (the "Affidavit in Support of Filing"). (See Exhibit B,

           attached hereto for a copy of an Affidavit in Support of Filing.) I have instituted

           this policy based on the opinion of Ms. McDonnell.

        3. The attached Exhibit C is a certified copy of the Assignment of Mortgage created

           on June 30, 2011 and recorded in the Southern Essex District Registry of Deeds in

           Book 30524, Page 335 on July 13, 2011 is signed by Beverly Brooks, a known

           robo-signer (the "Robo-Signed Document").
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     4. At the time of the recording of the Robo-Signed Document, Beverly Brooks was

        not on the Robo-Surrogate Signer's List and therefore my Registry accepted the

        Robo-Signed     Document     for   recording.   However,    Beverly Brooks      has

        subsequently been added to the Robo-Surrogate Signer's List. Based upon my

        current policy, if the Robo-Signed Document was submitted to the Southern

        Essex District Registry today for recording, I would currently require that the

        signature be verified by an Affidavit in Support of Filing, prior to recording the

        Robo-Signed Document

     5. I have instituted this current policy because the signatures of the robo-signers are

        known not to have been the actual signature of the individual claiming to have

        signed the document.

     6. I am familiar with various signatures purporting to be that of Beverly Brooks

        which are in my opinion, clearly not the same signature.

     7. Based upon these facts, I have forwarded. a Certified Copy of the Robo-Signed

        Document to the Commonwealth of Massachusetts Attorney General's Office and

        the Essex County District Attorney's Office for their review and possible .

        violation of a Crime Against Property, specifically MGL Chapter 266, Section

        35A (b) (4) that provides that:


        "Whoever intentionally: files or causes to be filed with a registrar of deeds any
        document that contains a material statement that is false or a material omission,
        knowing such document to contain a material statement that is false or a material
        omission, shall be punished by imprisonment in the state prison for not more than
        5 years or by imprisonment in the house of correction for not more than 2 and
        one-half years or by a fine of not more than $I 0,000 in the case of a natural
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         person or not more than $100,000 in the case of any other person, or by both such
         fine and imprisonment" ·



      8. As the Register of Deeds for the Southern Essex District and the keeper of the

         records, l truly believe in the integrity of the land recordation system and am very

         concerned witll some lender's business practices and how tlley may affect

         homeowner's chains of title

                  ~                     .

     Signed thisL day of December
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                                                                              Exhibit A

           McDonnell Property Analytics Approved Robo-slgners List

       LAST NAME           FIRST NAME     ILASTNAME                  FIRST NAME
       ADAMS               MURIEL         iKINGSTON                  PAT
       AGUILAR GREENE      ANGELA          KIST                      MARY
       AlAGIC              SANELA         IKNOWLES                   RITA
       ALLEN               CHRISTINA       KOCH                      BILL
       ALLOTEY             UQUENDA         KOWAL                     VICTORIA
       ANDERSON            EARITHA         LEETE                     JESSICA
       ANDERSON            SCOTT           MARTINEZ                  KIM
       BAGGS
                      --   LORAINE         MCGOWAN
                                                         .   ··----
                                                                    MARYJO
       BAGLEY              BRENT           MEDINA                    MONICA
       BAILEY              KIRSTEN         MOORE                     CRYSTAL
       BAILEY-SLYH         MARTHA         !NADEAU                    MICHAEL
       BALDWIN             CHRISTIE        NOLAN                     ANGELA
       BELL                LANCE          INOLAN                     FRANCIS
       BENIO               DONNA          INORD 111                  HAROLD
       BENIO               JENNIFER        NORIEGA                   MARTI
       BLACKSTUN                           OHDE
       BLY--
                           NATE
                           BRYAN           PEREZ
                                                                     JESSICA
                                                                     DAVID    --
       BOLDUC              LORI            PETERSON                  ELENA
       BROOKS              BEVERLY         PHIDAVANH                 VIENGMOR
       BROWN               CHINA           PIRRITANO                 LAURA
       BROWN               TRACEY          PORTER                    KIMBERLY
       BURTON              LINDA           PRICE                     TAMARA
       CARTER              CHRISTINA       PRINDLE                   MICHAEL
       COLSTON             NORIKO          RNERA                     SILENA
       COOK                MARY·           RYBARCZVK                 ROBERT
       COOK                WHITNEYK.       SCHLEPPY                  GREG
       COTTRELL            BETH            SEIDEL                    KEITH
       COTTRELL            JOHN            SMITH                  . KATHY
       CROFT               TOM             SPOHN                     STACY
       DALTON              MARGARET        STEPHAN                 '"JEFFREY
       DOCX                                THOMAS                    CHERYL
       DUNNERY             JOHNA.          THOMAS                    TAWANNA
       ESPOSITO            THERESA         THORESEN                  LINDA
       FUERSTEN BERGER     ANDREW          TURNER                    TIAQUANDA
       OORLEWSKI           CATHERINE M.    VIVEROS                   MELISSA
       GREEN               LINDA           WALSH                     THOMAS
       GREEN               MICHELLE        WEST DALTON               ALLISON
       HALYARD             MICHELLE        WHITE                     CAROLYN
       HARMON              ANDREW          WILLIAMS                  SANDRA
       HARP                KORELL          WOSNAK                    JILL
       HERTZER             RENEE           WRIGHT                    KATHY
       HE SCOTT            LAURA
       HINDMAIN            BARBARA
       HOOD                BETHANY
       HULL                DONA                                 I
       HUNTER              ROSE
       ISAACS              MARSHALL
       JOHNSON             ERICAA.
       JOHNSON-SECK        ERICAA.        I
       KAMINSKI            JOSEPH
       KENNERTY            JOHN HERMAN    I


                                                                           Updated: 12/512011




                                        ------------
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                                                                     Exhibit B




                             Affidavit in Support of Filing
  I,                                       · ("Declarant"), am a resident of
                                    County      of                     State  of
  --------~ and do hereby certify, swear or affirm, and declare that I
  am competent to give the following declaration based on my personal.knowledge,
  and that the following facts and things are true and correct:

       1. I am attorney duly licensed to practice law and in good standing in _ __

       2. I am representing _ _ _ _ _ _ (the "Clieni').

       3. This Affidavit is in support of the following recording:

       4. The purpose of the underlying filing(s) is/are:

       5. I have personally communicated on or about [date]               with an
          employee or employees of the Client, whose names are                      who
          (A) personally reviewed the documents being submitted for filling. (B)
          personally reviewed all required supporting documentation of corporate and
          personal authority ("Supporting Documents"), and (CJ confirmed the
          accuracy of all documents and authenticity of all signatures, including the
          notary.

       6.   I have received and reviewed all Supporting Documentation.

       7. Based on such communications, review of documents and my own personal
          inquiry into the Client's past and current standards and practices, I affirm
          that underlying filing(s) contain no false or questionable statements of fad or
          law.

       8. Should any of the statements made herein be incorrect and the Recording
          corrupt or cloud the homeowner's chain of title, I will indemnify and hold
          anyone in the chain thereafter harmless.

            PROPERTY ADDRESS: _ _ _ _ _ _ _ _ _ _ _ _ _ __
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     9. I am fully aware of and understand M.G.L. c. 266 § 35A.

  Signed under pains and penalities of perjury.

  WITNESS my signature this ___ day of ____ 2011.


                                                  Signature of Declarant

                  STATE or Commonwealth of _ _ _ _ _ _ __
  County _ __

          On this _ _ day of           20__, before me, the undersigned notary
  public, personally appeared                                     , and proved
  to   me through satisfactory evidence of identification, which was
                              to be the person who signed the preceding or
  attached document in my presence, and who swore or afflnned to me that the
  contents of the document are truthful and accurate to the best of (his) (her)
  knowledge and belief.


                                                  Notary Public:
                                                  My commission expires: _

                                                  (official signature and seal of
                                                  notary)
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                                                                                        Exhibit C




                                                                                            ~111m1m111oru1~1m•im
                                                                                         2011171311149 Bk:31524 Pg:335
                                                                                          Q711St2Cl11 t1:4G AGCT Pa 111




                                                     Recording Requested By:                            mau 10:
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                                                     888-603-9011                       Cbopfll, SC 29036
                                                     450 E. Boundary SL
   Propco:ty Address:
                                                     Cloapin. SC 291136
   JS Lakeview Dr
   i.,.m.lidd, l\IA 01949-1459
   Propeny Location:
   Township of LYNNFIELO
                              .........
                                                    MINI:   10011SIOOJ0000771l ·        MERS Phono I:   838-619-6377

                                     ASSIGNMENT OF MORTGAGE
   For VaJue R.cc:civcd 0 the undcrsignod holder of a Mortgage (herein "Anignar"') who&e Bddn:as is 3300 S..W. 34tb
   A~a•it., Sllilc IOl Ocala. PL 34474 docs bc:rcby granl. sell. assign, mmsfbl- and convey untf;t THI& bANK OF
   NEW YOIUI: lllEU.ON l'KA T1U1 BANK 0¥ NEW YORK AS TRUSTEE FOR THE
   Ct';RTIFICATEHOLDERS OF CWMBS, INC., CHL MORTGAGE PASS-THROUGH TRUST 2004-29,
   MORTGAGE PASS THROUGH CERTIFICATES, SERIES 2004-29 wbosc address is IOI BARCLAY ST -
   4Wt NEW YOIUC,. NY l028' all beneficial interelt undor I.bat certain Mortgage described bolaw togechcr with the
   norc(s) ond obJiptiona thc~in described and the money due and to become due theroon with lnlercSt and olJ rights
   DCcnacd or to ;xc:rue WKlcr s:o.id Mortgttgc.
   Or1ghu>I Loodor.            OMEGA MORTGAGE CORP
   Orlginol B<Jnowel(s):       ROBERT p MARLEY, A SINGLE PERSON
   Dale orMongogc:             1:11312004
   Otigin&t Lban Amount:       $4681000.00
   Ccrtlf"IClllc of11Uc Number: NIA
   Recorded in Essc's/Sonlb Dbtrict., MA on: 12/Gl2004, boolt 23716. page 2.52 and insirwncnt number
   2004120600524
   J~TN!':S
          WHEREOF, the undersigned has caused this Assignment of Mortgage to be ~ccutcd on
    ~"&_,"(
                                                      MORTGAGE ELECTRONIC REGISTRATION
                                                      SYSTEMS, INC.




   5""" ofCalllOnJbo
   Coan1yofVeatura

   On ~......g,p- 212 I I bef0<e mo,           .::T,¢Hlf:   PJll Z-                . Notary Public, penanally
   llJJPO"'"ed Beverly Brooks                                                          '
  • who proved lO me on the bosis of sa&.lsfttclory evidence to be die pen~ whose nom~ islpPG subsc;~ to the
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                                              ASSIGNMENT OF MORTGAGE
          Far V:ih.1t R,ceivcd. the undcrsigntd holder ofa Mongogc (herein ..Assignor") nhasc nddri:ss is 3300 S.\\'. 3-iTH
          A\'EXUE1 SUITE 101 OCALA, FL 34474 does hereby grnnt, sell, assign, transfer nnd ronvey unto BANI\ Of
          AMERICA 1 N.A., SUCCESSOh Bl' MERGER TO RAC HOME LOA~S SERVICING, LP FKA
          COU~TRY\\'IOE HOME LOANS SER.VICING LP whose add~ss is 8609 \\'ES'f\VOOD CENTER. \'IEN~A.
          YA lZtSJ alf bcncfici"I imercst under tbl certain f\.fo11gagc described below toi;ethtr with the note(s) :uid oblis:Hions
          therein desctibed and the money due and to become due therton with interest :ind all tights acc11..1ed o:r to 11,ccrue undtr
          s:i.id t..tort~ai;e.
          Origln:il Ltfldcr:          :'!IF.RS, 1r;c•• AS l\'Oi'\UNEE: FOR ~APlTAL O!\"E HO~n: LOANS. LLC
          Orisin:d Borrowcr(s):       JOAQUIN CALlX"TO G_AR.ciAf A 6-lNGL PERSON
          Dn1eorMongage:              S/412007
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          ;\fORTGAGE ELECTRONIC R~Gl~!Rt\ TION SYF~~tS~ INC. 'i,\ .,,-,

          Byo     ;;t~ \~:::_ •.~;'\i//,i;;:) (~~" ~t<_;-¥7.                                                                    1


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          Sutc ofC:Jlifomla
          County ofVcntura




          I certify under PENALTY OF PERJURY u_nder the l11ws of the State of California th11t the forqoini
          par11graph 11 true and rorr«t.

          \VJThlESS my h:md ;i.nd offici;,.I se;i,I.
                                                                                                                         JOVIDA ALVAREZ DIAZ

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                                                                                                                        NQl1ry P111>1.Jt • California
                                                                                                                          lo1 An11tlu County
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Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 100 of 168




                                                                              EXHIBIT
                                                                               "43"




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                               ALI.ONGE TO NOTE

  Lo:m. NumbCr. 79415100



 Propc::rt,y AdcircSS: 18 La1<cvic:w Dr., Lynn11cld MA 01940

 Noll> Dete:    12/0312004
 Lom1 .Amoullt: $468,000.


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          Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 101 of 168




              PAY TOTJmO!UlEROF                    PAY 1'0THE ORDER OF
                                                                               ....
     COUNl'll'YWD:m 80Ml! LOANa JN<::.
              WITHOUT~

COUNt'R.YWIDS DOCUMaNt"cusronY SEa'ViCSS,
    A DlVJSlON OlF~YSA.m<, NA

    BY_,_,.,,,,,....
Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 102 of 168



Without conveyance of the Property, the sua:essor trustee shall succeed to all the ti tin, powers and
duties conferred upon the Trustee herein and by Applicable Law. This procedure fot substitution
of trustee shall govern to the exclusion of all other provisions for substitution.
     2S. Statement of Obligation Fee. Lender may collect a fee not to exceed the m•>imuro
amount permitted by Applica,ble Law for furnishing the statement of obligation as provided by
Section 2943 ot the Civil Code of Californis.

     BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained
in this Security Instrument end in any Rider executed by BorroW!lr and recorded with it.
                                                                                                          EXHIBIT
Witnesses:
                                                                                                            "47"
                                                       1,1 ~' k
                                                       PAUL F MEDER
                                                                                               ffl<>)
                                                                                           -Borrower




_ _ _ _ _ _ _ _ _ _ _ (Seal)
                                                       -----------(Seal)
                                           -Borrower                                       -BorroVilo!'




                                                       _ _ _ _ _ _ _ _ _ _ (Seal)
                                                                                           -&rrowcr




                                                                                           -Borrawcr




BS&(CA)     toa t2:.

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Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 103 of 168
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             Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 105 of 168
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Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 106 of 168

                         CORPORATECHARTERAPPROVALSHEET
                    ,..EXPEDITED SERVICE"*         **KEEP WITH DOCUMENT**
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P.A.              Religious _ __
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COMMENT(S):
Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 107 of 168
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                   PENNYMAC MORTGAGE INVESTMENT TRUST
                                  DECLARATION OF TRUST
                                          Dlltedl M111 JS, 2009
          This DECLARATION OF TRUST is mudc us of the dulc set fOrth Qbovc ~ lhe
  undellligncd Trustees (u dcllncd hmln).

                                               ARTICLE!.

                                              FORMATION
          1be Tnist is 11 real cslatc inftlllment lnl8I wilhin lhe Rllllllling of Title 8 of tho
  Corporations and Associations Anicle oflhe A1111oto1cd Code of Maryland, 111 amended from
  time lo lilDC (''Dlll.J"), The Tl'llSI sball 11111 b; deemed lo bo a gcnenil pgrmcrship, limited
  pQflmrsbip. jolm v~. Joi Ill stock oomp1111)' or• wrporatlon (but llOlhiDg bc:Rl11 shall
  preclude the TMt Dom bdna llCllted for tax pulJI05CIS a.s ao llS!IDCialion llllder the lnlernal
  Revenue Code of 1986. as amended livm lime to llme (the ·~")).
                                              ARTICLB II.
                                                 NAME
         The mme of the Trust Is:

                               PeunyMac Mortaaae IDftltlllCllt Trust
                                                                                                ......
         Under elrcumsllmces in whk:fl tile Board of Trustees of the Tl'llSI (Ille ~Board of     ~
  T!l!S!gS" or "Bsl!mf') determines Iha! the ll5ll of lhe mme of1he TlllSI Is llOI ~licable, lhe ~
  Trusl may use ~ olla:r deslgnalion or 1111111t fbr tho TMI.
                                              ARTICLB Ill.
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        ScclionJ.02. Pgwm. The Trust shall have alloflhe powers gt8IUl:d 10 real CSl4Ce
 inYCSllllcnl ll'USIS by Tiiie 8 and all other powers which are noi lm:omistcm with law and are
 appropriate to pnimote 1111d allllln Ibo purposes eel fOl1h In tho Dl:l:hnlion of1'nlst.
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Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 108 of 168

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         IN WJ'JlmSS WHEREOF, lids Dcelara\ion orTrust has been executed on this 15th dll)'
 of May, 2009 by dleund,cnlgnedl'ruslees, each of whom acknowledges thal thbclocwncnt ls bis
 BCl, 1hal to 1bC best of his knowledge. Information, and belief, the: mattcna and Dim set lbnb
 hcidn an: 11\lO In all material n:spcclS and that 1h1s statiment is Dlllda \lllder lbc pclllllties fbr
 perjury.




 I he~b)- sccp1 lbc appoinlmcDI as 1csldent agcm:
        Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 109 of 168




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and that lhla statement is made under the penalties for




                                  . Spector, Trustee
  Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 110 of 168




ROBERT MARLEY
18 LAKEVIEW DR.
LYNNFIELD, MA 01940
781-844-3044
robertmarley1958@verizon.net

KARA WATT
JERRY SCHIANOV
BRUCE WIWAMS
SAUL SANDERS
LEWIS RANIERI
SCOTT SHAY
YALE STARK
SHELLPOINr MORTGAGE SERVICING
55 BEAlTI PLACE, SUITE 110
GRENNVILLE, SC 29601
1-800-3657107
i-866-467-1137

DATED: December 11, 2015
SENT VIA: FAX

RE: Case # 151122-000065 ·

Dear Kara Watt:

Kindly find attached herewith my recent communications. Also, find signatures of purported
assignees.

Resolve this matter. You have many options. Use one of them to clear my title.

Your Jetter filed v.ith CFPB is a mere obfuscation at best. Shellpoint may have responded to my
demands, but you did not resolve tile issue. Nor have you attempted to do so.

·BOA could not transfer any rights to you because tlley had no rights to transfer. BONY is in the
 same boat.

BONY failed to respond to the attached letter within tile time required by Jaw. The reason they
did not respond is that they cannot demonstrate a valid, legal chain of title to them. Nor do they
want to submit and accounting on the note.

If you are in fact dedicated to compliance, then comply with the national mortgage settlement
and release the lien you claim BONY holds.

Keep in mind that the debt was discharged in 2008 and therefore, as BONY has agree with .others
in the past, do not resolve this matter by way of debt forgiveness whereas, there is nothing to
forgive.
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Release the lien by recording said release in the Registry of Deeds and certify a note and stamp it
paid in full and then return it to me.

I have been trying to reach you by phone with no success.

Thank you for your prompt attention to this long overdue matter

Sincerely

Bob Marley
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ROBERT MARLEY
18 LAKEVIEW DR.
LYNNFIELD, MA 01940
781-844-3044
robertmarley1958@verizon.net

JERRY SCHIANOV
BRUCE WILLIAMS
SAUL SANDERS
LEWIS RANIERI
SCOTISHAY
YALE STARK
SHELLPOINT MORTGAGE SERVICING
P.O.BOX 1410
TROY, MI 48099

DATED: December6, 2015

SENT VIA: E-Mail

Dear CEO and Board Members:

I am going to this by the nwnbers for you so there is no misunderstanding and none of you   can
claim deniability related to your actions. If you indeed did an investigation, you would come up
with the same results as I. Notwithstanding; you already know and understand the ramifications
for the lack of assignments, negotiation, and delivery of the note and the lack of written
assignments of the mortgage to BONY.

When you becanie the sub-servicer, this matter became one of your troubled assets. However,
the only trouble here is your threats to foreclose on a lien that does not exist.

These failures are the reasons why Countrywide never appeared at my bankruptcy and never file
a proof of claim. They also knew that they never perfected a lien, 20-days prior to me filing for
bankruptcy protection, and waived that right.

The lien was avoided by and through said bankruptcy.

They figured they would wait until after the bankruptcy and then try to bamboozle the courts
and I. That did not work out to well for them. What were the legal fees the last time around? I do
not have to pay a lawyer and you cannot wear me into the ground as is the tactic.

M.G.L. c. 244 § 1 provides:

       "A mortgagee may, after breach of condition of a mortgage of land, recover possession of
       the land mortgaged by an open and peaceable entry thereon, ifnot opposed bu the
       mortgagor or other person claiming it, or by action under this chapter; and possession
       so obtained, if continued peaceably for three years from the date of recording of the
       memorandwn or certificate as provided in section two, shall forever foreclose the right of
       redemption". (Emphasis added)




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I oppose any entry. Actually, there is a notice of trespass filed with the local police, the state
police, and the AG's Office. You can check your records; the notice is in there somewhere.

G.L. c. 244 § 14 provides in pertinent part:

        "For purposes of this section and section 21 of chapter 183, in the event a mortgagee
        holds a mortgage pursuant to an assignment, no notice under this section shall be
        ygffij_ unless (i) at the time such notice is mailed, an assignment, or a chain of
        assignments. evidencing the assignment of the mortgage to the foreclosing
        mortgagee has been duly recorded in the registry of deeds for the county or
        district where the land lies and (ii) the recording information for all recorded
        assignments is referenced in the notice ofsale required in this section".
        (Emphasis added)

A complete chain of assignment is missing from the registry therefore; BONY is not the
mortgagee by assignment nor can they claim said status. There is no evidence that Omega
assigned the mortgage and negotiated the note to Countrywide. Anything after that is a dead
duck. You would have to produce a written assignment to and from every entity that
purportedly took possession of the purported mortgage contract. In Massachusetts, the
mortgage does not follow the note. This is not to say that there was a valid transfer of the note
because there was not for the reasons stated in my previous letters. You know that. You lack
standing and authority because none exists. You service nothing and nothing operates in a
vacuum. There had to be a true sale from each player in the Ponzi scheme, and that required at a
minimum, 4 negotiations and delivery of the note and 4-written assignments of the mortgage.
Whereas, the sale of a mortgage is the sale of land in Massachusetts and must be done by
writing. Research our statutory law and case law. Do the work. Here is a helping hand.

       "A mortgage of real estate is a conveyance of the title or of some interest therein
       defeasible upon the payment of money or tile performance of some otller condition.
       Wearse v. 'Peirce. 24 Pick. 141. Bgyley v. Bailey. 5 Grav. 505. 509. United States Trust
       Co. v. Commonwealth. 245 Mass. 25. 28. Where the condition of defeasance is the
       fulfilment of a promise by the mortgagor, the mortgage depends upon the validity of the
       mortgagor's obligation. If there is no consideration for the promise, there is no
       enforceable contract and the mortgage security is not available to the mortgagee."
       Wegrse v. Peirce. 24 Pick. 141. Saunders v. Dunn. 175 Mass. 164. Baileu v. Way. 266
       Mass. 432. 441. Dow v. Poore. m Mass. 223. 226. Pearson y. Mulloney, 289 Mass. 508.

       "Like a sale of land itself, the assignment of a mortgage is a conveyance of an
       interest in land that requires a writing signed by the grantor. See G. L. c. 183, §
       3; Saint Patrick's Religious. Educ. & CharitableAss'n v. Hale. 22z Mass. 175, in (1912).
       In a "title theory state" like Massachusetts, a mortgage is a transfer oflegal title in a
       property to secure a debt. See Faneuil Investors Group. Ltd. Partnership v. Selectmen of
       Dennjs. 458 Mass. 1. 6 (2010). Therefore, when a person borrows money to purchase a
       home and gives the lender a mortgage, the homeowner-mortgagor retains only equitable
       title in the home; tlie legal title is held by the mortgagee. See Vee Ja!J Realty Trust Co. v.
       DiCroce. 360 Mass. 251. z53 (1912), quoting Dolliver v. St. Joseph Fire & Marine Ins.
       Co.. 128 Mass. 315, 316 (1880) (altllough "as to all tile world except tlie mortgagee, a
       mortgagor is the owner of the mortgaged lands," mortgagee has legal title to property);
       Mqglione y. BancBoston Mtge. Co!J? .. 29 Mass. App. Ct. 88. go (1990). Where, as here,
       mortgage loans are pooled together in a trust and converted into mortgage-backed
       securities, the underlying promissory notes serve as financial instruments generating a

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       potential income stream for investors, but the mortgages securing these notes are still
       legal title to someone's home or farm and must be treated as such".

Written assignments are required by law and must be recorded, however, nobody followed the
law where your predecessors are concerned, and you may not overcome their errors. You are
mere debt collectors trying to cash in. I do not know how you have attached yourselves to me but
you better unattached yourselves forthwith.

G.L. c. 244 § 3sA states in pertinent part:
        "(j) A copy of the notice required by this section and an affidavit demonstrating
        compliance with this section shall be filed by the mortgagee, or anyone holding
        thereunder, in any action or proceeding to foreclose on such residential real property.

       (k) A copy of the notice required by this section shall also be filed by the mortgagee, or
       anyone holding thereunder, with the commissioner of the division of banks.
       Additionally, if the residential property securing the mortgage loan is sold at a
       foreclosure sale, the mortgagee, or anyone holding thereunder, shall notify the
       commissioner of the division of banks, in writing, of the date of the foreclosure sale and
       the purchase price obtained at the sale".

As a condition prior to a foreclosure, you are required by law to file an affidavit in the Registry
that you complied with this section. Any affidavit claiming to have complied would be blatant
fraud and a false, perjured affidavit. You cannot cure your predecessor's prior bad acts.

Vicarious liability attaches to you and yours.

You sent me a HAMP application, twice. There is no loan to modify. The mere fact that you sent
me those applications, demonstrates your deceptive acts to lull me into reaffirming the
discharge debt. You have to get up real early in the morning to pull the wool over my eyes. Do
not send me another one. You had your chance to modify this purported loan in April of 2009
when I first applied and four more times after that. Now you want another shot at the apple.
Stop the nonsense.

G.L. c. 244 § 35B(b) provides that:

       "A creditor shall not cause publication of notice of a foreclosure sale, as required by
       section 14, upon certain mortgage loans unless it has first taken reasonable steps and
       made a good faith effort to avoid foreclosure".

Section (f) provides:

       "Prior to publishing a notice of a foreclosure sale, as required by section i4, the creditor,
       or if the creditor is not a natural person, an officer or duly authorized agentof the
       creditor, shall certify compliance with this section in an affidavit based upon a review of
       the creditor's business records. The creditor, or an officer or duly authorized agent of the
       creditor, shall record this affidavit with the registry of deeds for the county or district
       where the land lies".

If you were to attempt to record any chain of title (assignments) or required affidavits in our
registry, you would be violating M.G.L.c. 266 § 35A, for knowingly recording a material false and
misleading document in said registry.

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G.L. c. 244 § 35C (b) .provides:

        •A creditor shall not cause publication of notice of foreclosure, as required under section
       14, when the creditor knows or should know that the mortgagee is neither the holder of
       the mortgage note nor the authorized agent of the note holder.

       Prior to publishing a notice of a foreclosure sale, as required by section 14, the creditor,
       or if the creditor is not a natural person, an officer or duly authorired agent of the
       creditor, shall certify compliance with this subsection in an affidavit based upon a review
       of the creditor's business records. The creditor, or an officer or duly authorized agent of
       the creditor, shall record this affidavit with the registry of deeds for the county or district
       where the land lies".

You are not an authorized agent because BONY bas no rights in my property therefore, they or
any other entity, could not have bestowed any rights upon you because they lacked authority to
bestow any rights whatsoever.

Section 35C further provides:

        (c) A creditor violates this chapter if the creditor imposes upon a third party the cost of
       correcting, curing or confirming documentation relating to the sale, transfer or
       assignment of a mortgage loan, including, but not limited to, costs related to curative
       actions taken because a foreclosure was commenced without the creditor's possession of
       a valid, written, signed and dated assignment evidencing the assignment of the
       mortgage, in violation of section 14. A third party may recover all of the third party's
       costs including reasonable attorneys' fees for having to correct, cure or confirm
       documentation.

       (d) A creditor violates this chqpter ifthe creditor makes statements to a
       state or federal court related to fureclosure or compliance with this
       chapter, orallu or in writina. that it knows or should know are false.
       including. hut not limited to. statements about the qJfering qfa loan
       modiJication. the borrower's histom ofpayments. the validitu qfthe
       aWgnment ofthe mortgage loan. that the creditor is the record holder of
       the mortgage foqn or tbe creditor's compliance with any otber
       requirements ofthis chapter. (Emphasis added)

        (e) A creditor violates this chapter if the creditor imposes a fee upon a borrower for
        goods not rendered or services not performed in connection with a foreclosure.

I have demonstrated clear evidence and proof of the legally invalid assignment recorded in my
registry.

If you persist, I will be coming after the money. The amount would be substantial whereas, the
purported note was satisfied many times over through the Ponzi scheme that is asset-backed
securitiration. The mortgage should have been discliarged long ago but you and your ilk aren't
happy with double dipping, you want to quadruple dip tenfold.



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G.L. c. 244 § 36 provides that:

       "If a mortgagee or person claiming or holding under him receives from rents and
       vrntits ofthe land. or upon a tender made to him, or in aliu other manner.~
       than is due on the mortgage, and no suit for redemption is brought against him, the
       mortgagor or other person entitled to such excess mau recover it in a civil
       qction". (Emphasis added)

M.G.L.c. 260 § 33 provides in pertinent part:

       "A power of sale in any mortgage of real estate shall not be exercised and an entry
       shall not be made nor possession taken nor proceeding begun for foreclosure of any such
       mortgage after the expiration of .... , s years from the expiration of the term or from the
       maturity date, unless an extension of the mortgage, or an acknowledgment or affidavit
       that the mortgage is not satisfied, is recorded before the expiration of such period".

       "Upon the expiration of the period provided herein. the mortgqge shaU be
       considered discharged for all purposes without the necessity offurther
       action bu the owner of the equity ofredemption or anu other persons
       having an interest in the mortgaged pl'Qpertu and. in the case Qfregistered
       JgmJ, upon the payment of the fee for the recording of a discharge, the mortgage shall be
       marked as discharged on the relevant memorandum of encumbrances in the same
       manner as for any other mortgage duly discharged". (Emphasis strongly added)

The note was accelerated in 2010, while BOA was dual tracking the Mod and their attempt:S to
foreclose. There was a demand for full payment more than five-years ago without extension of
the purported mortgage and no affidavit or acknowledgement recorded in a timely manner in
my registry. You are done. I will not even get into the UCC, however, pursuant to the UCC; your
predecessors' waived any claims you might have had long ago.

The Acts of 2015 c. 141, which amended c. 244 § 15, is not applicable here yet however, I would
read the text. Especially, (0 A material misrepresentation contained in an affidavit shall
constitute a violation of section 2 of chapter 93A·

Also, see Eaton v. Federal Nationa[Mortgage Association. 462 Mass. 569, 969 N.E.2d 1118
(2012).
        Note 2 is very important for you to understand. "The term "mortgage note" is used in this
        opinion to refer to the promissory note or other form of debt or obligation for which the
        mortgage provides security; and the term "note holder" is used to refer to a
        person or entity owning the ''mortgooe note." (Emphasis added) I filed an
        Amicus Brief in that case.

       Note 3" We acknowledge the amicus briefs filed by Adam J. Levitin, prose; WilmerHale
       Legal Services Center, National Consumer Law Center, and Paul Collier; Marie
       McDonnell; Real Estate Bar Association for Massachusetts, Inc., and Abstract Club
       (collectively REBA); John L. O'Brien, Jr., prose; Ablitt Scofield, P.C.; American Land
       Title Association; Mortgage Bankers Association; Suchand Reddy Pingli, pro se;
       Katherine McDonough, pro se; Robert P. Marleu. prose; Federal Housing Finance
       Agency; and Robert Napolitano, prose".

I also lobbied for and gave testimony for the Acts of 2.010 c. 258, an act relative to foreclosures.

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In Massachusetts, you must demonstrate your ownership in the note. Period. I have already
stated and demonstrated the reasons why, no one owns the Note and why you cannot enforce
tlie purported Note.

You cannot initiate any legal action whereas you are not a real party in interest.
I check my registry of deeds regularly. Ifl see any new recordings, I will immediately notify the
AG and go to the Essex County District Attorney's Office to file a criminal complaint

I cannot make it any clearer for you. Your attempts to defraud me must cease immediately.
Your threats to take my property without a legal right must stop immediately.
You have threatened to take a legal action that you cannot legally initiate.
You have threatened to foreclose on my property to enforce a lien that does not exist.

See 940 CMR 7.00 et seq.

7.04 provides that:

       (1) It shall constitute an unfair or deceptive act or practice for a creditor to contact a
       debtor in any of the following ways: (a) Threatening to sell or assign to another the
       obligation of a debtor with an attending representation or implication that the result of
       such sale or assignment would be that a debtor would lose any defense to the claim or
       would be subjected to harsh, vindictive or abusive collection attempts; (b) Threatening
       that nonpayment of a debt will result in: 1. Arrest or imprisonment of any debtor; or

        2. Seizure, garnishment, attachment, or sale of any property or wages of any person or
      . the taking of other action requiring judicial order without informing the debtor that
        there must be in effect a judicial order permitting such action before it can be taken or
        unless such action is lawful and the creditor intends to take such action; or

       3. Any action that cannot legally be taken or that is not intended to be taken.

       (m) Stating that the creditor will take any action, including legal action, which in fact is
       not taken or attempted on such debtor's account, unless an additional payment or a new
       agreement to pay has occurred within the stated time period. For purposes of 940 CMR
       7 .04(1)(m}, the time period in connection with such statement shall be presumed to
       expire 14 days from the date the statement is made, unless otherwise indicated by the
       creditor;

7.07: General Unfair or Deceptive Acts or Practices

       It shall constitute an unfair or deceptive act or practice to engage in any of the following
       practices to collect or attempt to collect any debt:

       (1} Any false representation that the creditor has information in his or her possession or
           something of value for the debtor.

       (2) Any knowingly false or misleading representation in any communication as to the
           character, extent or amount of the debt, or as to its status in any legal proceeding,
           provided, however, that an incorrect or estimated bill submitted by a gas or electric
           utility company regulated by M.G.L. c. 164, and the Department of Public Utilities
           shall not be prohibited by 940 CMR 7.07.

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    (5) The use, distribution or sale of any written communication which simulates, or
   which is falsely represented to be, or which otherwise would reasonably create a false
   impression that it was, a document authorized, issued or approved by a court, a
   government official or other governmental authority.
   (6) Any representation that an existing obligation of a debtor may be increased by the
   addition of attorney's fees, investigation fees, service fees, or any other fees or charges, if
   in fact such fees or charges may not legally be added to the existing obligation.

    (7) Any solicitation or obtaining of any written statement or
   acknowledgement in any form containing an affirmation of any obligation
   by a debtor who has been adjudicated bankrupt, without clearly and
   conspicuously disclosing the nature and consequences of such affirmation.
    (8) Any false, deceptive, or misleading representation, communication, or means in
    connection with the collection of any debt or to obtain information concerning a debtor.

    (9) Any false or misleading representation or implication that a sale, referral, or other
    transfer of any interest in a debt shall cause the debtor to: (a) lose any claim or defense
    to payment of the debt; or (b) become subject to any practice prohibited by 940 CMR
    7.<>0.

     (11) Communicating or threatening to communicate to any person credit information
    which is known or which should be known to be false including, without limitation, the
    failure to communicate that a disputed debt is disputed.

    (15) Using any business, company or organiration name other than the true name of the
   creditor's business, company or organiration.

   (16) The collection of any amount (including interest, fees, charges or expenses
   incidental to the principal obligation) unless such amount is expressly authorized by the
   agreement creating the debt or permitted by law.

    (18) Taking or threatening to take any non-judicial action to effect dispossession or
   disablement of property if: (a) there is no present right to possession of the property
   claimed as collateral through a court order or an enforceable security interest; (b) there
   is no present intention to take possession of the property; ( c) the creditor knows or has
   reason to know that demands for payment and/or legal notices were not directed to the
   debtor's current address; or (d) the property is exempt from seizure on execution
   because its value does not exceed the value for exemption set forth in M.G.L. c. 235, § 34,
   or the property is otherwise exempt by law from such dispossession or disablement; 940
   CMR 7.07(18)(d) shall not apply to first mortgage foreclosures properly conducted in
   accordance with Massachusetts law.

   (19) Taking possession of or selling upon execution property that is exempt from seizure
   on execution because its value does not exceed the value for exemption set forth in
   M.G.L. c. 235, § 34, or the property is otherwise exempt by law from such dispossession
   or disablement; 940 CMR 7.07(19) shall not apply to first mortgage foreclosures properly
   conducted in accordance with Massachusetts law.


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       (21) Reporting to a consumer reporting agency on transactions or experiences with a
       debtor in a name other than that of the creditor.

        (23) Requesting any information about the debtor or the debtor's accounts or assets
       other than information the creditor, in good faith, believes will assist in the collection of
       the debt owed to the creditor.
       (24) Collecting or attempting to collect from any person payment of any debt that the
       creditor knows, or has reason to know based on a good faith determination, is a time-
       barred debt, or seeking or obtaining from any person an admission, affirmation,
       acknowledgement of a new promise to pay, or any waiver oflegal rights or defenses with
       regard to any debt that the creditor knows or has reason to know is a time-barred debt,
       unless the creditor discloses that the debt may be unenforceable through a lawsuit
       because the time for filing suit may have expired, and that the debtor is not required by
       law to sign any admission, affirmation, or acknowledgement of, or new promise to pay
       the debt, or to make any payment on the debt, or to waive any rights with regard to the
       effect of the running of the applicable statute of limitations. (a) A creditor who makes
       the following disclosure shall be deemed to have complied with the requirements of 940
       CMR 7.07(24):

See also, 209 CMR 18.oo et seq. attached herewith. Read it in its entirety. You are violating our
CMR's.

Here is the bottom line. No valid transfer of the note or mortgage ever took place and you know
that. However, in order to steal my money and my property through deceptive acts and
practices, your predecessors' set out to commit fraud by creating and manufacturing a bogus
note, a bogus allonge to the bogus note and one bogus assignments of the mortgage and the note
and recorded that bogus assignment knowing it was bogus.

In addition, the only documentation you have to rely, are forged. No authority can pass to you
because BONY has no authority over the purported note and mortgage. No authority was
granted to any party claiming an interest because Omega did not transfer any rights, title or
interest. Omega no longer exists and did not exist when the July 13, 2ou assignment recorded.
The assignment is invalid for many reasons the least of which is that no entity had authority to
create, manufacture or record said fraudulent assignment. And those who recorded that
document commit fraud on the public and all the world with the intent to defraud me.

A forged document conveys nothing and it is void ab initio. A document created without
authority is also void ab initio.

Moreover, the fraudulent allonge to the note was not attached to the note in the time proscribed
bylaw. ·

The U.S. Bankruptcy Court for the District of Massachusetts held that an allonge must be
physically affixed to the original promissory note to be effective.

I have the purported original and no allonge is attached.

In In re: Lilia Shapoval. Case No. io-30175-HJB (Bankr. D. Mass. 2010), a debtor filed a
Chapter 13 bankruptcy case in the Bankruptcy Court. Among her debts was a mortgage held by
Wells Fargo. During the proceedings, the debtor objected to Wells Fargo's proof of claim for the


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     outstanding amount owed on the mortgage note, noting that the note attached to the proof of
     claim did not contain an i.ndorsement to Wells Fargo.

     After Wells Fargo filed a motion to lift the automatic stay under u U.S.C. § 362 (d)(1) and (2),
     the debtor filed an objection to the motion claiming that Wells Fargo lacked standing to pursue
     the claim because the original mortgage note was not properly indorsed to Wells Fargo. In
     response, Wells Fargo presented a copy of an allonge to the note that had been indorsed in
     blank. The debtor then argued that the allonge was ineffective because it had not been properly
     affixed to the original mortgage note.

     The Bankruptcy Court reviewed the pertinent provisions of the Uniform Commercial Code as
     adopted by the Massachusetts legislature, looking specifically at Mass. Gen. Laws c. io6, § 3-
     204, which defines what constitutes an indorsement to a negotiable instrument. The statute
     states that a signature on a paper affixed to the negotiable instrument may be considered a part
     of the instrument. Citing prior decisions in other jurisdictions, the Court held that an allonge
     must be physically attached to the original note to be effective. The Court, accordingly,
     concluded that a separate evidentiary hearing would be needed to determine whether the Wells
     Fargo allonge had properly been affixed to the note, and, therefore, whether Wells Fargo had
     standing to proceed with the Motion for Relief.

     Read the case and subsequent case law.

     "Under Mass. Gen. Laws ch. io6, § 3-204 (a), an indorsement of an allonge is invalid unless
     "affixed" to the mortgage note". fNRE lfARBORHOUSE OF GLOUCESI'ER. LLC, 505 B.R. 365
     (Bankr. D. Mass. 2014).

     BONY does not own a mortgage or a promissory note related to me. To assert such a claim is a
     deceptive act. To make such a false and misleading statement is intended to defraud me.

     Notwithstanding the above, the mortgage contract is void as a matter of law for fraud.

     I hope this letter helps you in your efforts to resolve this matter as you claim in your previous
     letter.

     Yours truly

     Bob Marley




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 JERRY SClflANOV
 BRUCE WILLIAMS
 SAUL SANDERS
 LEWIS RANIERI
 SCOTISHAY
 YALE STARK
 SHELLPOINT MORTGAGE SERVICING
 P.O.BOX 1410
 TROY, MI 48099

 DATED: NOVEMBER 30, 2015

 SENTVIA: FAX TO 866-467-1137

 RE: ANOTHER FALSE AND MISLEADING LEITER DATED NOVEMBER 25, 2015

 Dear CEO and Board Members:

 Today I received another false and misleading communication from your employees, attached
 herewith.
 I am not wasting my time sending you any documentation. You will demonstrate a complete
 unbroken chain of title to BONY. Period. You will demonstrate and prove your claim.

 I have cited the pertinent laws concerning what is required in Massachusetts prior to any notice
 from you. You cannot meet the condition precedent to send me any legal notices whatsoever
 concerning a loan that might have once been due, but no longer.

 Moreover, BONY has no valid lien on my property because none perfected.

 The fraud department at BOA agreed the signatures on the Allonge to the Note are forgeries and
 therefore, of no moment and void as a matter of law. Therefore, no valid transfer of the note ever
 .took place. More importantly, there was no valid assignment of the mortgage.

 Your in-house counsel can peruse the record and exhibits in the docket from the previous action.
 All the evidence is there.

 When you produce for me the chain of title to BONY, then and only then, will we have
 discussions related to the fraud in the contracts.

· When there is a break in the chain of title all rights revert to the assignee prior to the break and
  that would be Omega Mortgage, however, they went defunct in December of 2010. The dead can
  perform no acts from the grave.


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No entity perfected a lien on my property. That is a legal fact. No lien was perfected through the
PSA. The schemers failed to file a financial statement in New York and in Massachusetts as
require by law and pursuant to the PSA, inter alia, to perfect a security interest or a lien. You can
check for yourself. I have the records from the UCC in NY and MA Moreover, BONY failed to
Record the mortgage 30-days from receiving the purported mortgage loan as required by law
and the PSA, inter alia, in my Registry. That should have been done in January of 2005 and was
not.

The package I received today is not evidence and merely copies of some purported contract;
forgeries at best. I did not sign those documents. Produce the wet ink originals with proof of
negotiation and release of dominion and control over the Note and Mortgage to the Trust and
produce all the written assignments of the mortgage contract down through the securitization
chain. Do not create them whereas they must already exist. Business records and all that. Do
not alter them. That would conflict with what is already in the public record and the court.

One more thing about the Allonge to the Note; I have received three different versions of the
Note. Two byway of a QWRpursuant to RESPA in 2010. It wasn't until we were in court that
counsel produced the fraudulent allonge to the note. However, what is remarkable is that, there
were no staple holes or any holes at all in the Note they claimed to be a true copy of the original
nor were there any holes in the Allonge. The package you sent me has holes in the Note and the
Allonge. Please explain that. The Allonge must be permanently affixed to the Note or it is of no
moment and worthless. Further, I got Lauri Meder's signature from her mortgage, recorded in
the Ventura County Land Records in California and David Spector's, from the Secretary of
State's Office in Maryland. They are completely different from the signatures on the Allonge. I
also sent those for analysis. Forgeries. Moreover, pursuant to the national Mortgage Settlement,
rubber stamps are invalid. You are bound by that settlement.

The assignment in which MERS also purportedly assigned the Note is void as a matter oflaw for
Fraud.                                                      ·

I have 14 different variations of Beverley Brooks' signature that I submitted to the court. I have
dozens of assignments from across the country with Irma Diaz's signature. The thing is, Irma's
are all exactly the same; an impossibility. Again, I had those analyzed and they are computer
generated. Therefore, no one appeared before anyone to sign anything. Moreover, the Note
cannot be assigned and must be negotiated for a price and MERS is not a party to the Note and
had no authority to assign anything, much less the Note. The July 13, 2011 assignment is a
forgery and was knowingly recorded as a forgery to. demonstrate some :fictitious interest in my
property.

I am nobody's fool and I educate lawyers on the minute detail of the Ponzi scheme that is asset-
backed securitization.

The Milestones report from MERS demonstrates the no assignment to BONY ever took place in
a timely manner and therefore, the players committed securities fraud when they sold mortgage-
backed securities backed by a loan they never owned or had dominion and control over the said
mortgage loan. Once Omega registered the loan on MERS, it just sat there for years. Neither
Omega nor any other party sent a batch transfer to BONY within the 14 day of registering the
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purported mortgage as required . BONY never accepted said transfer or rejected said transfer
after an inspection of the loan doc's for fraud or any other problems as required by law and the
PSA.

I have put you on notice of the fraud and have given you more information than I intended.

Produce the evidence required to demonstrate a valid lien that you claim BONY has or stop
harassing me.

I am having the mortgage discliarged judicially. Neither you or BONY are respondents in the
Petition whereas, you have no legal standing to enter a court of law in Massachusetts. You have
not suffered injury in fact nor has BONY and you :ire not real parties in interest. You can make
no claim against my property or me and to attempt such a claim would be tantamount to fraud
upon the court. The undisclosed third party co-obligators to the contracts satisfied the debt long
ago. Moreover, your only move legally would be to file an in rem action in court. You cannot
initiate a non-judicial foreclosure for the reasons I have already stated and pointed out for you
unequivocally. Read the laws in Massachusetts.

If you would like to get down to the nuts and bolts of the money you claim was due which was
secured by the lien, then in the end this is what I will be seeking. M.G.L.c. 244 § 36 provides;

" Ii a mortgagee or person claiming or holding under him receives from rents and profits of the
land, or ui)on a tender made to him, or in anu other manner, more than is due on the
mortgage, and no suit for redemption is brought against him, the mortgagor or other person
entitled to such excess may recover it in a civil action".

When we add up all the Overages paid, the manipulated LIBOR, the Insurance payouts, the loss
claimed with the IRS, the Credit Default Swaps, The money from the Nims insurer, no money is
due, and has been due for a long time. Therefore, there is no lien to enforce and the normal
course of action when the Note is satisfied; a satisfaction of mortgage is recorded in our Registry
and the Note is returned stamped paid in full.

I demand that you produce a valid chain of title making BONY mortgagee by assignment in
accordance with Massachusetts Law. Nothing else will suffice. What you have sent to me, means
nothing and carries no legal weight. I want every document certified and I want all the affidavits
required under our laws. Let me know when I can view the wet·ink originals. Furthermore, once
I review them, I want them tested for age, ink, and paper, inter alia. We can agree in writing that
the documents, Note and Mortgage are the originals, make certified copies and send the original
for analysis to the FBI lab or the Secret Service, either will oblige.

Pick one of the blood-sucking lawyers here in MA to use as your·go between and send the doc's
to them. Make sure you track all documents from wherever they are purportedly stored to the
law firm. I want a verifiable custodial record from 2004 to present date. I want to know
everywhere the Note and Mortgage went and when.




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My biggest question is, if the Note was not securely within the trust vault in 2004, then where
was it and what did they use it for? It certainly wasn't used to back the certificates. What may I
ask? That is the 64-million dollar question. Who would not protect Trillions of dollars' worth of
Promisoory Notes? Systemic. My situation is not unique but alas, the general public is oblivious.
I am not. Let me open this can of worms, I dare you.

The only attempt to transfer the mortgage loan to BONY was after I filed suit and after the
District Court denied BOA et al's, motion to dismiss. That is when the fraud began related to the
transfer of the Note and Mortgage, on December 17, 2010, and ended with the fraudulent
assignment created on June 30, 2011 and recorded on July 13, 2011. If an assignment existed in
2004, one would not have been created on June 30.

To put you on further notice of your attempts to defraud me read infra.

You are violating inter alia, M.G.L. c. 266 § 30; M.G.L.c. 266 § 3sA; M.G.L. c. 266 § s3A See
also, G.L. c. 2'JlA et seq. which incorporates 18, U.S.C. s. 1961(1)(A)(B) and (D)

Again, M.G.L.c. 266 § 3sA provides in pertinent part,

"(4) files or causes to be filed with a registrar of deeds any document that contains a material
statement that is false or a material omission, knowing such document to contain a material
statement that is false or a material omission, shall be punished by imprisonment in the state
prison for not more than 5 years or by imprisonment in the house of correction for not more
than 2 and one-half years or by a fine of not more than $10,000 in the case ofa natural person
or not more than $100,000 in the case of any other person, or by both such fine and
imprisonment.

Any person who engages in a pattern of residential mortgage fraud shall be punished by
imprisonment in the state prison for not more than 15 years or by a fine of not more than
$so,ooo, in the case of a natural person, or not more than $soo,ooo in the case of any other
person, or by both such fine and imprisonment

You are also violating inter alia, 18 USC c. 63 § 1349 which provides, "Any person who attempts
or conspires to commit any offense under this chapter shall be subject to the same penalties as
those prescribed for the offense, the commission of which was the object of the attempt or
conspiracy".

You are violating 18 USC c. 1341 which provides, "Whoever, having devised or intending to
devise any scheme or artifice to defraud, or for obtaining money or property by means of false or
fraudulent pretenses, representations, or promises, or to sell, dispose of, loan, exchange, alter,
give away, distribute, supply, or furnish or procure for unlaWful use any counterfeit or spurious
coin, obligation, security, or other article, or anything represented to be or intimated or held out
to be such counterfeit or spurious article, for the purpose of executing such Scheme or artifice or
attempting so to do, places in any post office or authorized depository for mail matter, any
matter or thing whatever to be sent or delivered by the Postal Service, or deposits or causes to be
deposited any matter or thing whatever to be sent or delivered by any private or commercial
interstate carrier, or takes or receives therefrom, any such matter or thing, or knowingly causes

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to be delivered by mail or such carrier according to the direction thereon, or at the place at
which it is directed to be delivered by the person to whom it is addressed, any such matter or
thing, shall be fined under this title or imprisoned not more than 20 years, or both. If the
violation occurs in relation to, or involving any benefit authorized, transported, transmitted,
transferred, disbursed, or paid in connection with, a presidentially declared major disaster or
emergency (as those terms are defined in section 102 of the Robert T. Stafford Disaster Relief
and Emergency Assistance Act (42 U.S.C. 5122)), or affects a financial institution, such person
shall be fined not more than $1,000,000 or imprisoned not mo~e than 30 years, or both".

You are violating 18 U.S.C. § 1342 which provides, "Whoever, for the purpose of conducting,
promoting, or carrying on by means of the Postal Service, any scheme or device mentioned in
section 1341 of this title or any other unlawful business, uses or assumes, or requests to be
addressed by, any fictitious, false, or assumed title, name, or address or name other than his
own proper name, or takes or receives from any post office or authorized depository of mail
matter, any letter, postal card, package, or other mail matter addressed to any such fictitious,
false, or assumed title, name, or address, or name oilier than his own proper name, shall be
fined under this title or imprisoned not more than five years, or both".

You are violating 18 U.S.C. § 1343 which provides, "Whoever, having devised or intending to
devise any scheme or artifice to defraud, or for obtaining money or property by means of false or
fraudulent pretenses, representations, or promises, transmits or causes to be transmitted by
means of wire, radio, or television communication in interstate or foreign commerce, any
writings, signs, signals, pictures, or sounds for the purpose of executing such scheme or artifice, ·
shall be fined under this title or imprisoned not more than 20 years, or both. If the violation
occurs in relation to, or involving any benefit authorized, transported, transmitted, transferred,
disbursed, or paid in connection with, a presidentially declared major disaster or emergency (as
tltose terms are defined in section 102 of the Robert T. Stafford Disaster Relief and Emergency
Assistance Act (42 U.S.C. 5122)), or affects a financial institution, such person shall be fined not
more than $1,000,000 or imprisoned not more than 30 years, or both".

All documents related to this matter have been transmitted inter alia, tltrough the wire and mail
service.

You have violated 18 U.S. Code§ 513 which provides in pertinent part,
"(a) Whoever makes, utters or possesses a counterfeited security of a State or a political
subdivision thereof or of an organization, or whoever makes, utters or possesses a forged
security of a State or political subdivision thereof or of an organization, witlt intent to deceive
another person, organization, or government shall be fined under this title [1] or imprisoned
for not more than ten years, or both.

(b) Whoever makes, receives, possesses, sells or otherwise transfers an implement designed for
or particularly suited for making a counterfeit or forged security witlt the intent that it be so
used shall be punished by a fine under this title or by imprisonment for not more than ten years,
or both.
(c) For purposes of this section-

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   Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 126 of 168




(1) the term "counterfeited" means a document that purports to be genuine but is not, because it
has been falsely made or manufactured in its entirety;

(2) the term "forged" means a document that purports to be genuine but is not because it has
been falsely altered, completed, signed, or endorsed, or contains a false addition thereto or
insertion therein, or is a combination of parts of two or more genuine documents; And,

You have \ifblated 18 USC§ 514 which provides,

(a) Whoever, with the intent to defraud-

(1) draws, prints, processes, produces, publishes, or otherwise makes, or attempts or causes the.
same, within the United States;

(2) passes, utters, presents, offers, brokers, issues, sells, or attempts or causes the same, or with
like intent possesses, within the United States; or

(3) utilizes interstate or foreign commerce, including the use of the mails or wire, radio, or other
electronic communication, to transmit, transport, ship, move, transfer, or attempts or causes the
same, to, from, or through the United States, any false or fictitious instrument, document, or
other item appearing, representing, purporting, or contriving through scheme or artifice, to be
an actual security or other financial instrument issued under the authority of the United States,
a foreign government, a State or other political subdivision of the United States, or an
organization, shall be guilty of a class B felony.

(b) For purposes of this section, any term used in this section that is defined in section 513 (c)
has the same meaning given such term in section 513 (c).

(c) The United States Secret Service, in addition to any other agency having such authority, shall
have authority to investigate offenses under this section.               ·

The balls in your court, no pun intended.




Sincerely Yours

Bob Marley




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  Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 127 of 168



ROBERT MARLEY
18 LAKEVIEW DR.
LYNNFIELD, MA 01940
781-844-3044
robertmarleyl9 58@verizon.net

JERRY SCHIANOV
BRUCE WILLIAMS
SAUL SANDERS
LEWIS RANIERI
SCOTT SHAY
YALE STARK
SHEllPOINT MORTGAGE SERVICING
P.O.BOX 1410
TROY, MI 48099

DATED: NOVEMBER 29, 2015

SENTVIA: FAXT0866-467-1137

RE: FALSE AND MISLEADING LEITER

Dear CEO and Board Members:

This is my response to your false and misleading letter that I received on November 28, 2015.
See attached letter.

   1.   There is no mortgage loan outstanding.

   2.   BNY does not own anything belonging to me, much less a mortgage loan. Therefore, you
        are making false statements when you state that BNY is the owner of my loan.

   3. There is no loan, and none with the loan number set forth on the attached letter.

   4. You do not service any loan related to me because none exists in any legal form.

   5. I did not request any information from you.

   6. I demanded that you stop your predatory attempts to collect a debt that is not due or
      owed.

   7. The only way BNY would be the mortgagee by assignment would be if an assignment
      legally existed, one does not. BNY has no rights or interest in my property.

   8. I am glad you realize the difference between the rest of the states in this country and MA,
      whereas, in MA it is not the holder in due course but the owner that matters in the legal
      sense, which would convey legal standing.

   9. The signatures on the assignment are forgeries and Irma Diaz committed perjury and
      violated her oath of office when and if she acknowledged Beverley Brooks signature,
      whereas Brooks never appeared before Diaz and signed any document related to my
      property. Moreover, the Milestones Report demonstrates that no assignment ever took
                                                 1
Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 128 of 168



      place in a timely manner to BNY giving them legal standing in any mortgage related to
      me. The assignment created on June 30, 2011 and recorded on July 13, 2011, is void as a
      matter oflaw for fraud.

10.   You cannot send me any valid notices related to the discharged debt whereas, you cannot
      meet the condition precedents pursuant MA Laws prior to any notice.

11. The assignment that BNY would rely is void as a matter oflaw for fraud. Anyone acting
      on that assignment fraudulently recorded in the Registry would be guilty of attempted
      larceny, inter alia.

12.   Any attempt to record in my registry, a complete chain of title evidencing some legal
      right will be met with the appropriate measures.

13.   The note is unenforceable for many reasons but one of import is that the allonge to the
      note was not permanently affixed to the note and it is undated with rubber stamped
      forged signatures. Once your cohorts forged those signatures on the note, the note
      became unenforceable and void because of the forgery and alteration.

14. BOA already admitted the signatures were fraudulent.

15. BOA already admitted that no party perfected an interest in my property in a timely
      manner.

16. Stop harassing me. Stop your unlawful attempts to collect on a nonexistent debt; Stop
    making false claim and misleading statements; Stop telling me that BNY owns my
    mortgage loan when no loan exists; and Stop telling me you service some loan for BNY
    when no loan exists.         ·

17. Have Bank of New York produce a chain of title, pursuantto M.G.L. that would
      demonstrate they are mortgagee by as.signment, with all the required affidavits,
      forthwith.

18. [want a certified copy of the wet ink note and mortgage, that you claim is due, and then [
    want to review the original wet ink documents (the Contracts) in person, at a location
    of my choosing. This will be a nifty feat if you can somehow sneak in all the missing
    assignments and endorsement's that are missing from the documents I have through
    discovery and somehow create a chain of title in the Registry of Deeds.

19- A mere copy of the Promissory Note is counterfeit; carries no weight, and is of no
    moment. Would you accept a pile of copied hundred dollar bills to satisfy one of you
    outstanding owed debts? I think not. The Note has tlie same protections as a one-
    hundred dollar bill and if you alter that note, or make copies to pass off as tlie original,
    tliat is a crime, that comes under tlie control of tlie United States Secret Service.

20. There    can only be one Note. In addition, if you somehow converted that note into
      electric form and destroyed the original, you did so without my consent, which said
      consent is required by law.

21.   I could go on and on and point out the many violations, but will not, whereas, I have
      communicated enough information to you so that you can make an informed decision on
      how you should proceed. If you refer this matter to your outside counsel and they

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   attempt any legal action, I will have them disbarred for continuing to perpetrate your
   fraud and their attempts to commit larceny. See the Rules of Professional Conduct, Rule
   307 et seq. Particularly see the following:

   Rule 4.1: Truthfulness in Statements to Others

   In the course of representing a client a lawyer shall not knowingly:

   (a) make a false statement of material fact or law to a third person; or

   (b) fail to disclose a material fact to a third person when disclosure is necessary to avoid
   assisting a criminal or fraudulent act by a client, unless disclosure is prohibited by Rule
   1.6.

   Adopted March 26, 2015, effective July 1, 2015.

   Comment

   Misrepresentation
   [1] A lawyer is required to be truthful when dealing with others on a client's behalf, but
   generally has no affirmative duty to inform an opposing party of relevant facts. A
   misrepresentation can occur if the lawyer incorporates or affirms a statement of another
   person that the lawyer knows is false. Misrepresentations can also occur by partially true
   but misleading statements or omissions that are the equivalent of affirmative false
   statements. For dishonest conduct that does not amount to a false statement or for
   misrepresentations by a lawyer other than in the course of representing a client, see Rule
   8.4.
   Statements of Fact
    [2] This Rule refers to statements of fact. Whether a particular statement should be
    regarded as one of fact can depend on the circumstances. Under generally accepted
    conventions in negotiation, certain types of statements ordinarily are not taken as
    statements of material fact. Estimates of price or value placed on the subject of a
    transaction and a party's intentions as to an acceptable settlement of a clainl are
    ordinarily in this category, and so is the existence of an undisclosed principal except
    where nondisclosure of the principal would constitute fraud. Lawyers should be mindful
  · of their obligations under applicable law to avoid criminal and tortious
    misrepresentation.

   Crime or Fraud by Client
   [3] Under Rule 1.2(d), a lawyer is prohibited from counseling or assisting a client in
   conduct that the lawyer knows is criminal or fraudulent. Paragraph (b) states a specific
   application of the principle set forth in Rule L2(d) and addresses the situation where a
   client's crime or fraud takes the form of a lie or misrepresentation. Paragraph (b)
   recognizes that substantive law may require a lawyer to disclose certain information to
   avoid being deemed as having assisted the client's crime or fraud In paragraph (b) the
   word "assisting" refers to that level of assistance which would render a third party liable
   for another's crime or fraud, i.e., assistance sufficient to render one liable as an aider or

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   Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 130 of 168




        abettor under criminal law or as a joint tortfeasor under principles of tort and agency
        law. The requirement of disclosure in this paragraph is not intended to broaden what
        constitutes unlawful assistance under criminal, tort or agency law, but instead is
        intended to ensure that these Rules do not countenance behavior by a lawyer that other
        law marks as criminal or tortious.

        [4) Paragraph (b) requires a lawyer in certain circumstances to disclose material facts to
        a third person "unless disclosure is prohibited by Rule i.6." Rule i.6(a) prohibits
        disclosure 'of confidential information relating to the representation of a client unless the
        client consents or the disclosure is impliedly authorized to carry out the representation.
        Rule 1.6(b), however, gives the lawyer permission to disclose confidential information
        without client consent in certain circumstances. For example, under Rule 1.6(b)(2), a
        lawyer may reveal confidential information to prevent a criminal or fraudulent act that is
        likely to result in substantial injury to the property of another. If Rule 1.6(b) gives a
        lawyer permission to make disclosure, then disclosure is not prohibited by Rule 1.6, and
        disclosure under paragraph (b) of this Rule is mandatory. If Rule 1.6(b) does not give
        permission to disclose - as in the previous example when the injury from a criminal or
        fraudulent act is not "substantial" - then the disclosure requirement of Rule 4.1(b) does
        not apply. See Rule i.6, Comment 6A Even if Rule i.6 prohibits disclosure, the lawyer
        may have other duties, such as a duty to withdraw from the representation. See Rule
        i.2(d) and Rule i.16(a)(1).

        There are other Rules your counsel must abide by and more often than not, do not,
        because no one holds their feet to the fire, but I will, make no mistake.



Kindly resolve this matter forthwith.



Yours

Bob Marley




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Jack Navarro
Jerry Schlanov
Bruce Williams
Saul Sanders
Lewis Ranieri
Scott Shay
Yale Stark

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Greenville, SC 29601
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F: 866-467-1137

Shellpoint Partners
TWo Grand Central Tower ·
i40 E. 45th Street, 37th F1.oor
New York,NY10017
P. 212-850-7700
F: 212-850-7770

Sent VIA Fax

Dated: Januaiy 3, 2016

RE: Lack of perfection of security interest or lien

Dear Officials:
Furthermore, out of the CWMBS individual trusts that BONY is the purported trustee for, there
were only 21 UCC recordings. Out of the 21, only 5, had a continuation statement recorded.
None of which include CWMBS 2004-29. As I stated many time, there is no perfected security
interest or lien. There is no legal way to perfect one now. Nor was there any legal way to perfect
one prior to my bankruptcy. The requirement is waived and time barred.

See attached UCC recordings for the Depositor CWMBS Inc. and then read my paper if you have
not. There are no filings for CHL 2004-29. However, more importantly, tlie MA UCC is oomplete
void of filings. Your predecessors were required as a matter of law to perfect in both states.
ucc Last visited today.




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    Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 132 of 168




                                          New York State Department of State
                                             Uniform Commercial Code
                                                   Filing Data Report




Name of Secured Party Organizaton Searthed:

        CONTAINS CWMBS *All Filings



                                    Your name selection(s) has returned 21 filing histories.
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                                                                                                                                                  Financing Statement                                           2                 View

;          Dobtor                   COUNTRYWIDE HOME                                                                   4500 PARK GRANADA, MS CH-143, CALABASAs,
    19
i     ·    Names:                   LOANS, INC.                                                                                      CA 91302, USA
           Sotaml                                                                                                      4500 PARK GRANADA, MS CH-143, CALABASAS, '
           Party                    CWMBS, INC.
           Names:                                                                                                                    CA 91302, USA

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                                    COUNTRYWIDE HOME LOANS,                                                               4500 PARK GRANADA, CALABASAs, CA 91302, '


           -
:20.Names:
'
                                    INC.                                                                                                                                       USA                                                                  '
                                                                                                                             4500 PARK GRANADA, CALABASAS, CA 91302,
           P arty                   CWMBS,INC.
           NaDMS:                                                                                                                            USA

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                                    COUNTRYWIDE HOME WANS,                                                                   4500 PARK GRANADA, CALABASAs, CA 91302, :
:11._
' lldllDI'
                                    INC                                                                                                                                           USA
           s.m...i                                                                                                           4500 PARK GRANADA, CALABASAS, CA 91302,
           Party                   CWMBS,JNC.
           Names:                                                                                                                            USA




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Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 136 of 168




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Robert P. Marley
18 Lakeview Drive
Lynnfield, MA 01940
781-844-3044
robertmarleyl 958@veriwn.net

Jack Navarro
Jerry Schianov
Bruce Williams
Saul Sanders
Lewis Ranieri
Scott Shay
Yale Stark

Shellpoint Mortgage Servicing
55 Beattie Place, Suite no
Greenville, SC 29601
P: 866-316-4706
F: 866-467-1137

Shellpoint Partners
Two Grand ~ntral Tower
140 E. 45th Street, 37th Floor
New York, NY 10017
P. 212-850-7700
F: 212-850-7770

Sent VIA Fax

Dated: January 4, 2016

Dear Officials:


In addition, Saul Sanders, your own documents filed under oath, which you signed, recognize
the defects w~re my matter is concerned. See your Form S-3/A. Specifically see pages S-8 to S-
36.
I hope you did not buy this toxic waste for pennies on the dollar and re-securitized said toxic
waste. That would invoke all kinds of new violations oflaw.



Yours



Bob Marley
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Robert P. Marley
18 Lakeview Drive
Lynnfield, MA 01940
781-844-3044
robertmarley1958@verizon.net

Jack Navarro
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Greenville, SC 29601
P: 866-316-4706
F: 866-467-1137

Shellpoint Partners
Two Grand Central Tower
140 E. 4sth Street, 37th Floor
New York, NY 10017
P. 212-850-7700
F: 212-850-7770

Sent VIA Fax

Dated: January 3, 2016

RE: AMignment Referred to in Your December 28, 2015 Letter
Dear Officials:
I am aware of the assignment and assumption agreement and had it before you made reference
to it. See attached Assignment and Assumption Agreement signed by you on June 13, 2014.
However, as I have previously stated and proved, BOA had no authority to assign anything
related to me, to you. More skullduggeries and a fraudulent attempt to create a fictitious paper
trail.
        Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 139 of 168




                                ASSIGNMENT AND ASSUMP'flON AGREEMENT

This Assignment and Assumption Agreemen[ (the "Assignment and Assumotion Agreemen[") is entered into as of
 711/Z014            by     and    between          Ban•at _ _ _
                                               ,..-,-~-::---:-~~~~~~~~~~~~~~~~~~~~


("Assignor") and NowPonn-.U.CdbaShellpointM""9age-                                              ("Assignee"). All
terms used, but not defined, herein shall have the meanings ascribed to them in the Underlying Agreement (defined
below).

WHEREAS, Assignor and Federal National MQrtgage Associa!ion, a federally chnrtercd corporation, as financial agcru of·
the United States ("Fannie Mae"), are parties ro a Comminnent to Purchase Financial Instrument and Servicer
Participation Agreement, a complete copy of which (including aU exhibits, amendments and modifications thereto) is
attached hereto and incorporated herein by this referen.ce (the ''Underlying Agreement");

WHEREAS, Assignor has agreed to assign to Assignee all of its rights and obligations under the Underlying Agreement
with respect to the Eligible Loans that are identified on the schedule attached hereto as Schedule I (collectively, the
"Assigned RighJs and Oblimrtjons"); and

WHEREAS, Assignee has agreed to assume the Assigned Rights and Obligations.

NOW, THEREFORE, for good and valuable consideration, !he receipt and sufficiency of which are hereby
acknowledged, the parties hereto agree os follows:

I. Assignment. Assignor hereby assigns to Assignee all of Assignor's rights and obligations under the Underlying
Agr)'ement with respect to tbe·Assigned Rights and Obligations.

2. Assurgption. Assignee hereby accepts the foregoing assignmenr and assumes all of the rights and obligations of
Assignor under the Underlying Agreement with respect to the Assigned Rights and Obligations.

3. Effective Date. The date on which the assignment and assumption of rights and obligations under the Underlying
Agreement is effuctive is_1;...11QJJ_,._ _ _ _ _ _ _.

4. SucccSSQrs. A II future transfers ond assignments of the Assigned Rights end Obligations 1ransterred and assigned
hereby are subjCcr to the transfer and assignment provisions of the Underlying Agreement. T his Assignment and
Assumption Agreement shall inure to the benefit of, and be binding upon, the permitted successors and assigns of the
parties hereto.

S. Countemarts. This Assignment and Asswnption Agreement may be executed in counterparts, each of whicb shall be
an original, but.all of which together constitute ooe and the same instrument.




                                                          E-1                                         Last updated·. 04/15/l.2
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IN WITNESS WHEREOF, Assignor and Assignee, by their duly authorized officials, hereby c~ecute and deliver this
Assignment and Assumption Ag,reernent, together with Schedule 1, effecti"e as of the date set forth in Section 3 above.
  Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 141 of 168




Veri~on Messa!Je Center



                                                                                            t riday, Dec 4 at 6:'14   .~M

From:              Bob Marley <robertmal1ey1958@verizon.net>
To:                Lossmitigation@shelipoinimtg.com
Subject:           Foreclosure Manual

Dear CEO and Board Members:
I forgotto demand one important item from you. I demand a copy of your foreclosure manual and your manual for
outside counsel.
Do not tell me you do not have one whereas, I have BOA's and Wells Fargo's. And, I must say, those manuals are
oulnlgeous. A road map for blatant fraud.
I would like to see what your procedures call for when there exists no valid chains of title or proof of a valid lien.
Especially as it relates to missing assignments, negotiations and delivery of the assets to the Trust. I would like to
know what company you use to create the missing documents.
Perhaps you use Core Logic. There would have to be a minimum of four proof of negotiation and deliveries and
four written assignments of the purported mortgage. Keep in mind the record was submitted to a court oflaw and
to me through 12 USC sec 1605(e). One forged assignment is in the record.
Bob Marley
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~K'liz!!!I
Verizon Message Center


                                                                                       Wednesday, Dec 2 at 5:46 AM

From:              Bob Martey <robertmartey1958@verizon.net>

To:                Lossmitigation@shellpointmtg.com

Subject:           Read the attached paper



Dear CEO and Board Members:


! wrote sorne musings for the lawyers in 1ny circle ta educate then1. K'indly read the attached Paper.
It was not written per-se for the laymen
Pay close attention to what I have written because that is what you have to overcome.
I see by your profiles that you are all or were participant's in the Ponzi scheme that is asset-backed securities
No certificate was ever backed by any mortgage purportedly place in some bogus trust.


Bob Marley
Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 143 of 168




~lfCrize!'
Verizon Message Center


                                                                                           Sunday, Nov 22 at 12:27 PM
From:               Bob Marley <robertmartey1958@venzon.net>
To:                 lossmitigation@sheBpointmtg.com
Subject:            Forged Promissrny Note



DearCEO:

This is to put you on notice that you are in possession of a forged and altered promissory note and a forged and
false assignment of the note and the purported mortgage.

I want you to be aware of the Laws in Massachusetts concerning you attempts to defraud me and your attempts to
comn1it larceny.

M.G.L.c. 2.67 Section i pro,ides that: "Whoever, with intent to injure or defraud, falsely makes, alters, forges or
counterfeits a public record, or a certificate, return or attestation of a clerk or register of a court, public register,
notary public, justice of the peace, town clerk or any other public officer, in relation to a matter wherein such
certificate, return or attestation may be received as legal proof; or a charter, deed, will, testament, bond or writing
obligatory, power of attorney, policy of insurance, bill oflading, bill of exchange or promissory note; or an order,
acquittance or discharge for money or other property or a credit card or an instrument described as a United States
Dollar Traveller's Check or Cheque, purchased from a bank or other financially responsible institution, the purpose
of which is a source of ready money on cashing the instrument without identification other than the signature of
the purchaser; or an acceptance of a bill of exchange, or an endorsement or assignment of a bill of exchange or
promissory note for the payment of money; or an accountable receipt for money, goods or other property; or a
stock certificate, or any evidence or munirnent of title to property; or a certificate of title, duplicate certificate of
title, certificate issued in place of a duplicate certificate, the registration book, entry book, or any indexes provided
for by chapter one hundred and eighty-five, or the docket of the recorder; shall be punished by imprisonment in
the state prison for not more than ten years or in jail for not more than two yiiars".

Section 5 provides that: "Whoever, with intent to injure or defraud, utters and publishes as true a false, forged or
altered record, deed, instrument or other writing mentioned in the four preceding sections, knowing the same to
be false, forged or altered, shall be punished by imprisonment in the state prison for not more than ten years or in
jail for not more than two years".

Section IO provides that: "Whoever utters or passes or tenders in payment as true any such false, altered, forged or
counterfeit note, certificate or bill of credit for any debt of the commonwealth, or a bank bill or promissory note
payable to the bearer thereof or to the order of any person, issued as aforesaid, or an instrument descnDed as a
United States OQI!ar Traveller's Check or Cheque, purchased from a b~k or other financially responsible
institution, the purpose of which is a source of ready money on cashing the instrument without identification other
than the signature of the purchaser, knowing the same to be false, altered, forged or counterfeit, with intent to
injure or defraud, shall be punished by imprisonment in the state prison for not more than five years, or by a fine
of not more than one thousand dollars and imprisonment in jail for not more than one year".

This is a big one for you. Section 16 provides that: "lf a fictitious or pretended signature, purporting to be the
signature of an officer or agent of a corporation, is fraudulently affixed to an instrument or writing purporting to
be a note, draft or other evidence of debt issued by such corporation, with intent to pass the same as true, it sliall
be a forgery, although no such person may ever have been an officer or agent of such corporation, or ever have
existed".

M.G.L. c. 274 Section 6 provides that: "Whoever attempts to commit a crime by doing any act toward its
commission, but fails in its perpetration, or is intercepted or prevented in its perpetration, shall, except as
otherwise provided, be punished as follows:
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First, by imprisonment in the state prison for not more than ten years, ifhe attempts to commit a crime punishable
with death.

Second, by imprisonment in the state prison for not more than five years or in a jail or house of correction for not
more than two and one half years, if he attempts to commit a crime, except any larceny under section thirty of
chapter two hundred and sixty-six, punishable by imprisonment in the state prison for life or for five years or
more.

Third, by imprisonment in a jail or house of correction foroot more than one year or by a fine ofnot more than
three hundred dollars, if he attempts to commit a crime, except any larceny under said section thirty, punishable
by imprisonment in the state prison for less than five years or by imprisonment in a jail or house of correction or
bya fine ..

Fourth, by imprisonment in a jail or house of correction for not more than two and one half years or by a fine, or by
both such fine and imprisonment, if he attempts to commit any larceny punishable under said section thirty".

M.G.L.c. 266 Section 34 provides that: "Whoever, with intent to defraud and by a false pretence, induces another
to part with property of any kind or with any of the benefits described in sections 33 and 33A shall be guilty of
larceny".

Section 3sA (b) provides that: "Whoever intentionally: (1) makes or causes to be made any material statement that
is false or any statement that contains a material omission, knowing the same to be false or to contain a material
omission, during or in connection with the mortgage lending process, with the intent that such statement be relied
upon by a mortgage lender, borrower or any other party to the mortgage lending process; (2) uses, or facilitates the
use of1 any material statement that is faJse or any statement that contains a material omission, knowing the same
to be false or to contain a material omission, during or in connection with the mortgage lending process, with the
intent that such statement be relied upon by a mortgage lender, borrower or any other party to the mortgage
lending process; (3) receives any proceeds or any other funds in connection with a residential mortgage closing,
knowing such proceeds or funds were obtained in violation of clause (1) or (2); or (4) files or causes to be filed with
a registrar of deeds any document that contains a material statement that is false or a material omission, knowing
such document to contain a material statement that is false or a material omission, shall be punished by
imprisonment in the state prison for not more than 5 years or by imprisonment in the house of correction for not
more than 2 and one-half years or by a fine of not more than $10,000 in the case of a natural person or not more
than $100,000 in the case of any other person, or by both such fine and imprisonment.

Any person who engages in a pattern of residential mortgage fraud shall be punished by imprisonment in the state
prison for not more than 15 years or by a fine of not more than $so,ooo, in the case of a natural person, or not
more than $soo,ooo in the case of any other person, or by both such fine and imprisonment".

M.G.L. c. 266 Section 30 provides that: "(1) Whoever steals, or with intent to defraud obtains by a false pretence,
or whoever unlawfully, sod with intent to steal or embezde, converts, or secretes with intent to convert, the
property of another as defined in this section, whether such property is or is not in his possession at the time of
such conversion or secreting, shall be guilty oflarceny, and shall, if the property stolen is a firearm, as defined in
section one hundred and twenty-one of chapter one hundred and forty, or, if the value of the property stolen
exceeds two hundred and fifty dollars, be punished by imprisonment in the state prison for not more than five
years, or by a fine of not more than twenty-five thousand dollars and imprisonment in jail for not more than two
years; or, if the value oflhe property stolen, other than a firearm as so defined, does not exceed two hundred and
fifty dollars, shall be punished by imprisonment in jail for not more than one year or by a fine ofnot more than
three hundred dollars; or, if the property was stolen from the conveyance of a common carrier or of a person
carrying on an express business, shall be punished for the first offence by imprisonment for not less than six
months nor more than two and one half years, or by a fine of not less than fifty nor more than six hundred dollars,
or both, and for a subsequent offence, by imprisonment for not less than eighteen months nor more than two and
one half years, or by a fine of not less than one hundred and fifty nor more than six hundred dollars, or both.

(2) The term "property", as used in the section, shall include money, personal chattels, a bank note, bond,
promissory note, bill of exchange or other hill, onler or certificate, a book of accounts for or concerning money or
goods due or to become due or to be delivered, a deed or writing containing a conveyance of land, any valuable
contract in force, a receipt, release or defeasance, a writ, process, certificate of title or duplicate certificate issued
under chapter one hundred and eighty-five, a public record, anything which is of the realty or is annexed thereto, a
security deposit received pursuant to section fifteen Bof chapter one hundred and eighty-six, electronically
processed or stored data, either tangible or intangible, data while in transit, telecommunications services, and any
domesticated animal, including dogs, or a beast or bird which is onlinarily kept in oonfioement.
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(3) The stealing of real property may be a larceny from one or more tenants, sole, joint or in common, in fee, for
life or years, at will or sufferance, mortgagors or mortgagees, in possession of the same, or who may have an action
of tort against the offender for trespass upon the property, but not from one having only the use or custody thereof.
The larceny may be from a wife in possession, if she is authorized by law to hold such property as if sole, otherwise
her occupation may be the possession of the husband. If such property which was of a person deceased is stolen, it
may be a larceny from any one or more heirs, devisees, reversioners, remaindennen or others, who have a right
upon such deceased to take possession, but not having entered, as it would be after entry. The larceny may be from
a person whose name is unknown, if it would be such if the property stolen were personal, and may be committed
by those who have only the use or custody of the property, but not by a person against whom no action of tort could
be maintained for acts like those constituting the larceny.

(4) Whoever steals, or with intent to defraud obtains by a false pretense, or whoever unlawfully, and with intent to
steal or embezzle, converts, secretes, unlawfully takes, carries away, conceals or copies with intent to convert any
trade secret of another, regardless of value, whether such trade secret is or is not in his possession at the time of
such conversion or secreting, shall be guilty oflarceny, and shall be punished by imprisonment in the state prison
for not more than five years, or by a fine of not more than twenty-five thousand dollars and imprisonment in jail
for not more than two years. The term "trade secret" as used in this paragraph means and includes anything
tangible or intangible or electronically kept or stored, which constitutes, represents, evidences or records a secret
scientific, technical, merchandising, production or management information, design, process, procedure, fonnula,
invention or improvement.

(5) Whoever steals or with intent to defraud obtains by a false pretense, or whoever unlawfully, and with intent to
steal or embezzle, con..,rts, or secretes with intent to convert, the property of another, sixty years of age or older,
or of a person with a disability as defined in section thirteen K of chapter two hundred and sixty-five, whether such
property is or is not in his possession at the time of such conversion or S.creting, shall be guilty of larceny, and
shall, if the value of the property exceeds two hundred and fifty dollars, be punished by imprisonment in the state
prison for not more than ten years or in the house of correction for not more than twn and one-half years, or by a
fine of not more than fifty thousand dollars or by both such fine and imprisonment; or if the value of the property
does not exceed two hundred and fifty dollars, shall be punished by imprisonment in the house of correction for
not more than two and one-half years or by a fine of not more than one thousand dollars or by both such fine and
imprisonment. The court may order, regardless of the value of the property, restitution to be paid to the victim
commensurate with the value of the property".

You should consider mrefully what you are attempting to do and who you are attempting to do it to.

Yours

Bob Marley
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~uerim>
Verizon Message Center


                                                                                       Saturday, Nov 21 at 6:14 PM

From:               Bob Marley <robertmarley1958@verizon.net>

To:                 Lossmitigation@shellpointmtg.com

Subject:            HAMP



To the no name person that sent me a HAMP application by certified mail:

There is no mortgage to modify.

Today (November 21, 2015) I received a certified letter from you acting on behalf ofBNY. I have no obligation to
BNY and never have.

Once·again you have sent me a threatening letter in which you threatened to take a legal action you can not legally
take, namely a foreclosure.

You state that the purported loan is 60-days past due. I stopped making mortgage payments when I rescinded a
purported mortgage entered into with Omega Mortgage 5-years ago, prior to the court declaring that no mortgage
loan is outstanding and no money is due.

Again you are making false statements and false claims which rise to deceptive acts and practices and a clear
violation of M.G.L. c. 93A-

I demand you stop sending me threatening communication forthwith.

I have no knowledge of the loan which you speak and am not contract bouiid to you or BNY.

You cannot foreclose on a mortgage that does not exist.

One more threatening letter and I will file suit and move for an injunction enjoining you from further harassing
me.

And before I do I am taking the fraudulent and altered note that you would be claiming hold to the secret service
for investigation and criminal prosecution.

Thirty years in prison and a million dollar fine for that offense.

Good day

Bob Marley
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~llCiQ:mi
Verizon Message Center


                                                                                    Wednesday, Nov 18 at 5:52 AM
From:              Bob Marley <robertmar1ey1958@verizon.net>
To:                Lossmitigation@shellpointmtg.com
Subject:           Abusive Debt Collection



Dear CEO Shellpoint:

I assert that you are in violation of the very practices outlined in the announcement below.


FTC Partners with Federal, State, and Local
LawEnforcement Agencies to Announce Nationwide
"Crackdown" on Abusive DebtCollection
On November 4, the FTC announced the first coordinated federal, state. and local initiative to
combatalleged abusive and deceptive debt collection practices, Operation
CollectionProtection. This announcement included authorities listing 30 new
actions,including five enforcement actions by the FTC. These actions targeted thefollowing
practices: (i) extracting payments from consumers by usingintimidation and inaccurate
representations; (ii) impersonating servers orattomeys and threatening arrest or litigation; and
(iii) collecting on debtsthat never existed or had already been paid. These cases bring the total
numberof actions taken under the Operation Collection Protection initiative this yearto 115
and the total number of participating law enforcement partners to 70.

Yours

Bob Marley
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~Vcrlzml
Verizon Message Center


                                                                Saturday, Nov 7 at 9:21 AM
From:         Bob Martey <robertmartey1958@verizon.net>
To:           Lossmitigation@shellpointmtg.com
Subject:      Misleading Letter


This letter isto address the deceptive, false, and misleading statements made in
the attachedletter sent to me from your firm.
Shellpoint holdsno lien on my property as stated in the attached letter.
Massachusetts isa title theory state and the mortgage serves as the lien. The
mortgage is deface able upon the payment of the debt or otherwise and in
Massachusetts; it matters notwho pays of the debt, the mortgagor, or a stranger.
Once the debt is satisfied,as is the case here, the normal course of action as a
matter oflaw is asatisfaction of mortgage shall, within 45·days, record in the
Registry ofDeeds, period.
Through your ownscheme, the mortgage wa:s satisfied the moment it was
securitized without myknowledge.
Isn't true that priorto the issuance of the toxic loan purportedly granted to me, it
had alreadybeen slated for a specific pool of assets and that the true undisclosed
lender(investors) already paid off the debt?
One of thereason BNY has no standing is that they are a self-dealing trustee and
violatedNew York Trust Laws when they were funding loan for Countrywide and
knewultimately they would become the trustee for those toxic assets.
With limited exceptions, a trustee is strictly prohibitedfrom entering into
transactions involving the trust property, or affecting itsinvestment or
management, if the transaction is for the trustee's personalaccount, by self·
dealing, or otherwise involves or creates a conflict betweenthe fiduciary duties
and personal interests of the trustee, unless authorizedby a proper court,
expressly or impliedly by the terms of the trust, or by allof the beneficiaries.
I have the 364·day revolving credit agreement between BNYand Countrywide
from 2004. Not very flattering.
You are violating M.G.L. c. 93A et seq. inter alia, byasserting false claims making
false statements, and for your deceptive acts andpractice's.
Although you have no interest in my property, it would seemthat whereas BNY is
the only entity attempting to advance a claim, and BNY isthe mortgagee by the
fraudulent assignment, a simple recording of the releaseof lien would end this
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mess. Does it clear my title? Well if no other is makinga claim, I would say so if I
waive any claims I have against BNY in lieu. of therecording. Something for you
people tothink about.
However, the longer you continue on your current path andallow me to build a
record of evidence of you bad behavior will only work in myfavor.
                         '
Yours
Bob Marley
             Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 150 of 168
,,.s:;_ Shellpoint
   '· ·1
    -:-;
. ~__, ;\fortgnge Servicing
      P.O. Bot 7050, Troy, Ml 48007-7050




Robert P Marley
18 Lakeview Dr
Lynnfield, MA 01940




October 30. 2015


Loan Number:                 0535444565
Borrower Name:               Robert P Marley
Co-Borrower:
Property Address:            18 LAKEVIEW DR
                             LYNNFIELD. MA 01940
Policy Number:               HP009917611


Dear Robert P Marley:

We need your help in getting your lender's name, Shellpoint Mortgage Servicing, added to your insurance policy. A
bank/mortgage servicing company, in the insurance industry, is referred to as the "mortgagee". The below "mortgagee
clause" needs to be on the policy as part of your mortgage agreement. Due to privacy laws, Shellpoint Mortgage
Servicing is unable to request this change from your insurance agent or carrier.

Please contact your insurance agent to have the mortgagee clause (as shown below) added to your policy. When
speaking to your agent. please inform them that Shellpoint Mortgage Servicing holds a lien on the property and the
mortgagee clause must be added to the policy.
                                               Shellpoint Mortgage Servicing


                      1~1ut~~~J~:~§,\~:             Tro~~%~~~~~~oso
                                                 Loan Number: 0535444565

This will help ensure we receive the appropriate documentation and help to expedite any and all insurance related
matters, including documentation required at the time of a loss. Your prompt response in handling this matter is greatly
appreciated.

Please contact us at the number below if you have difficulty providing this information or if you have any questions.

Thank you.


Shellpoint Mortgage Servicing
Insurance Division

Phone: (877) 491-7277 Monday - Friday, 8 am to 6 pm EST
Fax:   (248) 878-2370
Email: insdocs@shellpointmtq.com
  Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 151 of 168




~verl.m!>
Verizon Message Center


                                                                                   Wednesday, Nov 4 at 8:48 PM

From:             Bob Marley <roberlmarley1958@verizon.net>
To:               Lossmitigation@shellpointmtg.com
Subject:          Rescission



Dear CEO, Shellpoint:

One more important fact; I rescinded the purported mortgage in 2010 and the rescission was effective the moment
I put the notice in the mail.

No one responded within the 20-days and therefore, no matter what you may think or claim, the note and
mortgage were voided 5-years ago as a matter oflaw.

For so many reasons, no entity, real or imagined, has any legal standing where I am concerned.

Yours

Bob Marley
  Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 152 of 168




~vc.rizmi
Verizon Message Center


                                                                                      Wednesday, Nov 4 at 7:14 PM

From:              Bob Marley <robertmartey1958@verizon.net>
To:                lossmitigation@shellpointmtg.com
Subject:           Also see attached



CEO, Shellpoint:

Attached herewith is the servicing standards which you are bound by law to abide. See section IV (A).
Notwithstanding, you should read the entire ten pages as these standards are applicable to you and yours and as a
matter offset, these standards have been codified. Bank of America was required to release the purported lien long
ago and did not and you are as culpable as them whereas, vicarious liability attaches to you. BOA is still the master
servicer and you are merely the sub-servicer for tbe purported trustee, or the predatory debt collector.

Yours

Bob Marley
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~ll(!rim!i
Verizon Message Center


                                                                                          Tuesday, Nov 3 at 8:43 PM
From:                Bob Marley <robertmarley1958@verizon.net>

To:                  Lossmitigation@shellpointmtg.com
Subject:             Unlawful attempts to collect a fictitious debt



To whom it may concern:

This letter is in response to the nonsensical letter I received on November 3, 2015. The letter is attached herewith.

I did not request anything except that you comply with the National Mortgage Settlement Release the bogus lien
on my property.

Furthermore, do not send me written communications without someone's name on it, whereas) if I am forced to
file under the FDCPA inter alia,

I want the name of the person attempting to collect on this fictitious debt. Let me state again unequivocally that
there is no debt due to you or any other party

for that matter and I demand you stop your unlawful attempts to collect on said fictitious debt.

You do not service any loan that is related to me whereas, one does not exist. There is no mortgage loan
outstanding nor any money due as stated by the United States Court, District

of Massachusetts. Moreover, you are violating the United States Bankruptcy Code and the FDCPA inter alia

Stop harassing me.

Yours

Bob Marley
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     P.O. BOX 1410
     TROY. Ml 48099-1410
                                                                                                                       Shellpoinf                                 .\Ion - Thurs: x:oo.-\\1.111:001
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     ROBERT P MARLEY
     18 LAKEVIEW DR
     LYNNFIELD MA 01940-1450




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 -------·----·--·-·--..---------·--------------------·--·----------------------------·----·-- - - -
· ~verizmo
Verizon Message Center


                                                                                             Friday, Oct 23 at 7:20 PM
From:           Bob Marley <robertmarley1956@verizon.net>
To:             Lossmitigation@shellpointmtg.com
Subject:        Violation of the Massachusetts Consumer Protection Act



Attention Ashley Smith:

     My name is Robert Marley. I do not have a contract with you or BNY. I never entered into a contract with
either at any time.

On October 20, 2015, I received a communication from Shellpoint in regards to a loan number (0535444565) that
I am unacquainted with which has no legal bearing

on me whatsoever. Notwithstanding, I have told the officials at your firm, including you CEO, never to contact me
or threaten me with a legal action you can never bike.

No lawful assignment of any debt was ever petfected with any party that may have included me as a party.

No amendment to any contract was entered into by any lawful parties to any transaction whatsoever.

A fraudulent document resides in the Essex County Registry of Deeds and if any party affiliated with you or your
firm tries to act upon that fraudulent assignment

that was recorded knowing it was fraudulent when recorded, I will notify the proper authorities, inter alia.

In the last conversation I had with a representative from your firm, I stated I would not write a response to your
last communication. However, based on

your predatory, unyielding, threatening and unlawful attempts to collect a fictitious debt, I am now responding.

There is no debt owed now or ever, to you or BNY. BNY never perfected any interest in anything belonging to me.

BNY has no valid lien on my property and the purported mortgage I may have had, was discharged in 2008.
Moreover, even if it were not, the purported contracts,

the purported note and mortgage, are void as a matter oflaw for fraud.

Kindly read the attached letter I sentto BNY last year which they did not respond and owe me $2500.00 for failing
to respond.

All you need do, is file a satisfaction of mortgage and a release of the lien pursuant to the National Mortgage
Settlement.

Furthermore, the purported trust you mention in your communication was settled along with five hundred plus
trust by way of the MBIA lawsuit in NY.

I believe no money is due on any of the toxic waste in those trust and if you force me, I shall put the theory to the
test.
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If you have anything constructive to add after reading the attachment, feel free to e-mail me as this is the only way
I will communicate.

Sincerely

Bob Marley
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                                       Attachment
                    Minimum Standards for Prioritization and HancDing
                     Borrower Files with Imminent Foreclosure Sale
                                   (April 23, 2013)

 Operating standards for scheduled foreclosure sales
The minimum standards set forth in this guidance reflect sound business practices that should
be pan of a mortgage se"1cer's ongoing coUections, loss mitigation and foreclosure processing
functions. Accordingly, the Federal Reserve requires that aH state member banks, bank and
savin~ and loan holding companies (including their non-bank subsidiaries), and U.S. branches
and agencies offureign banking org1mizations that se"1ce residential mortgage loans
incorporate this guidance into their ongoing business processes. Failure to comply with this
guidance may result in unsafu and unsound banking practices, non-compliance with foreclosure
related consent orders. as applicable. and/or require rescission of completed fureclosures.



Purpose                     This guidance confirms the minimum standards for the handling
                            and prioritization of borrower files that are subject to an imminent
                            (within 60 days) scheduled foreclosure sale. Tiie purpose of this
                            guidance is to ensure that borrowers will not lose their homes
                            V.1thout their files receiving, at a minimum, a pre-foreclosure sale
                            review conducted under the standards listed in this guidance,
                            which also help to ensure loan modifications were considered as
                            appropriate.

                            Servicers of residential mortgages should use these re\iew and
                            validation standards to determine whetlier a scheduled foreclosure
                            sale should be postponed, suspended or cancelled due to critical
                            fureclosure derects in a borrower's file. These minimum review
                            criteria are intended to ensure a level of consistency across
                            setvicers, not to supplant review and validation procedures that go
                            beyond these minimums.        Servicers that currently apply more
                            than these minimum standards as part of their own pre-foreclosw-e
                            sale review and validation procedures are eiq>ected to continue to
                            do so.

                             These standards are not intended to incorporate the fina I rules
                             amending Re1,'Ulation X and Regulation Z issued by tl1e
                             Consumer Financial Protection Bureau (CFPB) on Januaiy 17,
                             2013, and effective on Januaiy 10, 2014, which govem mortgage
                            ·servicers' loss mitigation and fureclosure processing fi.mctions.
                             The Federal Reserve expects that all servicers will rnidertake
                             appropriate action in a timely manner to ensure their practices
                             will be compliant with the new rules by the effective date.


                                                                                      Page 1 of 4
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Overview             Servicers of residential mortg;ige s should monitor all borrower
                     files in the .foreclosure process on at least a weekly basis to
                     delennine if a foreclosw~e sale is scheduled within the next 60
                     days. Tiie servicer should implement procedures to perfurm and
                     document a timely pre- foreclosure sale re\iew according to the
                     criteria set out in this guidance and approp1iately postpone,
                     suspend or cancel lhe scheduled foreclosure sale when wa1Tanted.

                      The sef\1cer "ill promptly determine whether the borrower is
                      cu1Tently in an active loss mitigation program or is being actively
                      considered fur or has requested consideration under the Home
                      Alfurdable Modification Program (HAMP) or other modification
                      or loss mitig;ition program as further defined in standard number 9
                      below. and whether fi.irther foreclosure proceedings and/or the
                      scheduled foreclosure sale should be postponed, suspended or
                      cancelled as required by program standards as applicable.

                     The following standards are a non-exhaustive list of criteria for
                     which an exceptton wowo warrant postponement, _;;uspens1on      :;.r
                    ~ canceliat1on of a foreclosure sale Urifil the Minimum Pre-
                     Foreclosure Sale Review Standards are satisfied. As noted.
                     above, individual servicers may apply additional
                     standards/criteria to postpone, suspend or cancel a scheduled
                     !Oreclosure sale.

                    ..-Anv negative response to die Minimym Pre-Foreclosyre
                      Re\iew Standards · ·· · ·            '" "~ ~~nsidered a critical
                    • cterect (except fur standard number 7 where a positive response
                    · is a detect) and should cause the servicer to postpone, susperid
                      or cancel a scheduled foreclosure sale.

                      Independent comrol fi.mctions (such as audit, compliance, and
                      risk management) should confirm and document servicer
                      adherence to their own servicing standards/criteria and tlie
                      minimum standards in this guidance through a program of
                      monitoring, sampling, and testing of scheduled and completed
                      foreclosw·e sales.




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 Minimum                Date of the scheduled foreclosure sale:
 Pre-Foreclosure Sale
 Review Standards       Once the date of foreclosure is established, the servicer needs to
                        confirm the following information before roreclosing:

                        I. Is the loan's defuult status accurate'

                        2. Does the servicer have and can demonstrate the appropriate
                           legal authority to roreclose (documented assignments, note
                           endorsements. and other necessary legal documen41tion, as
                           applicable)? Yo ci.uc..Li_ otvc...- e"<C\.'1-'>

                        3. Have required roreclosure notices or other required
c~+ Meet-                    communications to the borrower or others, as applicable, been

c~, Olfe..., _..,_.,,..
                             provided in a timely maimer?

                        4. Has the servicer taken all steps necessary to confirm whether
                             the borrower, co-borrower, and all obligors on the 1nortgflge,
                             trust deed, or other security in the nature of a mortgage are
                             entitled to protections under the Servicernembers Civil Relief
                             Act (SCRA), including running queries through the
                             Department of Defense database? If the borrower, co-
                             borrower, or other obligor is subject to SCRA protections, has
                             the servicer complied with all applicable legal requirements to
                             foreclose'

                         5. Detemiine whether the borrower is in an active bankruptcy.
                        ~f so, does the servicer have documented legal authority to
                        ~ / foreclose'

                        6.   Detemiine whether the loan is currently under loss mitigation
                             or other retention review or such review has been requested by
                             the borrower as pan of the fureclosure process. If so, did the
                             servicer notify the borrower that all conditions necessary to
                             effect the loss mitigation or reternion action have not been met,
                             what is needed to meet those conditions, and the date necessary
                             to cure the deficiencies to avoid further foreclosure action' If a
                             borrower submitted a complete loan modification application
                             afier the fureclosure referraL did the servicer comply with any
                             applicable dual track restrictions'

                        7. Is the borrower currently in an active trial loss mitigation plan?




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                        8. Detennine whether the servicer accepted any payment from the
                           bo1rnwer in the preceding 60 days (that is. were borrower
                           payments, including interest principal fees. or escrow
                           payments, applied to the borrower's acc0tmt or retained in a
                           suspense account). If so. did the servicer clearly corrununicate
                           to the borrower that he or she is neither in nor being considered
                           for a loss mitigation program, .and that tlie sen.icer's
                           acceptance of the payment in no way affected the status of the
                           fureclosure that is proceeding9
                        9. As applicable, was the borrower solicited for and offered a loss
                            mitigation option, such as, those required by HAMP,
                            government-sponsored enterprises (GSEs), Federal Housing
                            Administration (FHA), U.S. Department of Veterans Affuirs
                            (VA), state-level government programs under U.S. Department
                            of Treasury. other third party investor. or the servicer's loss
                            mitigation and modification programs? To the ex1ent
                            applicable, has the servicer complied with its loss mitigation
                            obligations detailed in the National Mongage Settlement?
                            Have any borrower complaints, appeals, or escalations been
                            considered and addressed 9
                        I 0. Was the fully executed loan modification application submitted
                           by the borrower, as defined by the applicable modification
                           program, and reviewed by the servicer as required, including
                           any timeline or notice requirements?
                        11. Was the modification decision correct and validated as required
                            by the applicable modification program (to include, as
                            applicable; compliance with program requirements and
                            accuracy of calculations and application of the net present
                            value (N PV) test) along v,ith appropriate resolution and
                            communication of any borrower complaint, appeal, or
                            escalation?
                        12. Was the borrower or the borrower's representative (such as,
                            housing counselor or attorney) notified of the loan modification
                            decision and rationale as required by the applicable loss
                            mitigation program or these standards?
                        13. lf required by die GSE or other investor, has the servicer
                    ·       certified to the attorney conducting the foreclosure that all
                            delinquency management requirements have been met,
                            including that there is neitlier an approved payment plan
                            arrangement nor a fureclosure alternative otter pending or
                            accepted?




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                      Unnitedl States Couurt of Appeails
                                       For the First Circuit


      No. 12-2391

                                            ROBERT P. MARLEY,

                                              Plaintiff, Appellant,

                                                       v.

            BANK OF AMERICA, N.A., a/k/a BAC HOME LOANS SERVICING LP., ET AL.,

                                            Defendants, Appellees,


                               JOHN DOE REPORTING SERVICES, ET AL.,

                                                  Defendants~




                                                     Before

                                             Lynch, Chief Judge,
                                   Torruella and Thompson, Circuit Judges.


                                                JUDGMENT
                                          Entered: January 8, 2014

              The appellant, Robert Marley ("Marley"), appeals pro se from the district court's dismissal
      of all counts in his amended complaint under Fed. R. Civ. P. 12(b)(6), and from the district court's
      decision denying Marley's motion to supplement his amended complaint. For the following reasons,
      we affmn the judgment of dismissal of Marley's amended complaint, and the district court's
      decision to deny Marley's motion to supplement his amended complaint.

              In his opening brief, Marley has not challenged the district court's dismissal of any of the
      federal statutory claims asserted in Counts II, III, VI and VII of the amended complaint, and these
      claims are therefore waived. See~ v. Wells Fargo Bank. N.A., 717 F.3d 224, 239 (lst Cir.
      2013) ("We have repeatedly held, with a regularity bordering on the monotonous, that arguments
      not raised in an opening brief are waived.") (internal quotation marks and citation omitted); Decaro
      v. Hasbro. Inc., 580 F.3d 55, 64 (I st Cir. 2009) ("It is common ground that contentions not advanced
       Case 1:16-cv-10430-PBS Document 1-1 Filed 03/01/16 Page 162 of 168
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      in an appellant's opening brief are deemed waived."). Likewise, Marley's brief advances a single
      sentence regarding claims for unjust enrichment, fraud and violations ofMass. Gen. L. ch. 93A. See
      Appellant's Brief at 31. We therefore also deem these claims waived. See United States v. Zannino,
      895 F.2d l, 17 ( l st Cir. 1990) ("issues adverted to in a perfunctory manner, unaccompanied by some
      effort at developed argumentation, are deemed waived").

              Marley's brief mainly challenges the district court's decision dismissing Count VIII, which
      sought a declaration that none of the defendants in this action has the authority to foreclose on
      Marley's residential property, and Count IX, which sought to quiet title on the property. "We review
      an order of dismissal for failure to state a claim de novo, and may affinn on any basis apparent in
      the record." Lemelson v. U.S. Bank Nat'l Ass'n, 721 F.3d 18, 21 (!st Cir. 2013).

             We affirm the district court's dismissal of Marley's quiet title action substantially for the
      reasons stated by the district court in its decision dated March 13, 2012. See Marley v. Bank of
      Americ!!, No. 10-cv-10885-GAO, 2012 WL 847374, at *5 (D. Mass. Mar. 13, 2012). Even if we
      construed the claim as one asserted under the Massachusetts try-title statute,~ Mass. Gen. L. ch.
      240, §§ 1-5, as Marley suggests, we have recently held that "[u]ncertainty as to who holds a valid
      mortgage does not provide the requisite adversity to cloud a mortgagor's claim of equitable title"
      under the try-title statute. Lemelson, 721 F.3d at 24 n.7.

              Otherwise, Marley sought in Count VIII a declaration that the defendants lacked the
      authority .to foreclose based, among other things, on his allegation that no defendant possesses the
      promissory note. We acknowledge that the holding in~ v. Fed. Nat'! Mortg. Ass'n. 462 Mass.
      569, 969 N.E.2d 1118 (2012), would govern any future efforts to foreclose: in Eaton, the
      Massachusetts Supreme Judicial Court determined that its interpretation of the term "mortgagee"
      in Mass. Gen. L. ch. 244, § 14, and related statutory provisions would apply prospectively "only to
      mortgage foreclosure sales for which the mandatory notice of sale has been given after the date of
      [the Eaton] opinion." Id. at 588-89, 969 N.E.2d at 1133 (footnote omitted). Here, the parties do not
      dispute that the mandatory notice of sale required under Mass. Gen. L. ch. 244, § 14 has not been
      given in this case. Still, Eaton also reiterated the settled principles under Massachusetts law that "a
      mortgage and the underlying note can be split." Id. at 576, 969 N.E.2d at 1124. See also Culhane
      v. Aurora Loan Serys. ofNebraska, 708 F.3d 282, 292 (!st Cir. 2013) ("In Massachusetts, the note
      and the mortgage need not be held by the same entity."). After~ then, there remains nothing
      actionable under Massachusetts law about separate parties holding the two instruments as long as
      the mortgage and note are reunited at the time that a foreclosing entity gives the mandatory notice
      of sale required under Mass. Gen. L. ch. 244, § 14. Q: U.S. Bank Nat'! Ass'n v. Ibanez, 458 Mass.
      637, 651, 941N.E.2d40, 53 (2011) ("The key ... is that the foreclosing entity must hold the
      mortgage at the time of the notice and sale in order accurately to identify itself as the present holder
      in the notice and in order to have the authority to foreclose under the power of sale (or the
      foreclosing entity must be one of the parties authorized to foreclose under G.L. c. 183, § 21, and
      G.L. c. 244, § 14). "). Because the appellant concedes that no notice of sale has been given under
      Mass. Gen. L. ch. 244, § 14, we conclude that any challenge to the defendants' authority to foreclose
      is premature at this juncture under Eaton.· Accordingly, we affirm the judgment of dismissal. We
      clarify, however, that the dismissal of Count VIII is without prejudice to the claim being brought
      again when it is ripe, but with prejudice to any effort to assert the same unripe claim.
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              "We review a district court's denial of a request for leave to amend a complaint for abuse of
      discretion," Villanueya v. United States, 662 F .3d 124, 127 ( l st Cir. 2011 ), and "defer to the court's
      denial if any adequate reason for the decision is apparent on the record," id. Here, we conclude that
      the district court did not abuse its discretion in denying Marley's motion to amend his complaint.
      To the extent that Marley sought to amend his complaint to challenge the validity of the mortgage
      assignment dated June 30, 2011, such a challenge would have been premature, for the reasons stated
      above. To the extent that Marley sought to revive claims arising from the loan origination process,
      any such amendment would have been futile. Bypassing Marley's argument on appeal that these
      claims had not yet accrued by the time of his bankruptcy filing, Marley was on notice under the clear
      tenns of the mortgage agreement that the note was subject to transfer. Moreover, "[t]he type of
      sophisticated transactions leading up to the accumulation of the notes and mortgages ... and their
      securitization, and, ultimately the sale of mortgage-backed securities, are not barred nor even
      burdened by the requirements of Massachusetts law." Ibanez, 458 Mass. at 655, 941 N.E.2d at 56
      (Cordy, J., concurring). Thus, the fact that his loan was securitized does not by itself provide a
      basis, as Marley seems to suggest, for voiding his mortgage.

              Having considered the remaining motions, we deny them.

              Affirmed. See 1st Cir. Loe. R. 27.0(c).

                                                      By the Court:

                                                      Isl Margaret Carter. Clerk.




      cc:
      Neil David Raphael
      Robert P. Marley
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LotmNumher. 79415100                                                                                        llMN:100115100100007713

    (A} Change Dates
    Tho intm1:st rate I will pay will change on tho 1st day of February, 2005, and on thst day overy IDDlllh !hereafter. Bach date on
which my inlenlSt rate c:ould change is called a "Chango Date.•
    (B) The Ind""
      Boglnnlng with the first Chan,go Dale, my interest rate will be based OD an Index. Tho "Index' is the aYW>go of interbank offi:red
rates ibr one month U.S. dollaMenominale deposils in tho London llllUbt ("UBOR"). as published in T1tti Wall Strat..Jownral. The
mostnmntlndoic figure available as of the date ts dit)'llboflxe each ro-Rate ChaogeDale is Catted the "Currelltlrulex."
      lflhc Index ls no fon&er available, the Note Holder wi1J choose a new index that is based upoo comparable infbmmtion. The NOie
Hold<a-will givo mo notice of this choice.
    · (C) Calculatl1111 of Changes
      Befolll each Change Date, the Nole Holder will calculate my new l n - m1D by adding TWO AND om; EIGHTH percentage
poinls (i.125%) ti! the Current 1odex. The No1': Halder will !hcu IOlllld lhc mult of this addilioo 1o tho nearest aoHigblb of one
percentage pahll (0.125%). Subj.ct to the limits slalcd in ScC!ion 4(0) below, this roondod amount wi'JJ be my new i n - ralo until
lhe nc:xl Change Dale.
      The Note Iiolder will tbe.n determine Ibo amount of tho monthly Jl11)'I11Cll! that would be sufficient 1o (l) pay the ac<nuing monthly
Interest at rr.y ocw Interest rate for all payments prior to tho Fmit Priucipal and Interest Paymeot Pue Date, or (il) repay the llllp&id
principal thst I am expected ti! owe at tho Change Date in fbll on tho Mlliurity Date at my new inteiest l1lllo in subscantially equal
paymmrs lllr all paymerus prior to the Flllit Principal and Interest Payment Due Dale. The result of this calculation will be !be new
amount of my l'.llOllthly paymmt.
      (l)) Umll3 OR Wtw"est Rate Changes
     .~ inleresl rate wlD .....,.. be greater than 12.llOO% or less !ban 2.1.25%.
      (E) Effedl'fe Date of Changes
      My aaw lnletest ralo will became o1leclive OU cadl ~ Dale. I will pay the amoUllt of my _,. mouthly paymcnl beglnoiog
OR the tlrat IDOll1bly payment dale after Ille Qwiae Dldll Ulllil Ibo amount of my monthly peymmll obaDgea -again.
      (JI) Notice of Clmnges
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of a pcman who will answer any quesdon I may have iqpudiDg Ibo~
      (G) Dale ofllnt Pdaclpal awl Intenrt l'8)'ment
      Tho data o! my fimt pizymcml comisllng of both principal and i n - on lbla Noto (lho "Finl! Principal and Interest Payment Due
Dam") shall bo the first monthly payment date aftm'Jamuuy 1, 201S.

5. BORROWER'S RIGHT TO PREPAY
          I bl.Yo the right lo Diab paymmta of Principal 81 any lime bebo they 8lO duo. A payment of Principal only is knOWD "" a
"Prepayment.• When I make a Prcpaymont, I will lell lhc Note Holder in writin& that I am doing so. I may IW! designate a paymoat as
a Pnipaymmit if! have not lllllde all lho lllOlllbly paymmilll due under Ibis Nole.
     I may mm a tun Prepayment or JJ111t1a1 ~ wllboat paying 1111)' Prcpaymmt a1Jmao. The Note Holder will UBO my
l'repaymenll lo Mduce Ibo lllllOUDt of PriDcipal Iha! I owe under Ihle Note. However, the Mota Holder may apply my Prepayment.to
Ille accrued and. 1111pald inlmesl OD the i'npaymml amount before applying tr('/ Prepayment ti! mluee lbc Principal llllOWll of the
Nola. !fl maim a partial Prepayment. them will bo'llD obanges In the due date of my momhly paymen1s 11Dlesa Ille Noto Holder 8!1=S
In wriling to 1hose clumgea. If the partial l'repa)IIICllt is mado dWg lhc period wllcn my monlhly paymeata conaial only of inti:rest,
 the 8lllOUlll of Iha manlbly payment will doareaso tbr the remainder of the term when my paymenl8 comist of only iutorest. If tho
par11o1 ~is made dmlns the pcrlod wbcn my paymems consist of'prlaeipal and~ my partial Prepayment mar rodnoa
tho amount Of Of.'/ lllOl3lllly paymmta after the llmt CliaDp Dato fullowlug my partial Prepayment. Howovor, 1111)' reduction dne ti! my
partial Prapaymeat may be amet by 1111 interest Ille in«easo.

6. LOAN CiiARGES
    If a law, wldcll applies ID this loan and wbldl sdB 1111U<i111111n loan cbmges, is tinally iDfetpteled so that the int.emit or other loan
charges oolleeled or ti! bo colleCllod in. """D"'4ian wilh lids laan =eed lhe pennitted limits, Ihm: (a) 1111)' su.cb 1oaa ehmp 8hall be
reduced by Ille 8lD01lllt noccssmy 1o Ieduco Ibo charge to the panaiUlod limit; and (bl 1111)' 11U111S alroady coDooled ftom me Chai
exceeded permlllod Umlts will be tefuuded to IJUI. Tbe Note Holdar may ohoose ID make Ibis tclimd by mluciog the Principal I owe
wider tbls NI# or by making a dlrei:t payment lo lllD. If a refund reduces Prinllipal, tho mluellon will ho llelllcd u a partial
Prepaymem.

7. BOIUlOWER'S FAJLVJm TO PAY AS ll.EQUIRBD
   (A) Late Cluqes ror o.entue PaymenQ

    llSTATE 1iib!n1S1 Only ADJUSTABl.E RATE NOTE-ONE lllONlH UllOR INDEX
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Loan Number: 7941S100
                                                                                             •              MIN:100115100100007713

      immediate payment in full of all sums secured by this Seourily Instrument. :However, this option shall not be exercised by Lender
      if exetclse is prolnbited by fbderal law.
           If Lender exen:isea this option, Lender shall give Bouower nodce of acceleration. The notice shall provide a period of not
      less than lO days ftom the date the notice is given in acco.rdance with Section 15 wid!in which BoltqWer must pay 1111 SlllllS
      secured by this Security loslru=I. lfBouower ftiib; to pay these sums prior to tho axpimtion of this period, Lender may invoke
      aey rmnedies permitted by Ibis Security Inmment wllhoul farther DOlh:e or-demand on Bomiwer.

     (B) When my inidal fixed interest rale ohanges to an a<ljustablo interest rale UJUjer the terms stated in Section 4 above, Uniform
Coveoant 18 of the Security Instrument descnbed in Section ll(A) abovo shall (hon cease to be in effect, aQd Uniform C.OVenant 13 of
tho Security lnstrument shall instead tcad ea follows:

            Trall!fer of the Property or a Beneficial Intuest 111 Borrower. A1J used in this Section 18, "!ntCTCSt in the Property' means
      any legal or beneficial interest in the Property, including but not limi!cd to, thosa bencficial·in!erests·transfeired in a bond for
      deed, conlmc! for deed, lnstallmen1 sales contract or escmw agieement, tho intmrt of which is tho transfer of title by Bom>WOr at a
      future dare to a pun:haser.
            If all or any part of tho Property or any Interest In the Property ls sold or ll1lnsfem:d (or if Bort0wer is not a natural person
      l!Jld a beneficial inteieat in Borrower is sold or lranslMn:d} wllhout Lender's prior written consent, Loader may req1lire immediate
      payment in full of ell sums secured by this Socurity lllstnmumL However, Ibis optl<>n shall not be mceroised by Lender if such
      exercise is problbltod. by Applicable Law. Lender also shall not exercise this option ill (a) Bmrower causes to be submitted to
      Lender information required by Lendcc to evaluate tho intended transt'en!o as if a new loaD were being made to the llllnsferee; end
      (b) Londer reasonably delennines that Lcmdm's socurity wDI not be impaimd by tho Joan assomplion and that tho risk of a breoch
      of any covooontoragroemcntin this Security Instlomeut is acccptablo to Lender.
            To the CIXlenl permitted by Applicable Law, Lendor may charge a reasonsble fee as a condl!lon to Lender's consont to lhe
      loan assomplion. Lender may a1so require tho tnmsfolee to sign an 115SUmptinn agicement that is acooplDblo to Lender and that
      obligates !be llllnsf'eree In keep all the JDODll- and agroemoms ~ in the Noto and in this Security Insttumcnt. Borrower will
      conlinuo to be obligalcd uodor lhe Nole and this Se=ily Instrument unless Lender releases Borrower in writing.
            If Lender cxcrc!sos tho option to require imIDedia1c payment In till!, Lender sbal1 give Borrower notice of 8"Cei1S111ion. 'in..
      notice shall provide a period of not leas than 30 days :liom the dato tho notice is giyan in ~with Section lS within which
      llorrowor must pay all BUJDS socurod by this Security lnstrumelll IfBorrower fitils ID pay th- lltllllS prior to the explmtion of this
      porlod, Lendor may Invoke any mmedies permitted by tbia Security Insirummt without further notice (II' demand oa Borrower.




                                                                                                                                      (Seal)
                                                                                                                                 -BorTower


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Loan Number. 79415100                                        MIN:100115100100007713


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